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                 THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

    UNITED STATES OF AMERICA, )
                              )
              Plaintiff,      )
                              )
    vs.                       ) 3:17-CR-00169-B
                              )
    SAID AZZAM MOHAMAD RAHIM, )
                              )
              Defendant.      )

                     TRANSCRIPT OF PROCEEDINGS
                       JURY TRIAL - VOLUME 2
                 BEFORE THE HONORABLE JANE J. BOYLE
                   UNITED STATES DISTRICT JUDGE
                            MAY 1, 2019

                         A P P E A R A N C E S

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    proceedings reported by mechanical stenography,
    transcript produced by computer.



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 1                 (In open court at 8:33 a.m.)

 2                 THE COURT:      I don't know where the

 3   government is.        Could you email them?           I think they

 4   are on their way.         I hope they are on their way.             So

 5   we're going to sit and wait.

 6                 (Pause in the proceedings.)

 7                 THE COURT:      You guys are ten minutes late.

 8   Come on up.       I want you always here by 8:30, always

 9   here.     Okay?

10                 This is Case Number 3:17-CR-169.              We're

11   here for the continuation of the trial of this case,

12   and this is a pretrial conference -- well, I guess

13   interim trial conference.            And Mr. Whalen, I wonder

14   if you could give them some idea of what you want to

15   ask without disclosing your trade secrets, because I

16   really do think they need to hear that.

17                 MR. WHALEN:      Your Honor, what I would like

18   to be able to ask is questions as it relates to

19   timing of when things were done and to what extent

20   in the sense of what was collected as far as

21   quantity and magnitude.           I'm not going to ask a

22   question about the method that was used or how they

23   got access to it, whether it's through a court

24   order, a FISA warrant or anything like that.                   I

25   simply want to be able to ask, when did you start


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 1   doing that?       How much data was collected?             And the

 2   different formats of data collection that they used

 3   and the timing of it so I can establish a timeline

 4   it started.

 5                 That's what I wanted to be able to ask.

 6   Not about a method.          Not about who authorized it or

 7   didn't authorize it.          I will not get into that.            I

 8   just want to be able to establish the timeline of

 9   when they did it and what they exactly collected.

10                 THE COURT:      Ms. Meeks.

11                 MS. MEEKS:      Thank you, Your Honor.

12                 I have first to mention -- I think I heard

13   you mention the trade secrets.

14                 THE COURT:      His trial strategies is what

15   I'm talking about.

16                 MS. MEEKS:      Understood, Your Honor.

17                 I think that in terms of asking about the

18   scope of the investigation would be permissible.

19                 THE COURT:      Yes.

20                 MS. MEEKS:      Certainly that Special Agent

21   Golomb can talk about when they opened their

22   investigation and talk about when they closed their

23   investigation.

24                 THE COURT:      How about how much stuff they

25   took?     It's -- well, you tell me.


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 1                 MS. MEEKS:      I guess I'm a little confused

 2   as to how much stuff they took, what that might

 3   entail.      I think it's absolutely permissible for the

 4   defense to ask about the scope and general terms;

 5   ask about the various facets of the investigation,

 6   that there was electronic surveillance, there was

 7   also physical surveillance, there was video

 8   surveillance.        I think that is all well and

 9   permissible.       It's when you start to dig down into

10   the details of the electronic surveillance in

11   particular I think that becomes problematic.

12                 THE COURT:      I don't think he's doing that.

13                 Mr. Whalen, are you going to do that?

14                 MR. WHALEN:      No.    And I guess for the

15   record, the question I asked Agent Golomb was, "When

16   did you start listening live to the chat room?" and

17   that garnered an objection.            So I'm not sure what

18   the objection is.         I'm not asking how they did it,

19   I'm just asking, "Did you then start listening to it

20   in realtime?"

21                 THE COURT:      I think they are being overly

22   caution, but go ahead.

23                 MS. MEEKS:      It's not entirely accurate,

24   Your Honor, to say it was listened to in realtime

25   either.      I think that's one of the areas that's


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 1   going to become an issue if we start to get down

 2   into the details.         But what I do think is if we can

 3   talk and I think Special Agent Golomb can talk about

 4   when the investigation began, how much resources

 5   were committed to the investigation, the types of

 6   methods by which the FBI conducted their

 7   investigation, the number of manhours that were used

 8   in the investigation, I think that that's all

 9   admissible.

10                 THE COURT:      I think we're going to let him

11   do that to a certain extent.             You can object when

12   you want to.       Yesterday I think you objected pretty

13   soon, and I understand why.            But I think he's

14   entitled to get into more than what he did

15   yesterday.       You're going to bring Agent Golomb back

16   up here, right?

17                 MS. MEEKS:      Yes, Your Honor.         And we are

18   going to bring him back up here.               I think yesterday

19   the reason we objected is because Mr. Whalen asked

20   specifically the date it started.               As far as the

21   date of the investigation starting, that's certainly

22   permissible.       But I think he was looking for a

23   certain date that certain evidence was collected,

24   and that, again, gets into more details than I think

25   we would be comfortable with.


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 1                 THE COURT:      Mr. Whalen.

 2                 MR. WHALEN:      Because I don't know what

 3   they all did, I don't know how that affects when you

 4   started doing something.           All I'm asking is when did

 5   you start doing it?

 6                 THE COURT:      I think he's entitled to ask

 7   that.

 8                 MS. MEEKS:      Okay.    Yes, Your Honor.

 9                 THE COURT:      Okay.    Is there anything the

10   government has?

11                 MS. MARTIN:      No, Your Honor.         And Your

12   Honor, I apologize.          I thought it was 8:30 if there

13   was something to take up.

14                 THE COURT:      It's always 8:30.         You know,

15   it's always 8:30.         If you need to take something up,

16   you need to be here by 8:30.

17                 MS. MARTIN:      Yes, Your Honor, I apologize.

18   I did not understand that to be your order.                   I'm so

19   sorry.

20                 THE COURT:      Okay.

21                 MR. WHALEN:      I do have one thing, Your

22   Honor.     I want to bring this up as it relates to

23   Ms. Hussein who was testifying yesterday.                  It seemed

24   to me that she may have testified to what she

25   thought -- what the words meant and the idea being


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 1   while this is what he meant, Mr. Rahim meant when he

 2   said this or wrote this.           I think two things:          One,

 3   I think it's speculation; but two, I think it goes

 4   outside the scope.         They listed her as an expert out

 5   of an abundance of caution, but I think it goes

 6   outside the scope of her expertise to then say

 7   because he said this, this is what he meant by it.

 8   I didn't object at the time, but I am going to ask

 9   the Court that if she's -- or find out if she's

10   going to testify to what she thinks these meant, I

11   think that is outside her scope of expertise, and I

12   would object to that.

13                 THE COURT:      Okay.    Ms. Martin.

14                 MS. MARTIN:      Your Honor, Ms. Hussein is a

15   certified linguist, and her job is to translate

16   Arabic to English.         Many words in English and other

17   languages have more than one meaning, and she is

18   testifying that, based on the context of the audio

19   that she listened to, this is what those words

20   meant.     And I think that's completely appropriate,

21   that that is her job is to interpret based on the

22   context of a conversation.

23                 THE COURT:      I'm going to let you do it.

24   You can take this up on cross-examination, and I

25   know you object to it.


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 1                  Anything else?

 2                  MR. WHALEN:     No, Your Honor.

 3                  THE COURT:     Anything else?

 4                  MS. MARTIN:     Your Honor, we have

 5   transcript books for the jury.             I don't know if, to

 6   save time, if you would rather us place them on

 7   their chairs now or if you would like to wait.

 8                  THE COURT:     I would like to wait.           It

 9   won't take that long to pass them out.

10                  Anything else?      All right.       We will see

11   you here at 9:00 a.m.

12                  (Recess taken.)

13                  THE COURT:     Let's continue with the direct

14   examination of this witness.

15                              AYDA HUSSEIN,

16   having been previously sworn, testified as follows:

17                    DIRECT EXAMINATION (CONT'D)

18   BY MS. MARTIN:

19   Q.     Good morning.

20   A.     Good morning.

21   Q.     Ms. Hussein, yesterday you were -- I asked you

22   about several words that were Arabic words.                   Do you

23   recall that?

24   A.     Yeah.

25   Q.     And you gave the definition of those words.


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 1   A.      Yes, I did.

 2   Q.      When you were giving the definition -- if you

 3   could pull that microphone a little bit closer.                   I'm

 4   having a hard time hearing you.

 5   A.      Okay.

 6   Q.      Do you recall me asking you the definition of

 7   certain Arabic terms?

 8   A.      Yes, I do.

 9   Q.      And do certain words have more than one

10   meaning?

11   A.      Yes.

12   Q.      When you were giving the definition of those

13   terms here, how did you determine what meaning or

14   what definition to give?

15   A.      Well, it's according to the meaning that I

16   know.     And whatever I did not know, I looked it up

17   so as to be in the right context of what's being

18   said.

19   Q.      And so when you talk about "nafir," were you

20   taking that word in the context of the conversations

21   or the audio?

22   A.      Yes, I did.

23   Q.      Did it have more than one meaning, though?

24   A.      The meaning for "nafir" is waging jihad,

25   mobilizing to wage jihad.           And another word for it


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 1   or synonym for it is "go forth."

 2   Q.     Go forth?

 3   A.     Go forth.

 4   Q.     And so when you said "mobilizing to wage

 5   jihad," how did you determine that was the meaning

 6   in this context?

 7   A.     This is the terminology used by ISIS that I am

 8   familiar with, and it always indicates to the

 9   meaning of going to wage jihad.

10   Q.     And the defendant was speaking about ISIS in

11   that context?

12   A.     Yes, he was.

13   Q.     With respect to all the terminology you gave

14   yesterday, was that the same way you determined the

15   meaning?

16   A.     Yes, it was.

17   Q.     We also left off talking about the transcripts

18   in this case.       And again, you transcribed or

19   verified every single transcript from Arabic to

20   English in this case.

21   A.     That is correct.

22   Q.     And I believe that I left off identifying a

23   long list of audio transcripts.

24   A.     Um-hum.

25   Q.     Or audio exhibits.         And now at this time I


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 1   would like to identify the corresponding transcript

 2   number:     Exhibit 114, 116, 118, 120, 122, 124, 126,

 3   128, 130, 132, 134, 136, 138, 140, 142, 144, 146,

 4   148, 150, 152, 154, 156, 158, 160, 162, 164, 166,

 5   168, 170, 172, 174, 176, 178, 180, 182, 184, 186,

 6   188, 190, 192, 194, 196, 198, 200, 202, 204, 206,

 7   208, 210, 212, 214, 216, 218, 220, 222, 224, 226,

 8   230, 232, 234, 236, 238, 240, 242, 244, 246, 248,

 9   250, 252, 254, 256, 258, 260, 262, 264, 266, 268,

10   270, 272, 274, 276, 278, 282, 284, 286, 288, 290,

11   292, 294, 296, 298, 300, 302, 304 and 312.

12          Ms. Hussein, did you compare the audio session

13   number with the transcript session number when

14   preparing for your testimony today?

15   A.     I did for each exhibit and for each audio.

16                MS. MARTIN:       Your Honor at this time the

17   government moves to admit the previous listed

18   exhibits for the audio and transcript?

19                THE COURT:       Mr. Whalen?

20                MR. WHALEN:       Your Honor, we would object

21   under predicate and 401 and 403.

22                THE COURT:       114 through 312 exactly as

23   Ms. Martin has just stated them is admitted.

24   Q.     (By Ms. Martin)        Now, Ms. Hussein, in this case

25   were you additionally provided some recordings from


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 1   the Italian government?

 2   A.     Yes, I was.

 3   Q.     And were you also responsible for transcribing

 4   or translating audio recordings from that evidence?

 5   A.     Yes, I was.

 6   Q.     Did you use the same procedures in that -- with

 7   respect to that evidence?

 8   A.     Yes, the same procedure.

 9   Q.     And you either personally translated or

10   transcribed it or verified the accuracy?

11   A.     I did translate and verify finalization.

12   Q.     And when you were doing it, did you use the

13   Italian session number in order to verify what you

14   had listened to and what you had transcribed in

15   preparing for your testimony today?

16   A.     I did.

17                MS. MARTIN:       Your Honor, I will list those

18   exhibits.

19                THE COURT:       Go ahead.

20                MS. MARTIN:       The audio is:        Exhibit 74,

21   76, 78, 80, 82, 84, 86, 88, 90, 92, 94, 96, 98, 100,

22   102, 104, 106 and the corresponding transcript

23   exhibits are 75, 77, 79, 81, 83, 85, 87, 89, 91, 93,

24   95, 97, 99, 101, 103, 105 and 107.

25                THE COURT:       Are you offering those?


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 1                   MS. MARTIN:    Your Honor, I will offer

 2   those with a subsequent witness.

 3                   THE COURT:    You're not offering those

 4   right now?

 5                   MS. MARTIN:    No, Your Honor.

 6                   THE COURT:    All right.      All right.

 7   Q.      (By Ms. Martin)       Ms. Hussein, I believe you

 8   told the jury that it takes you -- well, how long

 9   did you say it takes you to transcribe one minute of

10   Arabic audio to English?

11   A.      It takes one hour.

12   Q.      And so how much time would you say overall

13   you've spent listening to the defendant, Said Rahim?

14   A.      Over all the period of investigation, it's

15   probably around 600, 5- to 600, in between that

16   number.

17   Q.      You're a native Arabic speaker?

18   A.      I am.

19   Q.      Are you able to understand tone and inflection?

20   A.      I was.

21   Q.      And in this case, did you prepare some synced

22   transcripts to audio?

23   A.      I did.

24   Q.      What -- when I say "synced," what does that

25   mean?


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 1   A.     It means writing subtitles or having subtitles

 2   synced into the sound, audio, as it goes to

 3   translate and describe or say what the defendant was

 4   saying.

 5   Q.     So the transcript runs while the audio is

 6   playing?

 7   A.     It runs together.        It's synced, yes.

 8                MS. MARTIN:       For the exhibits that have

 9   been admitted, may the government have permission to

10   publish those exhibits as they come up?

11                THE COURT:       Yes.

12   Q.     (By Ms. Martin)        Ms. Hussein you've synced

13   Government's Exhibit 79 with 180; is that correct?

14   A.     Correct.

15   Q.     Before we listen to that transcript, what is

16   the Arabic word for "kill"?

17   A.     It's oqtul.

18                THE COURT REPORTER:          Can you spell that,

19   please?

20                THE WITNESS:       It's O-Q-T-U-L.

21                MS. MARTIN:       May we publish, Your Honor?

22                THE COURT:       Yes.

23                (Audio played.)

24   Q.     (By Ms. Martin)        Ms. Hussein, did the

25   transcript accurately translate what the defendant


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 1   was saying in that recording?

 2   A.      It does.

 3   Q.      Does he repeatedly say "to kill"?

 4   A.      He repeatedly says the word "oqtul."

 5                   THE COURT:    What exhibit was the

 6   transcript?

 7                   MS. MARTIN:    I'm sorry, Your Honor.          That

 8   was Government's Exhibit 180.

 9                   If we could have Government's Exhibit's

10   221 and 222.

11                   (Audio played.)

12                   THE COURT:    And it would help to say when

13   these took place, if she knows.

14                   MS. MARTIN:    Yes, Your Honor.

15   Q.      (By Ms. Martin)       Ms. Hussein, that exhibit is

16   Transcript Number 222, and there's a binder in front

17   of you.

18           Do you see the date at the top of page 1?

19   A.      I do.

20   Q.      What is that date?

21   A.      It's May 31st of 2016.

22   Q.      Thank you.     And in that transcript, Mr. Rahim

23   says:     "In any area where Christians exist, they are

24   legal targets."        Is that correct?

25   A.      It's about four pages.         Can you -- do you want


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 1   to give me the time to locate it?

 2   Q.     Yes, ma'am.      On page 2 of Exhibit 22, line 7:

 3          "In any area where Christians exist, they are

 4   legal targets, or a Jew or atheist, or crusader, or

 5   where a Christian missionary preacher is, not a

 6   missionary, but someone who converts people to

 7   Christianity.       All those are legal targets of the

 8   Islamic Caliphate State."

 9          Did I read that correctly?

10   A.     Yes.

11   Q.     When you heard Mr. Rahim say that, did it sound

12   like he was joking?

13   A.     No, he was not.

14   Q.     If we can have Government's Exhibit 192, and

15   the audio is at 191.

16          (Audio played.)

17   Q.     (By Ms. Martin)        Ms. Hussein, if you can look

18   at the top of page 1 of Government's Exhibit 192.

19          Could you provide the date of that transcript?

20   A.     It's the 1st of March on 2017.

21   Q.     Would you look at that again?

22   A.     Excuse me.      January 3rd, 2017.

23   Q.     Now, on page 2, line 11 Said Rahim says:

24          "Also, if you recall, before, from...I mean

25   less than a month -- less than a month, I called


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 1   upon the brothers, I mean, to target Turkey.                  But I

 2   ... who am I to be heard, but I mean, praise be to

 3   God, the Lord of the Worlds."

 4          When he says, "Who am I to be heard," what does

 5   that mean?       What was he conveying through his tone?

 6   A.     Can you direct me to the line, please?

 7   Q.     Yes.     It's line 14.

 8   A.     He is referring to his statement a month ago

 9   upon his call to other brothers --

10   Q.     When he --

11   A.     -- to target Turkey.

12   Q.     I'm sorry.      Will you repeat that?          Will you

13   repeat your answer?

14   A.     Well, he was trying to remind the other

15   brothers on his call to them about a month ago to

16   target Turkey.

17   Q.     Okay.     And then when he continues on, "But who

18   am I to be heard --"

19   A.     Right.

20   Q.     -- what does that mean?

21   A.     He is underestimating his position in the

22   channel and trying to humiliate himself.

23                  THE COURT:     Trying to what?

24                  THE WITNESS:     Humble himself.

25                  THE COURT:     Humble himself.


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 1   Q.     (By Ms. Martin)        So he's saying, "Who am I?

 2   Who are they to listen to me?"

 3   A.     Right.

 4   Q.     And then it continues on line 15 and 16:

 5          "I ask God to grant me reward for it, for

 6   inciting brothers to perform jihad for the cause of

 7   God - for inciting brothers to perform jihad for the

 8   cause of God."

 9          What do you understand asking God to grant a

10   reward to mean?

11   A.     It's his way of asking for a reward for

12   inciting other brothers to wage jihad.

13                 MS. MARTIN:      If we could publish

14   Government's Exhibit 189 and 190.

15                 (Audio played.)

16   Q.     (By Ms. Martin)        Ms. Hussein, if you will look

17   at Government's Exhibit 190.

18          Can you read the date at the top of that

19   transcript?

20   A.     December 16, 2016.

21   Q.     Is that a little less than a month before the

22   previous recording?

23   A.     Yes.

24   Q.     And the previous recording was in early

25   January 2017?


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 1   A.     January, correct.

 2   Q.     And in this transcript, on line 18, he says:

 3          "'Be a lone wolf,' if you are able to do

 4   something in Turkey, so I mean attack the infidels

 5   and the apostates, the Turks, the Turkish Police; if

 6   you are able to kill them, then do so...if you can

 7   burn their businesses or burn their homes, I mean

 8   the government officials and police cars...to kill

 9   police individuals.         If you can do that, then do

10   it."

11          Was that, based on your context, what he was

12   referring to wanting rewards for?

13   A.     Yes.

14                 MS. MARTIN:      If we could hear Government's

15   Exhibits 181 and 182.

16                 (Audio played.)

17   Q.     (By Ms. Martin)        Ms. Hussein, if you could read

18   the date on the top of page 1 of transcript 182.

19   A.     July 15th, 2016.

20   Q.     Do you know whether or not that's a French

21   holiday?

22   A.     It is not a French holiday.

23   Q.     When he's laughing about -- do you hear him

24   laughing in this transcript?

25   A.     Yes, I do.


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 1   Q.     But he's saying "Happy Holiday" to France?

 2   A.     Yes.

 3   Q.     Why is he doing that?

 4   A.     He is celebrating the terrorist act that

 5   happened in France and that was claimed by ISIS.

 6   Q.     And that was in Nice, France?

 7   A.     Yes.

 8   Q.     And he says "killing --" I'm sorry.               He uses

 9   the word "killing" in that transcript as well?

10   A.     Yes, he does.

11   Q.     What was that word again?

12   A.     Oqtul.

13                 MS. MARTIN:      If we could publish

14   Government's Exhibits 151 and 152.

15   Q.     (By Ms. Martin)        Ms. Hussein, if you could look

16   at Government's Exhibit 152.            What is the date of

17   that transcript?

18   A.     The date is August 17, 2016.

19   Q.     And on page 2, line 19, Said Rahim says:

20          "Come to jihad.        Where are you men?         Where are

21   you?    Days and years keep passing and time is

22   running out quicker than lightning."

23          Do you see that?

24   A.     Yes.

25   Q.     In that context, what does the word "jihad"


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 1   mean?

 2   A.      Jihad is going forth for the cause of God,

 3   Allah.

 4   Q.      And what does "jihad" mean when he asks:

 5   "Where are the men, the time is running out"?

 6   A.      He's asking them, per se, to go and fight the

 7   infidel.

 8   Q.      Did he appear to be joking during this audio?

 9   A.      Oh, no, he's very serious.

10   Q.      Ms. Hussein --

11                MS. MARTIN:       Your Honor, may I approach?

12                THE COURT:       Yes.

13                MS. MARTIN:       If we could publish

14   Exhibit 305, please.

15   Q.      (By Ms. Martin)       Ms. Hussein, I've given you

16   Government's Exhibit 305, and you will be able to

17   see it on your screen as well.

18           In the center of that exhibit, what language is

19   that writing?

20   A.      This is the Arabic language.

21   Q.      And what does it say?

22   A.      It says the two words Agousha al-Shishani.

23                THE COURT:       Spell them both.

24   A.      Spell them.     A-G-O-U-S-H-A, A-L,

25   S-H-A-I-N-A-N-I [sic].


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 1   Q.     (By Ms. Martin)        On that last word, did you say

 2   S-H-I-S-H-A-N-I?

 3   A.     A-L, S-H-A-I-S-H-A-I-N-I [sic].

 4   Q.     Okay.     What does Shishani mean?

 5   A.     A person from Chechnya would be called

 6   Shishani.

 7   Q.     If we can see Exhibit 306.

 8          That small button up towards the top left

 9   corner, do you see that?

10   A.     Yes.

11   Q.     Can you read that?

12   A.     In Arabic?

13   Q.     Yes.

14   A.     Muqsala.

15   Q.     Can you translate it from Arabic to English for

16   the jury?

17   A.     I don't have the word in mind, because it's

18   sort of, I believe, originally a French word taken

19   from French into English.

20   Q.     What is it in Arabic?

21   A.     A muqsala is the tool that you cut off the

22   person's neck or behead a person's head with it.

23   Q.     Okay.

24                  MS. MARTIN:     Your Honor, I will pass the

25   witness.


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 1                   THE COURT:    Cross-examination, Mr. Whalen.

 2                          CROSS-EXAMINATION

 3   BY MR. WHALEN:

 4   Q.      Ms. Hussein, good morning.

 5   A.      Good morning to you, sir.

 6   Q.      You said you started with the FBI in what year?

 7   A.      In 2007.

 8   Q.      Okay.     And when did you become involved in this

 9   case?

10   A.      At the beginning of it, springtime, around

11   April, I believe, of 2016.

12   Q.      Okay.     And just so we're clear, how many hours

13   of audio did you listen to?

14   A.      I listened to about, I would say, 200 hours out

15   of the 5- to 600 audios that I was tasked with.

16   Q.      Okay.     So you were given 5- to 600 hours of

17   audio, and you listened to just 200 of it?

18   A.      Yes.

19   Q.      Did you listen to 200 personally and other

20   people listened to the other?

21   A.      No, that's personally.

22   Q.      Okay.     Did other people listen to the remaining

23   hours?

24   A.      Yes, the other team of linguists did.

25   Q.      Okay.     And so what all did you listen to?


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 1   A.     Can you clarify the question?

 2   Q.     Well, obviously you listened to audio to make

 3   these translations, correct?

 4   A.     Correct.

 5   Q.     So how many hours of audios from Zello did you

 6   listen to?

 7   A.     I don't have the exact numbers, but I believe

 8   Zello, by itself, might have been around 170 hours,

 9   somewhere there, 150, 170.

10   Q.     How much?

11   A.     150 to 170.

12   Q.     Okay.     And then did you start listening to

13   those in April of 2016?

14   A.     When?

15   Q.     Yes.     Did you start listening to the Zello

16   audios in April of 2016?

17   A.     Yes.     Correct.

18   Q.     And is that the -- did you already have that

19   150 hours at that time?

20   A.     At the beginning of listening to Zello?

21   Q.     Yes.

22   A.     No.

23   Q.     Okay.     My next question is, during the course

24   of this investigation, did you continue to get more

25   audios from Zello?


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 1   A.     Yes.

 2   Q.     When did you get more audios from Zello?

 3   A.     As the investigation was going.

 4   Q.     Okay.     And so did you continue to get new

 5   audios from Zello throughout the investigation?

 6   A.     Just about.

 7   Q.     Okay.     And those were not in addition to what

 8   you received in the beginning, correct?

 9   A.     Yes.

10   Q.     Okay.     Now, you also listened to audio, I think

11   you said on direct examination, of phone calls.                   Did

12   you listen to phone calls?

13                  MS. MARTIN:     Objection, relevance, Your

14   Honor.

15                  THE COURT:     Sustained.      We will get back

16   to it.     Go ahead.

17   Q.     (By Mr. Whalen)        Other than Zello, did you

18   listen to any other recordings?

19                  MS. MARTIN:     Objection, Your Honor,

20   relevance.

21                  THE COURT:     Let's come up.

22                  (Bench Conference:)

23                  THE COURT:     Go ahead and tell us why you

24   are objecting, Ms. Martin.

25                  MS. MARTIN:     Your Honor, I believe


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 1   Mr. Whalen is trying to get from this witness what

 2   different types of electronic surveillance were

 3   being conducted.

 4                THE COURT:       All right.      Mr. Whalen?

 5                MR. WHALEN:       Two responses:        One, I think

 6   in direct examination she did testify that she

 7   listened to phone calls.           So I think that's out and

 8   I get to inquire about it.            I'm just asking when she

 9   listened to them.         I'm not asking how she -- what

10   else she -- all that she listened to, the quantity

11   of what she listened to.

12                MS. MARTIN:       Those were jail calls that

13   she listened to between him and his family.

14                THE COURT:       All right.      How is FISA in --

15   you know, located in this?

16                MS. MARTIN:       We believe he's trying to

17   elicit the different types of collection from this

18   witness to the extent that she knows.

19                MR. WHALEN:       I'm just asking what she

20   listened to.

21                THE COURT:       I'm going to let him ask that,

22   and we will just see where it goes.

23                MS. MEEKS:       Your Honor, the types of

24   collection, itself, whether it was --

25                THE COURT:       I can't hear you.


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 1                MS. MEEKS:       The types of collection, the

 2   ways in which it was collected is classified.                   I

 3   think what Mr. Whalen is asking about the phone

 4   calls, we were specifically on direct talking about

 5   jail calls.      So we didn't open the door to any types

 6   of collection.

 7                MR. WHALEN:       But the point is, if she's

 8   listening to all of this, she's listened to it and

 9   then this is what she's testifying to, it goes to

10   what I talked about yesterday.                It goes to trial

11   strategy, defensive theories, that, if I can't ask

12   her that, then I can't present it.

13                MS. MEEKS:       So, Your Honor, under CIPA 8,

14   this line of questioning requires the witness to

15   disclose classified information.                The government

16   would make a formal objection under CIPA 8, in which

17   case if the Trial Court feels it needs more

18   information, it would necessitate an ex parte

19   hearing.

20                THE COURT:       So what can he ask?

21                MR. WHALEN:       The other thing I will point

22   out for the record is, the question becomes is she's

23   offering her opinion of what he meant through the

24   context.     So what is she relying in toto to form

25   that opinion?


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 1                THE COURT:       All right.        Go ahead.     Can he

 2   ask her anything more?

 3                MS. MEEKS:       He can ask her certainly for

 4   the basis of her opinion, and he can certainly ask

 5   her how many hours she's listened to.                 But when you

 6   ask about, did you hear phone calls, were there

 7   certain other kinds of --

 8                THE COURT:       He can ask for phone calls.

 9                MS. MEEKS:       That was the jail calls, Your

10   Honor.

11                THE COURT:       That doesn't matter.          They

12   don't know that.

13                MS. MEEKS:       Well, we are precluded from

14   mentioning they were jail calls.                It would disclose

15   the fact that the defendant was in custody.

16                THE COURT:       I don't know that you are

17   precluded from mentioning that they were jail calls.

18   I don't think you are precluded from mentioning

19   that, okay, I really don't.

20                MS. MARTIN:       Well, we were trying not to

21   prejudice the jury by knowing he's in custody.

22                THE COURT:       Well, I mean, if it happened,

23   it happened.

24                MR. WHALEN:       I know.        I didn't want to

25   elicit jail calls either, because it wasn't offered.


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 1   But there are recorded phone calls --

 2                MS. MEEKS:       That's -- that's just not

 3   correct, Your Honor.          That's not correct.

 4                THE COURT:       Tell us what is the deal.

 5                MS. MEEKS:       Your Honor, I can't -- I

 6   can't -- this is not the appropriate forum for

 7   everything that we have prelitigated about CIPA to

 8   disclose the exact types of electronic surveillance.

 9   It is entirely permissible for the defense to

10   mention electronic surveillance, but whether they

11   were phone calls or Zello is not relevant.

12                THE COURT:       All right.      All right.      All

13   right.     No phone calls, but you're going --

14                MR. WHALEN:       I'll move on, Judge.          I'm

15   just frustrated.        But I will find a way to work

16   around it.

17                THE COURT:       I think you can ask a few more

18   questions along these lines.            Let's go.

19                (Bench conference concluded.)

20   Q.     (By Mr. Whalen)        Ms. Hussein, I want to start

21   back with your education and training.

22          How far did you go in school?

23   A.     I finished high school, and I have a diploma in

24   computer programming, too.

25   Q.     Where did you get your computer programming


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 1   degree?

 2   A.     In -- where I was residing.

 3   Q.     Okay.    Now, when did you get certified as an

 4   Arabic-to-English translator?

 5   A.     With the FBI in 2007.

 6   Q.     Okay.    And when you were -- when you're given

 7   things to translate, are you told up front what the

 8   nature of the investigation is?

 9   A.     We usually have a briefing on the case before

10   we start working on it.

11   Q.     Okay.    Are you told what they are hoping to

12   hear or ask you what to look for, or do they tell

13   you what to look for?

14   A.     Not hoping, per se, but the requirements of

15   translation would usually be directed to finding out

16   if there is some wrongdoing.

17   Q.     Okay.    So when you start listening to these

18   recordings and translations, you're focused on

19   listening for what you believe or what the

20   government believes to be wrongdoing, correct?

21   A.     Actually, it is our job to investigate people,

22   yes.    And we are trained to be unbiased towards

23   either party, so we usually translate what we hear

24   without having sides.

25   Q.     Did -- you've offered some opinions here of


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 1   what you think the person meant by what they said,

 2   correct?

 3   A.     To my understanding, yes.

 4   Q.     Okay.     Do you have any degrees in psychology?

 5   A.     No, I don't.

 6   Q.     Okay.     Have you ever practiced psychology?

 7   A.     No, I haven't.

 8   Q.     Okay.     So when you talk about what you think he

 9   meant or what he said, that's your opinion, correct?

10   A.     No.

11   Q.     Okay.

12   A.     It's actually what he says in the context of

13   what's being said, sir.

14   Q.     Okay.     Now, are you aware when you got these

15   audios from Zello that they were not the complete

16   conversations?       Were you aware of that?

17   A.     Yes.

18   Q.     Okay.     And have you ever been in a situation

19   where you came in in the middle of a conversation in

20   real life?

21   A.     You mean a conversation started earlier to the

22   recording of the audio?

23   Q.     Right.     Let me ask you this:          Have you ever

24   been in a social setting and then get into the

25   middle of a conversation and you hear something that


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 1   could be offensive, but you don't hear anything that

 2   started it, right?

 3   A.      Sure.

 4   Q.      Okay.   Is it possible that you could

 5   misinterpret what they said because you didn't hear

 6   the complete context of it?            Would you agree with

 7   that?

 8   A.      The recordings were not as short as you might

 9   imagine where you would miss the main point of

10   what's being said or to misunderstands what's being

11   said.

12   Q.      On each of these transcripts, it has the length

13   of time of each one, correct?

14   A.      Correct.

15   Q.      Some of them are 50 seconds, some are two

16   minutes, and some may be 20 minutes, correct?

17   A.      Correct.

18   Q.      But you don't know whether or not that's the

19   entire conversation, correct?

20   A.      That's true.

21   Q.      Now, let's look at Exhibit 152.

22           Can you pull up the first page of Exhibit 152?

23           Can you go to the top of the page?

24           Do you see 152 on your screen there?

25   A.      Yes.


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 1   Q.      And if we look at the top of it, just so when

 2   we look at the data, this occurred on August 17th of

 3   2016.

 4   A.      Correct.

 5   Q.      And the only participant in this conversation

 6   is Mr. Rahim?

 7   A.      Correct.

 8   Q.      You have no idea whether anybody is actually

 9   listening to him, do you?

10   A.      By itself, no, I don't.

11   Q.      Thank you.

12           Can you pull up Exhibit 190, just the

13   transcript.        Go to page 2.

14           Ms. Hussein, we heard part of this translation

15   in Exhibit 190, but we didn't hear part of the

16   second page.        If you look at page 2, would you agree

17   there's somebody named RR, indicating that he wanted

18   to immigrate to the Islamic State, but he doesn't

19   know how to reach Palmyra from Turkey or other

20   places?

21   A.      Correct.

22   Q.      Do you see that?

23   A.      I do.

24   Q.      Can you read out Mr. Rahim's response, please?

25   A.      He says:     "By God I have no-no-no information


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 1   on this.       May God bless you."

 2   Q.     Thank you.

 3          Now, you talked about before that word may have

 4   different meanings, correct?

 5   A.     Correct.

 6   Q.     And so when your methodology of trying to

 7   determine whether or not what meaning to give it,

 8   you're looking at it from the standpoint of what you

 9   think it means, what you thought he meant.

10   A.     Sir, my mother tongue language is Arabic and I

11   am from a Palestinian descent.                So it's all about

12   knowledge of the language.            And it's the

13   understanding of what's being said is something

14   natural that comes to a person, just like you do

15   with English.

16   Q.     Okay.     But you would agree with me that the

17   English language has a lot of different variations

18   and words that have different meanings, depending on

19   different regions?

20   A.     Of course; synonyms, yes.

21   Q.     And would you agree with me -- let me ask you

22   this question:       You talked about -- I think you

23   mentioned on direct examination the word Abu

24   al-Shahid.       Do you remember talking about that?

25   A.     Yes, I do.


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 1   Q.     And "Abu" means "father of," correct?

 2   A.     Correct.

 3   Q.     But if you have "Abdul," that means "servant

 4   of," correct?

 5   A.     Correct; of God, yes.

 6   Q.     So if it's Servant, Abdul al-Shahid, that's the

 7   servant of -- what would that be?

 8   A.     Al-Shahid is one of the 99 names -- the

 9   beautiful names they call them -- in Islamic terms

10   of God.

11   Q.     So if it's Abdul al-Shahid, then it's servant

12   of God, correct?

13   A.     In a way, yes, correct.

14   Q.     Okay.

15   A.     But that is the other meaning, if I may

16   collaborate on that.          That is one of the meanings of

17   Abd al-Shahid.       The other meaning that I mentioned

18   also means martyr.

19   Q.     So it can be servant of God, and then the other

20   opinion you gave is murder, correct?

21   A.     Correct.

22   Q.     And you're the lead linguist on this, correct?

23   A.     Correct.

24   Q.     Does anybody check your work?

25   A.     No, I'm the final reviewer of the work.


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 1                MR. WHALEN:       I'll pass the witness.

 2                THE COURT:       Redirect?

 3                        REDIRECT EXAMINATION

 4   BY MS. MARTIN:

 5   Q.     Ms. Hussein, Mr. Whalen was just asking you

 6   about Abdul al-Shahid.          Do you recall that?

 7   A.     Yes, I do.

 8   Q.     I think he asked you if the other meaning was

 9   "murder."      Is the other meaning "murder"?

10   A.     Did he say "murder"?         I thought he said

11   "martyr."

12   Q.     Martyr is what you are saying?

13   A.     That's what I heard him saying.

14   Q.     What is the other meaning?             Servant of God, and

15   what is the other meaning?

16   A.     The other meaning, servant of God is Abd.

17   Al-Shahid has two meanings.            One of them is a name

18   for God being the all witness, observer of things.

19   And the other meaning is "martyr."

20   Q.     Would you spell "martyr" for us?

21   A.     M-A-R-T-Y-R.

22                MS. MARTIN:       Thank you.       Pass the witness,

23   Your Honor.

24                THE COURT:       Anything else, Mr. Whalen?

25                MR. WHALEN:       Just real quick, Your Honor.


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 1                THE COURT:       Sure.

 2                         RECROSS-EXAMINATION

 3   BY MR. WHALEN:

 4   Q.     So obviously we could say -- you could say a

 5   word, I could say a word.             We're both speaking

 6   English, but we both misunderstood it, correct?

 7   A.     You could.

 8                MR. WHALEN:       Pass the witness.

 9                THE COURT:       May the witness be excused?

10                Mr. Whalen?

11                MR. WHALEN:       Yes, Your Honor.

12                THE COURT:       You can be excused.         Just

13   remember not to talk about the case until it's over.

14                Go back to work.          Thank you.

15                THE COURT:       Call your next witness.

16                MS. MEEKS:       Dr. Vidino.       The government

17   calls Dr. Vidino.

18                At this time the government would like to

19   pass out the transcript binders to the jury.

20                THE COURT:       Yes, that's fine.         Go.

21                Ahead and swear him again.

22                COURT SECURITY OFFICER:            Okay.

23                (Witness sworn.)

24                THE WITNESS:       I do.

25                COURT SECURITY OFFICER:            Have a seat.


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 1   State and spell your first name and last name.

 2                THE WITNESS:       Lorenzo Vidino.        That's

 3   V-I-D-I-N-O.

 4                THE COURT:       Just a minute.        Before you say

 5   anything else, let them hand out the transcripts.

 6                Does everyone have one now?             Nope?    Okay.

 7   Okay.     All right.      Go ahead.

 8                MS. MEEKS:       Thank you, Your Honor.

 9                        LORENZO VIDINO, Ph.D.

10   having been first duly sworn, testified as follows:

11                         DIRECT EXAMINATION

12   BY MS. MEEKS:

13   Q.      Dr. Vidino, thank you for being here this

14   morning.     Can you tell us what your current

15   employment is?

16   A.      I'm the director of the program in extremism at

17   the George Washington University.

18   Q.      And what is the role of the program on

19   extremism at George Washington?

20   A.      What the program does is basically research on

21   everything extremism with a particular focus on

22   jihadist groups, Al-Qaeda, ISIS, in the west, in the

23   United States in particular.            So it's a team of

24   around 12, 15 people.          And what we do is basically a

25   lot of analysis, and then we publish most of our


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 1   work.     And that's for dissemination to the wider

 2   public, the policymakers, law enforcement and the

 3   wider public.

 4   Q.      And does the program have any specialized

 5   particular terrorist group that it follows?

 6   A.      ISIS and Al-Qaeda.

 7   Q.      Is the program, part of its research, does it

 8   monitor online activities for propaganda with regard

 9   to those groups?

10   A.      Yes.    That is a big part of what we do.             We

11   have a small team devoted to monitoring certain

12   platforms where ISIS supporters are active, some of

13   the larger ones like FaceBook or Twitter, or some of

14   the smaller ones.         And we have published a lot of

15   reports on that.        We constantly monitor those

16   platforms.

17   Q.      Okay.    And besides that, what else is your

18   professional background?

19   A.      I have a law degree.        And then I have a

20   master's and a doctorate from the Fletcher School of

21   Law and Diplomacy in International Security, we

22   focus on the Middle East.           So I have basically been

23   an academic for the last 19 years.

24   Q.      And has that focus been on -- you said the

25   Middle East?


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 1   A.     Mostly jihadist activities in the West; so

 2   Middle East.       But how groups like Al-Qaeda and ISIS

 3   function, but especially in the West, how they

 4   recruit people, how people in the West mobilize and

 5   support and join those groups.

 6   Q.     Would you say that you are very familiar, then,

 7   with ISIS and how it functions?

 8   A.     I would say so, yes.

 9   Q.     And are you aware of trends in terrorism?

10   A.     Yes, of course.        We look at things -- I look at

11   things globally to understand the dynamics here in

12   the United States or European countries.                 So

13   understanding general trends with terrorist groups

14   and the geopolitics behind it is crucial.

15   Q.     Okay.    You talked a little bit about being

16   published.      Can you explain that further?             What does

17   that mean?      What types of things have you published,

18   and is it subject to peer review?

19   A.     Yes.    So basically I have published some six

20   books and around 20 journal articles and around 20,

21   25 reports and around probably a couple of hundred

22   shorter articles.         The bigger products are generally

23   peer reviewed.       Peer reviewed means that at least

24   two scholars -- or it could be analysts from

25   government agencies -- look at what I write, what my


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 1   center publishes, and we get feedback.

 2          For example, in academic journals, if you don't

 3   pass the peer review, you're not going to get

 4   published.      So there are ways to keep, of course,

 5   the academic rigor of what we publish.                And even for

 6   the things we publish internally, that means not in

 7   journals, we do sort of a voluntary peer review.

 8   That means before publishing a report, we send it

 9   out to colleagues to get their feedback and to

10   basically see their comments, if they have suggested

11   edits.

12   Q.     Give us a sampling or idea of a sampling of the

13   types of topics that you publish on?

14   A.     Sure.    Well, we publish a lot on -- the first

15   big report that we did as a center, I was one of the

16   two authors.       And keep in mind, as the director of

17   the center, everything sort of goes to me, even the

18   things written by the analysts of the center, I have

19   to read it and edit.          Some of it, of course, I write

20   myself.     It was on ISIS in America.            It was

21   basically the first academic report that looked at

22   how, at the time, around only 80, 90 individuals

23   throughout the United States had been charged for

24   ISIS-related activities.

25          We have done a lot of work on the online


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 1   component of immobilization.            So looking at how the

 2   ISIS sympathizing community online functions, how

 3   these individuals communicate, what platforms were

 4   used and so on and so forth.

 5          We are currently looking at financing, how

 6   individuals for ISIS supporters in the United States

 7   fund their activities, whether they send money

 8   abroad, whether they receive money from abroad.

 9          We do a lot of work in trying to understand who

10   these individuals are, what the -- the reasons that

11   lead them to radicalize.           That's sort of a term of

12   art.    That means embracing ISIS' worldview, and

13   then, eventually, carry out the attacks on ISIS'

14   behalf or travel or attempt to travel to the city of

15   Iraq to join ISIS.

16   Q.     Okay.    And have any particular government

17   agencies or organizations used those reports or

18   relied on them in some fashion?

19   A.     Yes.    We are an independent entity.             Of course

20   we are part of major university.              But we -- we make

21   it a point to have our reports being very accessible

22   and useful for different agencies, different

23   stakeholders.

24          We regularly provide briefings to Congress.                   I

25   have testified before Congress several times.                  Our


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 1   reports have been the foundation of at least two

 2   hearings that I know of before Congress.                 I'm aware

 3   that some of the reports we publish are being used

 4   as training materials by different law enforcement

 5   agencies at the federal, state and local level

 6   throughout the country.

 7          Same goes in certain -- in other foreign

 8   countries where I know our materials are used.

 9   Q.     Yes.    So what is the international reach of

10   your program, and have you had the opportunity to

11   also speak or participate in international forums?

12   A.     Yeah.    Of course the main focus of the center

13   is what happens in the United States, but obviously

14   one has to contextualize it in the broader dynamics

15   taking place in Europe, the Middle East and other

16   parts of the world.

17          Also my background -- I think everybody might

18   have picked up on the accent -- I am originally from

19   Italy.     I do a lot of work in Europe.             We do work

20   with several governments and research centers,

21   universities, media outlets, many European and

22   Middle Eastern countries.

23          I travel very often.         I attend conferences.

24   Just the last three months I have been in the Middle

25   East twice.      I have spoken at major conferences in


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 1   Singapore and Italy and Spain.                So traveling is a

 2   big part of what we do, because of course one has to

 3   sort of understand trends in other countries, so

 4   their global phenomenon.           And only by exchanging

 5   thoughts and notes with people in other countries

 6   one can make sense of it.

 7   Q.     Okay.     Have you testified in other terrorism

 8   trials?

 9   A.     Yes, I have.

10   Q.     And you mentioned that you are originally from

11   Italy; is that correct?

12   A.     Yes.

13   Q.     So are you familiar with a co-conspirator in

14   this case by the name of Monour el Aoual?

15   A.     I am.

16   Q.     Did you have any investigation or any

17   involvement in the investigation of that case?

18   A.     No, I have not.

19                  THE COURT:     What was his name?

20                  MS. MEEKS:     It's Monour el Aoual, Your

21   Honor.

22                  THE COURT:     Okay.

23   Q.     (By Ms. Meeks)       So it's just a coincidence that

24   you happen to be from Italy?

25   A.     Very much so.


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 1   Q.     What languages do you speak?

 2   A.     Italian and English, and I get by French

 3   Spanish and German.

 4   Q.     Do you speak Arabic?

 5   A.     I don't.

 6   Q.     Are you familiar with certain Arabic terms in

 7   the context of the jihadist community?

 8   A.     Very much so, with sort of the terms of art and

 9   having studied this phenomenon for almost 20 years,

10   it's inevitable you come across them all the time.

11   Q.     Let's talk a little bit about your CV or your

12   resume, which is Government's Exhibit 51.

13                THE COURT:       51 is not in evidence.          51 is

14   not in evidence I don't think.

15                MS. MARTIN:       No, it's not.

16                MS. MEEKS:       Okay.

17   Q.     (By Ms. Martin)        So we're going to show up on

18   the screen what is marked as Government's Exhibit

19   51.

20                THE COURT:       You can't show it because it's

21   not --

22                MS. MEEKS:       I'm sorry, Your Honor.

23                THE COURT:       It doesn't really matter.           His

24   CV really isn't admissible.            Can you just pull from

25   it?


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 1                  MS. MEEKS:     I wanted him to walk us

 2   through his CV if it reflected his employment

 3   history.       We would move to admit it into evidence

 4   subject to objection.

 5                  THE COURT:     Any objection?

 6                  MR. WHALEN:     Your Honor, I don't think

 7   it's relevant.

 8                  THE COURT:     I don't think so, either.           You

 9   can use it to refresh his recollection, but it's not

10   admissible.

11                  MS. MEEKS:     Okay.    Then we will move on

12   from that.

13   Q.     (By Ms. Meeks)        You've provided the government

14   a copy of your CV or your resume?

15   A.     Yes, I did.

16   Q.     And have you been paid for your time spent

17   reviewing the evidence and this information, have

18   you been paid or will you be paid in this case?

19   A.     I will be, yes.

20   Q.     Okay.     And is that standard practice for people

21   in your area?

22   A.     Yes.

23   Q.     Does that have any effect on your testimony

24   here today?

25   A.     No, it doesn't.


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 1                   MS. MEEKS:     At this time, Your Honor, I

 2   would move to have Dr. Vidino recognized as an

 3   expert witness.

 4                   THE COURT:     Any objection?

 5                   MR. WHALEN:     No, Your Honor.

 6                   THE COURT:     I recognize him as an expert.

 7                   Go ahead.

 8                   MS. MEEKS:     Thank you, Your Honor.

 9   Q.      (By Ms. Meeks)        Okay.   We were talking about

10   ISIS.     But does ISIS have other names that it goes

11   by or is known as?

12   A.      ISIS does go under several names that reflects

13   the long history the group has had.               But people call

14   it ISIS, ISIL, Daesh, Dawla, several names that

15   people can use to refer to the same group.

16   Q.      Okay.     And has that been designated as a

17   foreign terrorist organization by the U.S.

18   Department of state?

19   A.      Yes, it has.

20                   MS. MEEKS:     Your Honor, at this time I

21   request to publish Government's Exhibit 53, which

22   has been admitted into evidence.

23                   THE COURT:     That's fine.

24                   MS. MEEKS:     Can we get Government's

25   Exhibit 53, please?


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 1   Q.     (By Ms. Meeks)       Do you recognize this,

 2   Dr. Vidino?

 3   A.     I do.     That is the State Department designation

 4   of what is the original group, the original name

 5   used by ISIS, or at least that's the very first

 6   designation of the group.

 7   Q.     So there appear to be several names contained

 8   in this document.         Is that accurate?

 9   A.     Yes.     And since then, actually, several other

10   names have been added; again, to reflect the history

11   of the group, the expansion and evolution of the

12   group.

13   Q.     Okay.     Let's talk a little bit about that.              How

14   did it -- that's fine, thank you.

15          How did it evolve over time of as sort of a

16   traditional Al-Qaeda model?

17   A.     It's a very long and complex history.               I will

18   try to keep it short.          I think one can trace the

19   origins of the group to a man named Abu Musab

20   al-Zarqawi.

21                  THE COURT REPORTER:        Will you spell that,

22   please?

23                  THE WITNESS:     Yeah.     A-B-U, M-U-S-A-B,

24   A-L, Z-A-R-Q-A-W-I, and of course there are

25   variations to that as well.


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 1   A.      Zarqawi was a fairly charismatic and prominent

 2   Jordanian jihadist, was based in Afghanistan, close

 3   to Osama bin Laden, close to Al-Qaeda in the late

 4   '90s.     He led a small group after the U.S. invasion

 5   of Afghanistan right after 911 and relocated to

 6   Iraq.

 7           When, in 2003, the U.S. invaded Iraq, that

 8   group found itself in a very convenient situation

 9   from a jihadist point of view, from Al-Qaeda's point

10   of view, meaning that it was right there where U.S.

11   forces were operating.          So it became a very

12   prominent group, and it led the insurgency against

13   the U.S. military.

14           By 2004, it was officially named as Al-Qaeda in

15   Iraq.     That is when the designation is first from.

16   It went through different iterations, different

17   names, just sticking to the main ones.                In 2006, it

18   renamed itself as Islamic State of Iraq.                 This sort

19   of reflects the ambition that the group has always

20   had to create a state, to create a society, an

21   independent state ruled by a very strict

22   interpretation of Islamic law.

23           Of course it wasn't very successful at the

24   beginning.      The group was active in Iraq, led

25   insurgency, carried out countless terrorist attacks


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 1   in Iraq in those years.

 2          It went through decline from, let's say, by

 3   2010 and 2011 and then sort of a renaissance or

 4   resurgence in 2011, 2012 with the beginning of the

 5   civil war in Syria.         Syria is a neighboring country

 6   to Iraq, and it was engulfed in civil war, which

 7   still plagues the country right now.

 8          What Al-Qaeda -- or the Islamic State in Iraq

 9   did in 2012, it started operating across the

10   border -- at least part of it across the border and

11   started operating in Iraq, as well -- in Syria, as

12   well; hence the name ISIL or ISIS, to reflect

13   Islamic State of Iraq and the Levant or Islamic

14   State of Iraq and Sham, which is the Arabic term for

15   the region of the Levant, which is Syria.

16   Q.     Yeah, I was going to ask you the next question

17   about the Levant.         Can you describe what that means

18   geographically?

19   A.     That's historical region which encompasses

20   Syria, Lebanon, part of Palestine, Israel and parts

21   of Jordan.

22   Q.     So that's what's reflected now in the current

23   terminology of ISIS and ISIL.

24   A.     ISIS and ISIL, yes.         So when the group moved

25   from Iraq or it expanded from Iraq also to Syria, it


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 1   added the "S" or "L," the Sham or Levant part to the

 2   name, hence ISIS or ISIL.           So the group became very

 3   active in the Syrian conflict, again employing the

 4   same tactics of -- a mix of military and terrorist

 5   tactics.       They are brutal, they are ruthless, they

 6   are efficient, if you will.

 7          By 2014, it had occupied a fairly large portion

 8   of territory in both Syria and Iraq, territory which

 9   is the size of France, so fairly, fairly large.                   But

10   it's taken advantage of the chaos that engulfed both

11   Syria and Iraq.

12          And what it did in June of 2014, it declared

13   the territory to be a Caliphate.               That means

14   declared it to be an Islamic State, and it ran that

15   territory until basically less than a year ago as a

16   de facto state with functioning of administration,

17   with a hierarchy, with de facto ministries, the

18   department of sanitation, you name it.                It was

19   really a fairly efficient bureaucracy and of course

20   a fairly ruthless one, very, very violent and very

21   strict in how it enforced its vision on its

22   territory.

23   Q.     Okay.     Let's backtrack just a little bit.             You

24   had talked about the Caliphate.               What does that mean

25   historically?       What is a Caliph?


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 1   A.     Caliphate is the entity that traditionally has

 2   ruled.     And in the Muslim world, when the Caliph is

 3   the leader of the Muslim community, of the global

 4   Muslim community, and it embodies both political and

 5   religious power.

 6          Now, the last universal-recognized Caliph

 7   basically was removed in the 1920s.               What ISIS did,

 8   it tried to reclaim that Caliph, Baghdadi, who is

 9   the leader of ISIS, claimed to be the new Caliph,

10   which of course a claim that the vast majority of

11   Muslims worldwide rejected, but it's how ISIS tried

12   to claim legitimacy and tried to claim its global

13   appeal.

14   Q.     And that person's name was -- can you repeat it

15   one more time?

16   A.     Abu Bakr al-Baghdadi, who is the leader of ISIS

17   and self-appointed Caliph.

18                THE WITNESS:       Do you need the spelling.

19                THE COURT REPORTER:          Please.

20                THE WITNESS:       Abu is A-B-U.        Bakr,

21   B-A-K-R, al and then B-A-G-H-D-A-D-I.

22   Q.     (By Ms. Meeks)       And who are some of the other

23   important members or leaders in ISIS?

24   A.     The number 2 is Abu Mohammed al-'Adnani,

25   A-D-N-A-N-I.       He was killed in 2016, but he was in


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 1   charge of external operations for ISIS, that means

 2   basically planning terrorist attacks worldwide.                     And

 3   he was also the main spokesperson for ISIS.

 4   Baghdadi has not historically been a very

 5   media-friendly leader while 'Adnani has given a lot

 6   of public speeches.

 7   Q.      How about an individual named Shishani?

 8   A.      Shishani was a -- is a Chechen leader, is a

 9   name I would say of ISIS.           He climbed up through the

10   ranks of ISIS because he was a very good field

11   commander, not originally from Syria or Iraq.                  So

12   one of the leaders of the foreign factors were

13   fighting with ISIS, but because of his skills, he

14   managed to become a member of the upper echelons of

15   ISIS.

16   Q.      We mentioned a little bit about the ways that

17   ISIS became a functioning state.              Can you give us

18   more detail into what types of ways that it would

19   operate in -- in operating like a state?

20   A.      As I said, it really had, you know, the same

21   sort of a structure that mirrored that of states,

22   like the states are recognized by the United

23   Nations, with head of state, with ministries, and so

24   on and so forth.

25           Now, of course all of that was based on a very


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 1   extreme fringe-literalist interpretation of Islam,

 2   and that entailed, therefore, a very brutal, very

 3   literalist interpretation of certain rules.                  So

 4   punishments for behaviors were not considered to be

 5   in line with the law, were extreme, from chopping

 6   people's heads off, amputations, very, very severe

 7   punishments for anybody that was not in line,

 8   whether -- because if a person was perceived to be a

 9   spy or in any way speaking ill against the group or

10   because they were engaging in moral behaviors that

11   were not considered to be acceptable by ISIS.                     So

12   violence was a crucial component of how ISIS kept

13   order within its society.           So there's no dissent

14   allowed, let's put it like that.

15          The idea that ISIS also always had --

16                MR. WHALEN:       Objection to the narrative,

17   Your Honor.

18                THE COURT:       Sustained.      Ask another

19   question.

20                MS. MEEKS:       Yes, Your Honor.

21   Q.     (By Ms. Meeks)       In terms of the law that

22   governed the state, can you tell us a little bit

23   about that?

24   A.     So ISIS has -- so there's Islamic law in

25   general, which is called Shari'a.               Of course there's


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 1   not a universally accepted and codified body of

 2   Islamic law.       There are different opinions from

 3   different jurisprudence.            ISIS adopts its own

 4   interpretation of Shari'a, of Islamic law, which is

 5   extreme literalist, which I think it's fair to say

 6   is quite extreme.

 7   Q.     Does that include sort of the punishments that

 8   you were also speaking about?

 9   A.     Yes, very physical and brutal punishments which

10   ISIS meted out in public.

11                THE COURT:       Do you know if you have a

12   witness in here?        Is it okay?       I mean everybody

13   agree with that?

14                MS. MARTIN:       Your Honor, I believe she was

15   excused.

16                MR. WHALEN:       She was, Your Honor.

17                THE COURT:       Go ahead.

18                MS. MEEKS:       Thank you, Your Honor.

19   Q.     (By Ms. Meeks)       Okay.     So there are other

20   political aspects at play.            Can you talk about the

21   difference between Sunni and Shiite and give us an

22   understanding of that.

23   A.     It's a very complex issue.             But I would say in

24   a nutshell, Sunni and Shiite are the two main sects

25   in Islam.      It's a split.        It dates back to the very


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 1   early days of Islam.          It has to do with the

 2   leadership within the Muslim community.                And of

 3   course, then, some issues having to do with

 4   doctrine, simplifying things a lot, I would say sort

 5   of like Catholic and Protestants, but of course it's

 6   very different.        And obviously when it comes to the

 7   most extreme parts of those communities, there's

 8   very strong animosity between Sunnies and Shias, and

 9   groups like ISIS would not see groups as Shias as

10   Muslims.

11   Q.     Let's talk about some of the terminology that

12   you would be familiar with or that you would come to

13   encounter in your studies.

14          Are you familiar with the term "mobilize"?

15   A.     Yeah.    Mobilize is normally the term that is

16   used both in jihadist community and, say, by people

17   in sort of more in the academic community, to mean

18   when people decide to get into action, do something;

19   when people have embraced ISIS worldview and mindset

20   and then take it to the next level, which is doing

21   something.      Generally mobilizing entails either

22   traveling to join a group or carrying out an attack

23   wherever they are.

24   Q.     Is that similar to the term "Hijrah"?

25   A.     Hijrah is travel.        Hijrah is only travel.          So,


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 1   again, like with a lot of things with groups like

 2   ISIS and al-Qaeda do, they take terms which are

 3   mainstream terms in Islamic theology, but use them

 4   in a certain interpretation.

 5          Hijrah is what mainstream Islam, the profit

 6   Mohammed did when he traveled from Mecca to Medina

 7   to create the first Muslim community.

 8          Jihadists use it to basically represent the

 9   travel that people should do to join groups like

10   ISIS and al-Qaeda, so leave places where Islam is

11   not established, like the United States or pretty

12   much any place on the planet, and join what they

13   believe to be true Muslim groups, like ISIS and

14   al-Qaeda.

15   Q.     And what about jihad, you mentioned that.                Can

16   you explain it?        Are there different kinds of jihad?

17   A.     Again, jihad is a term that has a meaning

18   within mainstream Islam which means basically to

19   strive for God, to do something difficult to please

20   God.

21          Jihadists would use most of the narrow

22   interpretation of jihad, which is fighting, doing

23   something difficult, but is military fighting to

24   please God.

25   Q.     Does it have other meanings?             Can it mean other


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 1   things such as other types of jihad, Jihad of the

 2   Pen?     Is that something?

 3   A.      Yeah.   Jihadists would say, of course, there's

 4   different ways that you can fight for God.                 One is

 5   military fighting, but there's Jihad of the Pen,

 6   which is basically writing or spreading information

 7   and awareness about jihadist groups and what their

 8   activities are, basically recruiting.

 9   Q.      What is the type of jihad that's promoted by

10   ISIS?

11   A.      ISIS does both, promotes both, everything that

12   is useful to the cause.           So ISIS is engaged in

13   military fighting, but is at the same time directly

14   engaged and also actively supporting people who

15   spread their message.          Propaganda goes hand in hand

16   with fighting.       You can't have one without the

17   other.

18   Q.      What do the words polytheism and monotheism,

19   what does that mean to you?

20   A.      So Islam, like Christianity, like Judaism, is a

21   monotheist religion.          But monotheism for groups like

22   ISIS and al-Qaeda takes a very strong meaning,

23   meaning that only Muslims -- only Muslims will

24   accept the very extremist interpretation of Islam.

25   They accept the real monotheist; everybody else is


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 1   polytheist, and of course adores more than one God.

 2   And being polytheist, of course, is a major sin

 3   punishable by death.

 4   Q.     And is polytheism in this context, is it

 5   applied to other aspects of importance to a

 6   community?      For polytheism is it only -- is it

 7   multiple gods, or would it also encompass something

 8   like democracy?

 9   A.     Yeah, of course the -- the broader

10   interpretation the jihadist groups adopt, it's not

11   just being openly worshiping server of gods, like

12   Hindus would do.        But it's also putting anything at

13   the same level of God.          So if you believe in

14   democracy, you are polytheist, because groups like

15   ISIS would believe that only Shari'a, which is

16   God-mandated, is the true law.                Manmade law, like

17   the ones in democracy, basically means man

18   substituting himself to God.            That is, of course, a

19   major sin, so you are not a real monotheist, you're

20   not a true Muslim.

21   Q.     Talk a little bit about traveling, hijrah and

22   mobilize.      Why is it important to ISIS for people to

23   mobilize or to commit hijrah to the Islamic State?

24   A.     ISIS has always sought recruits.               A lot of -- a

25   big part of the membership of ISIS, of course, are


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 1   made of people who are in Syria and Iraq, which is

 2   the central territory that ISIS controls.                 But ISIS

 3   has always welcomed and encouraged the migration of

 4   people from other countries.            According to the

 5   United Nations, some 60,000 people physically joined

 6   ISIS in Syria and Iraq.           And so they left their

 7   countries in Europe, the Middle East, Southeast

 8   Asia, and traveled and joined ISIS.               And they have

 9   played a big role in ISIS development.

10   Q.     Is it just men who would travel?

11   A.     No.     It's mostly men, but there's a fairly

12   large part of women who have also traveled and

13   joined the group.

14   Q.     Would families travel?

15   A.     That's also a very common dynamic, which ISIS

16   highly encouraged.         I mean, ISIS, as we said

17   earlier, has created this narrative, they were

18   building a state, a perfect utopian society.                  So it

19   wasn't just men fighting, as much as it was, of

20   course, very important.           It was bringing families,

21   women, children, to create the perfect society they

22   wanted to create.

23   Q.     Are you familiar with the term "ISIS bride"?

24   A.     Yes.

25   Q.     What does that mean to you?


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 1   A.     It's a term that is sometimes used to define

 2   women who travel and join ISIS and want to marry

 3   somebody in ISIS.

 4   Q.     And what about for younger women, for young

 5   girls or teenagers?

 6   A.     It's also a fairly normal dynamic with some

 7   cases of very, very young girls traveling generally

 8   with their parents or with their husbands.                 But we

 9   have seen cases of 12, 13-year-old girls traveling,

10   sometimes alone, even from European countries, and

11   joining ISIS.

12   Q.     When people would go, at the height of its

13   control, what territory did it hold and for how long

14   and how has that changed over time?

15   A.     Yeah.     Well, as we said earlier, 2014 and early

16   2015 was sort of the height of ISIS territorial

17   control.       It controlled basically parts of Syria and

18   parts of Iraq, as we said earlier, the size of

19   France, give or take, although large parts of it

20   were desert.

21          By the end of 2014, the U.S.-led international

22   coalition started attacking ISIS, the military.

23   That means also through local allies on the ground.

24   So ISIS started being under attack and started

25   progressively losing part of its territory.


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 1          By 2017, it really had lost a significant

 2   amount of it.       It had lost some of the major cities

 3   it held.     Basically at this point, it's literally a

 4   matter of couple of months ago, it lost the last

 5   stronghold that it held in Syria, which is a small

 6   town of Baghouz, B-A-G-H-O-U-Z.               So basically at

 7   this point ISIS no longer controls territory in

 8   Syria and Iraq.

 9   Q.     At the height of its control over a territory,

10   was it calling for people to travel to -- or really

11   even while it was building the territory, people to

12   travel to the land?

13   A.     That has always been one of the strongest

14   messages from the beginning; travel, come to fight

15   or come to help build a state.

16   Q.     What were the different ways that people would

17   travel?     Would they have direct communications,

18   indirect communications?

19   A.     It depends.      There's different patterns for

20   different dynamics for different individuals.                  I

21   would -- I would sometimes use sort of an analogy.

22   It's like traveling when you fly, it's like first

23   class, business class, economy class.                And I would

24   say first class basically happens with those very

25   few individuals who have very strong connections to


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 1   ISIS.     People who travel there, because of course

 2   the difficulty of course is not so much in traveling

 3   to the Turkish border, which is sort of the gateway

 4   to get to Syria and Iraq, but in how you connect

 5   with the group, how do you actually show up and join

 6   the group.

 7           So first class would be those individuals that

 8   go there and have a strong predating connection with

 9   the group of people who have been fighting in

10   previous conflicts; they are part of that

11   environment.

12           Business class would be those that manage to

13   establish some kind of connection mostly through

14   social media and had a way to connect with the

15   group.     So the path would be, for example, somebody

16   wanting to travel from the West to Syria would first

17   fly to Turkey, and in Turkey would meet with

18   somebody with whom he or she had contact through

19   social media, had a phone number, a name, a place,

20   and some kind of way to get in touch with the group.

21           Economy class is really people who, especially

22   at the beginning of the conflict, just traveled to

23   the border between Turkey and Syria and tried their

24   luck to make their way into Syria.               And particularly

25   at the very beginning of the mobilization, I would


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 1   say the majority of people were traveling economy

 2   class, meaning just showed up at the border.                   And

 3   ISIS was really very different from a lot of other

 4   groups in the sense it was very welcoming, very

 5   open.     Anybody that -- there was some vetting, of

 6   course, just wanted to sort of make sure people were

 7   not infiltrating the group, people were not spying

 8   on the group.       But compared to other groups, like

 9   al-Qaeda, ISIS has always been very open.                 The bar

10   for joining the group has always been fairly low.

11   Q.      Okay.   And what about -- what about ISIS

12   wanting attacks in infidel countries?                Can you

13   explain that?

14   A.      Yeah.   Well, ISIS, as always, encouraged

15   attacks against the West, but that message has

16   become particularly strong after September 2014.

17           September 2014 is where, as we said earlier,

18   the U.S.-led international coalition started bombing

19   and attacking ISIS.         Their reaction from ISIS was of

20   course military on the ground, but was also calling

21   for attacks, mobilizing its global network of

22   supporters to carry out attacks in the countries

23   that were attacking ISIS.           The message was, they

24   attack us here, we attack them back home.

25   Q.      What is the reasoning for that?


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 1   A.     The reasoning for that is there's different

 2   strategic purposes in doing that on ISIS part.                  One

 3   is, of course, weakening the willingness, the will

 4   of individual countries in being part of the

 5   anti-ISIS coalition.          They estimated that if we

 6   attack, let's say, Spain, with terrorist attacks on

 7   Spanish ground, Spanish people will basically -- and

 8   the Spanish government will then pull out of the

 9   coalition, the coalition will be weak, and that's

10   obviously good for ISIS.

11          You can argue there's a very strong second

12   strategic objective, which is the idea of

13   polarizing, creating polarization in western

14   societies; the idea of creating a divide between

15   Muslims and the non-Muslims; the idea of creating a

16   perception of mainstream society that all Muslims

17   want to carry out attacks, which creates

18   depolarization in society which serves ultimately

19   ISIS purpose.

20          Finally I would say it's just a simple point of

21   revenge.     You attack us here, you kill us here, we

22   kill you back there.          It's provincial what you are

23   doing.     So all this -- this -- the series of attacks

24   we have seen in the West over the last five years,

25   basically, respond to these three dynamics.


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 1   Q.     How many attacks have we seen in the last --

 2   over the existence of ISIS?

 3                THE COURT:       Please ask the question again.

 4   Q.     (By Ms. Meeks)       How many attacks has the West

 5   experienced pursuant to ISIS?

 6   A.     Since the declaration of the Caliphate, since

 7   June 29, 2014, 80, 81, depends on what you count as

 8   ISIS attacks, but around 80.

 9   Q.     Would you still consider ISIS to be a threat to

10   the West?

11   A.     Yes, very much so.

12   Q.     Why is that?

13   A.     Because ISIS still exists.             It has lost its

14   territory in Syria and Iraq, but the group is still

15   there.     We have seen calls.         We have seen leadership

16   of the group emerging even in the last few days.                   We

17   know that they have networks in western countries.

18   We see occasionally terrorist attacks in the West,

19   although less than a few years ago.               We see on a

20   weekly basis arrests by law enforcement intelligence

21   agencies in all western countries.

22          The assessment, public assessments by law

23   enforcement intelligence agencies in all western

24   countries are basically the same, but ISIS is still

25   very much around.


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 1   Q.     Okay.    Let's talk a little bit now about media

 2   and the role it plays.

 3          Does ISIS use traditional or nontraditional

 4   forms of media or both?

 5   A.     It uses both.       But where ISIS has really put a

 6   lot of effort and has got a lot of good results from

 7   their point of view is the internet and social media

 8   in particular.

 9   Q.     Let's talk first about the traditional media.

10   Are there traditional media aspects to the terrorist

11   organization?

12   A.     Yes.    They publish sort of magazines, and of

13   course some of them were distributed when ISIS was

14   controlling territory, it distributed them in

15   printed form among its population.               But all those

16   materials are also published online, so you can find

17   the magazines also online.

18   Q.     What were the magazines called?

19   A.     There's plenty.        I would say the two main ones

20   are called Dabiq, D-A-B-I-Q, and Roumiya,

21   R-O-U-M-I-Y-A.

22   Q.     What kind of content would you find in those?

23   A.     The quintessential propaganda material;

24   information about the group, about its operations;

25   whether on the ground in Iraq or globally, of course


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 1   from their point of view; pieces that are more, I

 2   would say, ideological/theological.               That means

 3   inciting people to join the group, encouraging them

 4   to do so, encouraging people to carry out attacks.

 5          A lot of it, of course, is framed to the lenses

 6   of religion.       That's how ISIS sort of does.             It uses

 7   the mental of -- of religion to frame all its

 8   discourse, its narrative.           So it's informational,

 9   but obviously with that propaganda aspect, which is

10   crucial.

11   Q.     What do you see on social media?

12   A.     So ISIS has always been, from the very

13   beginning, very good at using social media,

14   disseminating its propaganda.             And I think it's fair

15   to say from both a quantitative and qualitative

16   point of view.       ISIS propaganda has been,

17   comparatively speaking, very high, very high

18   quality.     We're talking about, you know, videos that

19   really look like some of the best video games one

20   would see or music videos; very, very high quality

21   production.

22          And they then disseminate them through a

23   variety of channels and platforms, from the largest

24   ones, FaceBook, Twitter, those that most people

25   would have, to sort of fringe smaller ones, lesser


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 1   known ones.      And they have done so both directly and

 2   indirectly, meaning that ISIS had more than -- had

 3   several formal affiliated publishing houses,

 4   production companies that had their own websites and

 5   channels and Twitter accounts and FaceBook pages and

 6   so on and so forth.

 7          But on top of that, ISIS counted on probably a

 8   larger number of unaffiliated sympathizers who

 9   disseminated the propaganda broadly.                That means

10   these individuals who were not necessarily

11   underground in Syria and Iraq, they could have been

12   in far-flung places around the world, not

13   necessarily formally affiliated with the group as I

14   said, but sympathizers who took it upon themselves

15   to disseminate the propaganda on a variety of

16   platforms.

17          We are talking about on platforms like Twitter.

18   For example, hundreds of thousands of accounts that

19   the company has shut down in what is a regular cat

20   and mouse game, where they shut down accounts, then

21   ISIS supporters reopen them.            But the magnitude of

22   it is pretty impressive.

23   Q.     Is it only propaganda or is social media used

24   to communicate as well?

25   A.     Well, there are different values to social


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 1   media.     Communication, meaning spreading the

 2   propaganda.      Reaching as broad of an audience as

 3   possible is obviously the first goal for a group

 4   like ISIS, which has always tried to reach masses,

 5   tried to reach as broad of an audience as possible.

 6   Social media is the perfect place to do it.

 7          But of course there's a second aspect, which is

 8   for people who are serious about it, people who get

 9   engaged in the propaganda and want to mobilize, as

10   we said earlier, want to do something.

11   Communicating, talking one to one in more groups

12   becomes very, very important.             So ISIS would put a

13   lot of resources in doing so, both directly and

14   indirectly.

15          Directly means that it had a fairly large

16   number of people, which are fighting on the ground,

17   but at the same time communicating with supporters

18   abroad, trying to reach them, trying to encourage

19   them to join the group.

20          And indirectly meant that there what some

21   people call fanbois at the time, it's sort of a

22   diminishing term, but supporters all over the world

23   who were kind of doing the same thing, which meant

24   creating all these platforms and reaching out to

25   people and communicating with them.               The more


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 1   serious the conversation --

 2                  MR. WHALEN:     Objection to the narrative,

 3   Your Honor.

 4                  THE COURT:     Sustained.

 5   Q.     (By Ms. Meeks)        Do some of the social media

 6   platforms allow people to communicate directly from

 7   the battlefield?

 8   A.     Yes, they do.

 9   Q.     And are you familiar with an online platform

10   called Zello?

11   A.     I am.

12   Q.     Are you aware that the defendant used Zello in

13   this case to communicate with others?

14   A.     I am.

15   Q.     And are you familiar with the Zello chat or the

16   Zello channel called State of the Islamic Caliphate?

17   A.     Yes.

18   Q.     Have you had the opportunity to review the

19   transcripts of the defendant's statements on that

20   Zello channel in this case?

21   A.     I have.

22   Q.     And what were your initial reactions to those

23   transcripts?

24   A.     Well, first reaction was the size of -- you

25   know, quantitatively, a lot of information, a lot of


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 1   activity taking place on that platform.                 I would say

 2   specifically when it comes to the -- the defendant,

 3   it was pretty clear he was somebody with fairly deep

 4   knowledge and understanding of ISIS, of its jargon,

 5   of its strategy, of its priorities, of its

 6   operations.

 7          It wasn't somebody who was -- you know, we do

 8   look at a lot of people on these platforms, and

 9   clearly comparatively, this was somebody who was

10   very knowledgeable.         And that knowledge is

11   acknowledged by a lot of other people on the

12   platforms that look up to him.                I think that's also

13   a dynamic that is pretty apparent, that he puts

14   himself as somebody that is -- can impart knowledge,

15   can motivate other people, and it's clear that

16   people look up to him and ask him questions.                   He

17   does not ask questions.           He gives answers or gives

18   very long sermons, if you will.

19   Q.     And does it appear as though he would be in a

20   leadership position?

21   A.     Very much so.

22   Q.     What is the level of sophistication that you

23   normally see, and how does this compare to that?

24   A.     If we look at it in an American setting, I

25   would say this is very sophisticated; again, for the


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 1   size of it, but also for the knowledge that exists.

 2   I mean, a lot of -- I used the term fanbois earlier,

 3   because a lot of ISIS sympathizers in the U.S. are

 4   not really knowledgeable about ISIS.                They may be

 5   enthusiastic, but they don't really know much about

 6   it.    Here the conversation is very different.

 7   There's significant knowledge of, as I said, the

 8   terminology, the strategy, the mindset behind it.

 9   It's significantly more professional than the

10   average.

11   Q.     Is there an operational aspect to it that you

12   don't normally see?

13   A.     Bears repeatedly the conversation about people

14   who have mobilized from the platform; the idea of,

15   first of all, that people start talking on these

16   platforms, and several examples are mentioned

17   throughout the conversations of people who started

18   their radicalization process on the platform but

19   then mobilized, went beyond talking and traveled and

20   joined ISIS.

21          And there is, in several conversations, this

22   idea that this platform is created on purpose, to

23   enforce the adherence to ISIS ideology, but then

24   also to do something; it's not just talk, it's been

25   to travel.


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 1                MS. MEEKS:       Your Honor, with permission, I

 2   would ask that the witness and the jurors turn to

 3   their transcript books.

 4                THE COURT:       You know what?        I think it's

 5   about time to take our morning break.                It's been an

 6   hour and a half.        Let's take a 15-minute break.

 7   Please remember not to talk about the case, and we

 8   will see you back here in 15 minutes.

 9                (Jury exits courtroom; recess taken.)

10                THE COURT:       Everybody ready for the jury?

11                MS. MEEKS:       We want the Court to know that

12   at this stage we want to read in the transcripts

13   that have already been admitted into evidence.                  We

14   do not intend to play the corresponding audio.

15                THE COURT:       Okay.    All right.

16                MS. MEEKS:       I just wanted to make the

17   Court aware of that.

18                THE COURT:       All right.      Let's bring them

19   in.

20                (Jury enters courtroom.)

21                THE COURT:       Okay.    Ms. Meeks, go ahead.

22                MS. MEEKS:       Thank you, Your Honor.

23   Q.     (By Ms. Meeks)       Dr. Vidino, before we turn into

24   going through the transcript book, I wanted to

25   publish Government's Exhibit 52, which has already


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 1   been admitted into evidence for your review.

 2           Do you recognize what's marked as Government's

 3   Exhibit 52?

 4   A.      Yes.

 5   Q.      And is this a map of a portion of the Middle

 6   East?

 7   A.      That's correct.

 8   Q.      Can you just walk us through where the

 9   countries are in relation to one another?                  And show,

10   if you could for the jury, just discuss -- you had

11   mentioned something about the border from Turkey to

12   Syria.     Can you talk a little bit about that so we

13   have a visual?

14   A.      Yeah, sure.     So the top corner -- so

15   basically -- well, Syria is right in the middle.

16   The northern border is with Turkey, and that's a few

17   hundred miles.        That's really the main border

18   through which most foreign fighters who joined ISIS

19   traveled to, because it was easier to get into

20   logistically, and ISIS operated mostly in the

21   northern parts of Syria.           So there's a -- that's a

22   few towns on the border there.                There's one called

23   Gaziantep, right there.           Those are the main border

24   towns to which volunteers travel to from all over

25   the world and then made the leap into Syria and


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 1   often, you know, ISIS would have his own network of

 2   smugglers that could smuggle people across the

 3   border.     But particularly at the beginning, it

 4   wasn't that difficult to cross.                The Turkish

 5   authorities were not really patrolling the border

 6   very extensively.

 7   Q.     And where is Jordan and the West Bank in

 8   relation to Syria on the map?

 9   A.     The opposite side.         It's on the southern part.

10   You see Jordan, and next to it -- it says Israel,

11   and right up there is the West Bank.                 So the border

12   it shares is on the south.

13   Q.     And then Iraq is over to --

14   A.     Over to the west, that's correct.

15   Q.     And does this comprise the Levant for what you

16   were discussing earlier?

17   A.     Yes, absolutely.        It's the Levant -- this is

18   basically a map of the Levant.                The Levant would be

19   basically all of Syria, Lebanon, which is the

20   country that is between Syria and the Mediterranean

21   and the sea; parts of northern Jordan and basically

22   the West Bank and Israel, parts of it.

23   Q.     Okay.    Now I would turn your attention to the

24   transcript binder, Dr. Vidino, specifically

25   Transcript Number 204.          It has corresponding audio,


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 1   Government's Exhibit 203, but 204 in the transcript

 2   binders.

 3   A.      Yes.

 4   Q.      Okay.     I'm going to read through some of this,

 5   Dr. Vidino, and then I will ask what your opinions

 6   are on certain portions.           So this transcript

 7   reflects narrative by Said Rahim, the SR on the

 8   left.

 9                   THE COURT:    Can we have a date on that?

10                   MS. MEEKS:    We do, Your Honor.         This is

11   September 24th, 2016.

12                   THE COURT:    Okay.

13   Q.      (By Ms. Meeks)       "Peace be upon you so with the

14   mercy of God.        Good morning and greetings from God

15   to the supporters of the Islamic State, the

16   supporters of the Islamic Caliphate State, special

17   greetings full of the scent of er, musk, er, of the

18   martyrs and shame and dishonor to the nation of

19   infidels."

20           In your expert opinion, what does it mean when

21   they are talking about the nation of infidels and

22   martyrs in this context?

23   A.      So he's greeting those that he thinks are, you

24   know, people on the right side.               The martyrs are

25   people who die fighting jihad, martyrs of the


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 1   Islamic State, and of course to greetings full of

 2   scent, musk; shame and dishonor to the nation of

 3   infidels.      Infidels are non-Muslims.

 4   Q.     It continues:

 5          "Greetings from God to the brother supporters

 6   and greetings from God to the lions of loyalty and

 7   disavowel, the lions of monotheism."

 8          What does that mean?

 9   A.     Those are two terms that probably translated

10   into English make very little sense.                 But they are

11   two very common images used by ISIS and main

12   jihadist circles.         Loyalty and disavowel is a

13   concept that means -- again, used by ISIS, not by

14   all Muslims -- that Muslims should be loyal only to

15   other Muslims and disavow and hate all non-Muslims.

16   So a good Muslim, according to ISIS and ISIS

17   supporters would be somebody that, you know, hates

18   all non-Muslims.

19   Q.     What is the lions of monotheism?

20   A.     Again, lion is an image often used by ISIS.

21   That's, you know, of course, somebody of value.                    And

22   monotheism is, again, we discussed it earlier, the

23   concept of believing in one God but in a very

24   extreme form that ISIS adopts.                So lions of

25   monotheism would be true Muslims the way ISIS would


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 1   see them.

 2   Q.     It continues:

 3          "Greetings from God to those who pledge

 4   allegiance to the Emir of the believers, Abu-Bakr

 5   al-Baghdadi to listen and obey."

 6          What is an Emir of the believers, and again,

 7   can you remind us about Baghdadi?

 8   A.     Baghdadi is the leader of ISIS.              And in June of

 9   2014, Baghdadi declared himself to be the Caliph,

10   the leader of all Muslims.            So the Emir -- Emir

11   means the guide, the leader of the believers, of

12   Muslims.

13          Here, clearly, there's an allegiance to

14   Baghdadi and to ISIS.          The vast majority of Muslims

15   worldwide did not and do not recognize Baghdadi as

16   the leader of all Muslims.            Only an ISIS supporter

17   would do so.       So saying this clearly shows

18   allegiance to ISIS.

19   Q.     It continues:

20          "Greetings from God on the suicidal projects,

21   greetings from God to the lone wolves, greetings

22   from God to all the brothers, and greetings from God

23   to the supporters."

24          What does he mean, suicidal projects or lone

25   wolves?


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 1   A.     Those, again, are sort of categories of

 2   individuals that in a way work for ISIS, if you

 3   will, or ISIS members.          Suicidal projects

 4   interpreted to be the individuals that want to be

 5   martyrs, want to die for the cause of ISIS.

 6          The lone wolves, that's, again, a term of art.

 7   It means individuals that carry out attacks on

 8   behalf of ISIS by themselves independently, as we

 9   have seen often in terrorist attacks in the West.

10   Q.     Continuing on line 21:

11          "Greetings from God to all the families of the

12   martyrs, their parents, the children and relatives,

13   greetings from God to them."

14          What does that mean in this context?

15   A.     Again, there's the -- of course the idea of

16   martyrs, those that die fighting for ISIS, occupy a

17   special place in paradise, have a special honor.

18   And the honor that comes with the martyrdom is also

19   extended to their family, their parents, their

20   relatives.      There is this idea which is very common

21   in jihadist circles, that if you die for God, if you

22   die fighting jihad, you can intercede for your

23   relatives, and you can reserve for them a special

24   place in paradise.

25   Q.     So is it an honor, then -- would it be


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 1   considered an honor in the extremist communities if

 2   a relative had died in jihad.

 3   A.     Dying in jihad is the highest honor, again, in

 4   jihadist circles.         And if you believe, of course,

 5   that interpretation of Islam, then having a relative

 6   who has died fighting jihad is a very big honor,

 7   yes.

 8   Q.     Continuing:

 9          "Greetings from God to our mothers who brought

10   up lions and did not ... not sheep, brought up lions

11   with sharp teeth and sharp nails, to attack and tear

12   apart the enemies of the nation and the enemies of

13   Islam from the Magi, Nusayris, and the Crusaders."

14          What is the enemy of Islam from the Magi, the

15   Nusayris and the Crusaders?

16   A.     Those are three terms of art used by the

17   jihadist community to define three religious groups

18   that ISIS doesn't like and fights.               The Magi are the

19   Zoroastrian.       That's a very small religious group in

20   Syria and Iraq that ISIS has been fighting.                  The

21   Nusayris are the (phonetice) Shia, the other big

22   sect in Islam, which also ISIS has been fighting,

23   and the Crusaders are the Christians.

24   Q.     And then we skip ahead to line 8 on this page

25   2, where is says:


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 1           "I mean, we know that the martyr can also

 2   mediate for 70 of his relatives.              So wait and keep

 3   on, keep on raising these lions."

 4           Does that reference what you were talking about

 5   earlier?

 6   A.      Yes.    Yes, that's exactly what I meant.             So the

 7   martyr, somebody who dies fighting can mediate, can

 8   intercede for up to 70 of his relatives, meaning

 9   he's -- up to 70 of his relatives can have a place

10   in paradise because of his actions.

11   Q.      Now I would ask you to turn to Government's

12   Exhibit 294 in the transcript book, which has

13   corresponding audio, 293, but 294 in the transcript

14   book.

15                  MS. MEEKS:     The date of this transcript,

16   Your Honor, is June 15th, 2016.

17                  THE COURT:     Thank you.

18   Q.      (By Ms. Meeks)      Again, starting with "SR" as

19   representing Said Rahim on line 7, saying:

20           "Noted, noted; noted.         Okay, er, the ones on

21   mute should pray upon the Prophet Muhammad, may God

22   bless him and grant him peace, and appease upon

23   Abu-Bakr, 'Umar, 'Uthman and 'Ali, and upon our

24   mother, 'A'ishah, may God be pleased with her, and

25   then we will un-mute you."


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 1          What does that mean?

 2   A.     It fairly means extreme Islam salutation, I

 3   would say, because they are early followers of the

 4   Prophet Muhammad, the first companions of the

 5   Prophet Muhammad.

 6   Q.     Go down to line 23 on page 1, where a "UM",

 7   which is cited as an unknown male says:

 8          "Upon our master 'Umar.          Sheikh, er, I swear I

 9   do not know, I do not know.            I mean I read, so I

10   want to learn from you."

11          What does that imply to you, and what does the

12   word "Sheikh" mean?

13   A.     Sheikh is a title that is given to somebody who

14   is particularly knowledgeable and wise.                It's an

15   honorific title.        So to refer to somebody as Sheikh,

16   particularly in a religious context, means somebody

17   that has, you know, important knowledge about

18   religion.      And the fact that this individual says,

19   "I want to learn from you," that tells me that he's

20   clearly looking up to the defendant as somebody who

21   has important knowledge and from which he can learn.

22   Q.     It continues on, then, with the defendant

23   stating:

24          "All right, then, stay on mute to learn, that's

25   better; stay on mute so you can learn how to listen


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 1   to the brothers, to the scholars and learn and then

 2   we will look into your position."

 3          To which the UM states:

 4          "May God bless you, fine, Sheikh."

 5          What does that tell you?

 6   A.     That this could be a subordinate position that

 7   this individual is taking in relation to the

 8   defendant.      The defendant is clearly telling him

 9   that this person being less knowledgeable about

10   religion and about ISIS in general should just not

11   speak and learn, and the other person clearly

12   accepts that and calls him Sheikh, which, again, is

13   a title that you would give to somebody who is very

14   knowledgeable.

15   Q.     Now I would like to turn your attention to

16   Government's Exhibit 208, corresponding audio 207.

17   But 208 in the transcript binder.

18          On 208, I will actually turn to page 2,

19   starting at line 2.

20                MS. MEEKS:       And the date on this, Your

21   Honor, is September 24, 2016.

22                THE COURT:       Okay.    The participants are,

23   again, the defendant and a user by the user name

24   aaaa100.

25          So aa states on line 2:


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 1          "May God reward you, my brother, I am listening

 2   to your wonderful talking, God bless you."

 3          To which the defendant replies:

 4          "May God bless you, may God reward you with

 5   goodness.      We ask God that these words I mean will

 6   enter your hearts and be beneficial, by the will of

 7   God, that these words will be beneficial, may God

 8   bless you.

 9          "As we said, we, by the favor of God, glorified

10   and exalted be He, er, are supporters and by the

11   will of God, to be suicidal projects and jihadists

12   for the cause of God, when I mean God facilitates

13   the way for us.        I mean be acknowledged my dear

14   brothers, do not lightly -- do not take lightly

15   these channels; do not take lightly these channels

16   and/or the programs that support the Islamic

17   Caliphate, whether on Zello, Paltalk, or Twitter or

18   other communication means."

19          What does this reference to you?              What does

20   this mean to you?

21   A.     The first individual who is thanking the

22   defendant for his speeches, his wonderful talking.

23   And what the defendant is saying, particularly in

24   the second paragraph, is that everything that

25   happens on this channels -- and he's referencing


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 1   Zello, but also Paltalk, which is another platform

 2   that is very common among jihadists, or Twitter.

 3           The conversations there are very important to

 4   basically create members of the Islamic State, to

 5   create individuals who become members of the Islamic

 6   State.     When he says, "to be suicidal projects and

 7   jihadists for the cause of God," meaning do not take

 8   lightly what happens on these platforms, which is

 9   not just talk, it is the talk that then brings to

10   action.

11   Q.      Does this reflect the importance of social

12   media, as you were mentioning earlier?

13   A.      I'm sorry?

14   Q.      Does this reflect the importance of social

15   media used by ISIS, as you were mentioning earlier?

16   A.      Yes, absolutely.       This is, again, what ISIS,

17   itself, says constantly, that it's crucially

18   important to have a presence on social media to

19   create followers, to attract people, and to have

20   sympathizers graduate to the next level, which means

21   joining ISIS or carrying out attacks on behalf of

22   ISIS.

23   Q.      Continue on line 21, again the defendant:

24           "So praise be to God, the Lord of the Two

25   Worlds, how many brothers mobilized, how many


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 1   brothers mobilized with the grace of God, glorified

 2   and exalted be He, after they heard the words of the

 3   sheikhs of jihad! By God they mobilized..."

 4          What is a sheikh of jihad?

 5   A.     Sheikh of jihad would be the knowledgeable

 6   individuals who know about jihad.                Of course,

 7   according to the defendant's interpretation of

 8   those -- of who would be those, of course.

 9   Q.     Okay.    And continuing on:

10          "I mean brothers; they used to say, 'What-what

11   is this?'      I mean in the beginning they used to say:

12   'What-what is this? This is not doing me any good,

13   it is just empty talk, empty words.                They just talk

14   and don't do-they do nothing.'                But, when you see

15   the honesty of those who talk about loyalty and

16   disavowel, about loving for the sake of God and hate

17   for the sake of God, you see these truthful mouths

18   which speak of what God and the messengers said.

19   You see the truthfulness, and you know that these

20   individuals are truthful, and of course God is

21   sufficient unto them."

22          Does this represent sort of a growth or a

23   change or an evolution to you in the social media

24   platform?

25   A.     Yeah, because it just shows that the defendant


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 1   is following exactly, taken a page from ISIS book,

 2   sees the importance of social media, that this is

 3   just not empty talk.          This is the way to radicalize,

 4   recruit, and mobilize individuals.

 5          The idea that individuals who, according, of

 6   course, to the defendant's interpretation, have

 7   honesty or are honest about their desire to please

 8   God, true social media can do something.                 That is

 9   the gist of it.

10   Q.     So it continues on line 13:

11          "So you hear them talking, but many of the

12   brothers mobilized for the cause of God, glorified

13   and exalted be He, and I am honored to be in this

14   channel; some of the brothers who mobilized, and

15   they are martyrs, we consider them alive in the

16   presence of their God; martyrs.               They are martyrs.

17   They were in this channel, in this channel."

18          When he says, "they are martyrs, but we

19   consider them alive in the presence of God," what

20   does that mean?

21   A.     According to the belief a martyr doesn't really

22   die, dies in this world, but is still alive and very

23   much occupying a place of honor next to God.

24          What he is saying is these martyrs who started

25   their trajectory, their process on these channels,


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 1   they went on, they died in battle, but they occupy

 2   this place of honor next to God.                And they were in

 3   this channel, in this channel.                So it really makes

 4   the point that its true channel -- to this specific

 5   channel and channels like this, that people join

 6   groups like ISIS and may achieve what is the highest

 7   honor, which is dying for God.

 8   Q.     Continuing on line 22, again the defendant here

 9   saying:

10          "They would listen, listen, answer the doubts

11   and defend the Caliphate State, but they detested

12   themselves when they remained as speakers and feared

13   on themselves as hypocrisy, as one of the brothers

14   told me, we ask God to protect him, he is now

15   jihadist with the Islamic Caliphate State.                  I do not

16   want to-I do not want to mention his name for fear

17   of hypocrisy, but he is one of the jihadists and was

18   on this channel.        We used to communicate.            I would

19   talk to him, and used to tell me he did not want to

20   be one of the hypocrites that God talked about O ye

21   who believe!"

22          What is he referring to here in terms of a

23   hypocrite?

24   A.     Hypocrite has a specific meaning, the original

25   word in Arabic.        The value of it is, those who claim


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 1   to be Muslim but are not really Muslims because they

 2   don't act according to the tenets of Islam.                  This

 3   concept of hypocrisy, which groups like ISIS would

 4   use, which basically entails that only those who

 5   that really act as Muslims -- and according to ISIS,

 6   that would mean fight jihad -- are real Muslims.

 7          So what the defendant here is saying is that

 8   there are other people that are on this channel,

 9   including one specific individual, who are -- this

10   fear of hypocrisy.         So they fear that they're just

11   all talk and they are not really doing anything,

12   they are not really acting to further God's will.

13          But through those channels, it says, you know,

14   we used to communicate, I would talk to him and then

15   he mobilized and then joined ISIS.               So he is no

16   longer a hypocrite because he, you know, acted.

17   Q.     Sure.    It goes on, starting on line 18, to say:

18          "Yes, this is what he wanted; so God

19   facilitated for him so he went to the land of the

20   Caliphate, and he is now a soldier among the

21   soldiers of the Islamic Caliphate State.                 Glory be

22   to the Almighty God."

23          Continues on line 24:

24          "I swear, I am embarrassed to speak with him.

25   By God, I am embarrassed.           What am I going to say to


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 1   him?    I swear by God, what would I say?              What would

 2   I say to him?       That is it; he is now doing, doing,

 3   doing and not speaking much.            He used to speak on

 4   this channel, but when he mobilized, that was it.

 5   His actions beat his words, and now his actions

 6   still beat his words.          What should I say about

 7   myself, and what would you say about yourself?                  What

 8   do I say about myself?          I judge myself:        Am I a

 9   hypocrite, am I one of those where God assigned unto

10   my heart to be amongst those who lag behind?                  Does

11   God hate my going?         We perceive that I am not that

12   ... that I am not that, and neither would you be.

13   We perceive that God, I mean, will facilitate the

14   time God, glorified and exalted be He, sees

15   appropriate for you to say to you; mobilize and

16   fight for my cause and be supporters of God."

17          What does it mean to you here when he's talking

18   about not being a hypocrite?

19   A.     He's mobilizing, means moving from talk to

20   action.     What he's saying is that he used to talk to

21   one person and had these long conversations, and

22   this person put his money where his mouth is; he

23   actually mobilized and did something.

24          And what he's then saying -- and this is, I

25   would say, quite standard recruitment incitement


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 1   technique, in a sense that he's acting in sort of

 2   modesty, where he's saying, I'm not worth it.                  I'm

 3   not as good as these other brothers who mobilized.

 4   I'm all talk.       And how about you?          Why are we all

 5   talk and we're basically hypocrites because we're

 6   not acting.

 7           So as much as he acknowledges the importance of

 8   the platforms, the platforms are propaedeutic; they

 9   are the first step of what is really important,

10   which is mobilization.

11   Q.      What about the lines, "I mean, God will

12   facilitate the time" -- it says, "I mean, will

13   facilitate the time God."           What does that mean to

14   you?

15   A.      Well, obviously, everything is perceived to be

16   in God's hands, and it's God that will dictate the

17   right time for when people mobilize.                But of course

18   there's a balance between what God decides, but also

19   it's up to the individual to make the decision.

20   Q.      And I point you, then, to line 25 on the same

21   page.     Again, the defendant:

22           "Some are businessmen.         I mean, there was one

23   whose social status was great, glory be to God,

24   excellent, had everything from the world's goods;

25   money, wife, and has the offspring, he had


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 1   everything, and a profitable business, he had

 2   everything.      He could have said, that's it, I will

 3   help the orphans and build mosques."

 4          And then it skips a couple of lines, saying he

 5   went to mobilize.

 6          What is the importance of leaving behind sort

 7   of what he was referring to as everything, a

 8   business, wife, worldly goods?

 9   A.     Yeah.    There's this deep belief in sort of the

10   jihadist community that worldly possessions and

11   even, you know, family life and everything,

12   everything is less important than fighting jihad.

13   There is nothing in this world that is as important

14   as fighting for God and dying for God.                So the

15   brother should leave behind whatever their life is,

16   even if it's successful and happy and they have a

17   good business, a good family life, that should be

18   left behind to fight jihad.            That's a very common

19   belief.

20   Q.     I will point you, then, to line 14 where it

21   continues:

22          "Yes, honorable brothers, we incite you to go,

23   especially those who are near the areas of the

24   Islamic State.       I am thousands of miles away from

25   the Islamic State.         But, those brothers who are


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 1   close to the areas, to the areas by the Caliphate,

 2   the authority of the Caliphate, we incite and plead

 3   with you to mobilize for the sake of the God,

 4   glorified and exalted be He."

 5          What kind of impact does this have?

 6   A.     I would say this is quite, quite powerful.                  It

 7   comes at the end of the whole speech, where

 8   basically calls hypocrites, which is a big insult in

 9   sort of jihadist culture, for not doing, not acting

10   and just being all talk, and here it's sort of the

11   conclusion of that speech.            It's very rhetorical, if

12   you will, which is, we openly incite you, join the

13   Caliphate.      It's your duty.        Leave behind your

14   worldly possessions.          Don't be a hypocrite, because

15   that's a major sin in Islam.            Go and join ISIS.

16   That's pretty straightforward.

17   Q.     Now, I turn to you Government's Exhibit 136

18   with corresponding audio, 135.

19          And the date on this -- 136?

20   A.     Yes.

21   Q.     And the date on this is May 3rd, 2016.                And

22   this is an unknown male.           States:

23          "Brother this channel is not for fatwas.                This

24   channel is to communicate with the Islamic State."

25          What is a fatwa again?


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 1   A.     Fatwa is a religious decree.

 2   Q.     And does it mean to you, "This channel is to

 3   communicate with the Islamic State," does that have

 4   any significance to you?

 5   A.     I would interpret this as saying this channel

 6   is not for deep and long-winded theological debates,

 7   it's to actually talk to the Islamic State.

 8   Q.     And I will now ask that you turn to

 9   Government's Exhibit 132 -- 132, with corresponding

10   audio, 131.

11                MS. MEEKS:       The date on this, Your Honor,

12   is October 21st, 2016.

13                THE COURT:       All right.

14                MS. MEEKS:       And the participant is

15   Ibn Dawla.

16   Q.     (By Ms. Meeks)       For this I just point you to

17   line 15, where he says:

18          "As for those who want to create discord, we

19   tell them this is the wrong channel.                We do know one

20   another, right or not?          We know each other well.           So

21   take the mic and tell me why did you enter this

22   channel?     Did you go on this channel for the subject

23   specifically or for something else?               I mean, the

24   subject you entered for must be more important than

25   to talk about this subject.            Go ahead and take the


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 1   mic."

 2           What does this mean, especially about discord?

 3   A.      Discord, I assume it's, again, an Arabic

 4   concept with the fitna, F-I-T-N-A, which is

 5   basically lack of consensus, sort of chaos.                  And the

 6   idea here is, this is not a channel to question

 7   ISIS, this is not a channel to have conversations

 8   about its merits, this is for supporters.                 So we are

 9   not here to discuss the pros and cons of it.                  We are

10   supporters, basically.

11   Q.      So in what ways, based on what you have seen in

12   the transcripts, would this channel be a benefit to

13   ISIS?

14   A.      On many levels I would say.           It reinforces the

15   belief -- I mean, people here tend to be already

16   supporters.      This is not a channel for people who

17   are remotely interested, have some curiosity for the

18   group.     This is for people who are to -- supporters

19   of the group already.          It can be more or less

20   enmeshed in it, but for people who have a fairly

21   high degree of belief in the group's message.

22           It helps reinforce it.         It helps these

23   individuals feel like they belong to a community

24   that could work for any kind of online chat, but

25   obviously on any topic.           And additionally, it gives


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 1   them access to people who are part of the Islamic

 2   State, who are physically part of it.                It allows

 3   them to communicate with individuals who can

 4   facilitate their recruitment by the group.                 That's

 5   the two bonuses that come with it.

 6   Q.     Now I request that you turn to Government's

 7   Exhibit 140, the corresponding audio of 139.

 8          140, and the date on this September 19, 2016.

 9   The participant is Said Rahim.

10          And actually specifically turn to page 2, and

11   starting on line 20:

12          "Lately, I mean, two knights ascended and

13   disembarked, two leaders, matchless leaders, great

14   leaders, leaders of Loyalty and Disavowel,

15   al-Shishani and al-'Adnani.            We ask God to accept

16   them both, both of them.           They faced their death,

17   one of them in the battles of Sharqat, God knows,

18   and the second in Aleppo as he was checking on his

19   soldiers.      We are talking about al-'Adnani in a raid

20   by the Cross, so praise be to God."

21          What is he talking about here with al-Shishani

22   and al-'Adnani?

23   A.     He's talking about two of the most prominent

24   leaders of ISIS who were killed, both of them.                   So

25   he's praising them highly and discussing their


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 1   martyrdom.

 2   Q.     What was their significance with ISIS?

 3   A.     'Adnani was de facto number two of ISIS and the

 4   main spokesperson, the one who ran external

 5   operations for ISIS and the one who called for

 6   attacks in the West.          That was one of his main

 7   roles.

 8          Shishani was arguably the best commander on the

 9   ground; was a foreign fighter, was of Chechen

10   background and was a very skilled commander and

11   managed to become sort of a hero for ISIS supporters

12   worldwide because of his skills and courage on the

13   battlefield.

14   Q.     Turn to page -- same exhibit, Government's

15   Exhibit 140, but page 4 towards the bottom of the

16   page, line 25:

17          "Attack them; disperse them, for this is the

18   chance!     There you see the infidel unite against us,

19   so come on, unite and support one another to fight

20   these.     Come on and let us be one hand.             Come on,

21   let us fulfill the conditions of faith, complete the

22   requirements of fate and jihad for the cause of God.

23   We ask God, glorified and exalted be He, to open

24   your hearts and that you mobilize to the land of the

25   Islamic State.       Or, if you are in infidel countries,


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 1   that you become a lone wolf, a real lion in the area

 2   you live.      As our sheikh al-'Adnani said, kill and

 3   do not consult anyone and do not seek anyone's

 4   fatwa.     Yes, descend on the armies of the cross and

 5   kill them, because the origin about the infidel's

 6   blood is that it is to be shed and it is

 7   permissible."

 8          What is he referencing here as, "our sheikh,

 9   al-'Adnani said"?

10   A.     It is a famous speech that 'Adnani, who is the

11   spokesperson of ISIS gave in September 2014 where it

12   called for attacks, and it was the first of a long

13   series of speeches where it called for attacks on

14   infidels, on non-Muslims, Christians in particular.

15          And the idea is that what 'Adnani stated and

16   what the defendant is repeating here is that there's

17   no need for fatwas, for religious decrees.                  There's

18   no need for sophisticated mechanisms behind it, just

19   go and kill.       Kill them wherever they are with

20   whatever tools you have.            And what it says there

21   is -- it's at the very beginning of page 5:                    "Let us

22   fulfill the conditions of faith, complete the

23   requirements of faith," meaning that it's a

24   God-mandated duty.         In order to be a true Muslim, a

25   good Muslim, you have to kill infidels.                 It's


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 1   mandated.

 2   Q.     And he mentions the lone wolf in regards to

 3   'Adnani as well.

 4          Explain to us how 'Adnani's speech opened up

 5   the recruitment tool for ISIS?

 6                 THE COURT:      How whose speech?

 7                 MS. MEEKS:      'Adnani, Your Honor.

 8   A.     The way -- ISIS was always, from the beginning,

 9   before 2014, fairly open in the way that it accepted

10   new members compared to other groups.                 But

11   particularly after the speech that 'Adnani gave, the

12   bar was set even lower, meaning that the message

13   that 'Adnani put out is that anybody who carries out

14   an attack on behalf of ISIS is basically an ISIS

15   member.      Even if that person has never traveled to

16   Syria and Iraq, has never met an ISIS member, never

17   interacted with an ISIS member, if in his heart he

18   wants to be an ISIS member and if his actions

19   reflect that, he kills infidels, basically he's a

20   member of ISIS.        That has been the model of many of

21   the attacks we have seen in the West.                 So

22   individuals who have no formal affiliation

23   whatsoever to ISIS carry out the attack as a lone

24   wolf -- that's a term that is often used --

25   independently, complete operational independence.


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 1   But ISIS, posthumously, after the fact, accepts them

 2   as members, as soldiers of ISIS.               So ISIS would put

 3   out a press release saying, the soldier of the

 4   Caliphate -- meaning the ISIS member -- so-and-so

 5   carried out the glorious operation, so on and so

 6   forth.

 7          So in a way, ISIS members should become

 8   something very open.          The bar, as I said, is set

 9   very low.      Anybody that acts to further ISIS's

10   agenda is a member of ISIS.

11   Q.     Now, if you could turn to Government's Exhibit

12   172, corresponding audio 171.             172, the date is

13   September 22nd, 2016.          The participants are the

14   defendant, Said Rahim, Ibn-Dawla, and then another

15   person with the moniker, Abo-Malek1992.

16          I would ask you to turn to page 2, if I could

17   direct you to turn to page 2 of that exhibit, line

18   13, starting with the ID, Ibn-Dawla, saying:

19          "You lost the mic brother Angousha.               You told

20   the truth had this -- I mean, had this religion not

21   been an ideology, it would have been that when the

22   Prophet, God's peace and blessings be upon him,

23   died, Islam would have ended.             But Islam is an

24   ideology, and it is not related to persons, but,

25   glorified and sublime be God, it relates to God


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 1   Glorified and Sublime be He.             Go on, continue, you

 2   lost the mic."

 3           In terms of this discussion about an ideology,

 4   why is that important?

 5   A.      What he's saying is that even those certain

 6   members of ISIS died, specifically 'Adnani, the

 7   message is still there, the ideology is still there.

 8   Everybody should pick up what -- what jihadists

 9   would call the banner of jihad and fight.                  So it's

10   not about affiliation, not about specific

11   individuals, it's about an ideology that anybody

12   anywhere can adopt.

13   Q.      And it continues on line 22 with Defendant Said

14   Rahim:

15           "May God bless you, God bless you.              Our

16   brothers, may God bless you and reward you with

17   goodness for listening.           May God bless you all.           We

18   do not deny that we love al-'Adnani.                We love this

19   lion.     We always waited for his words, but I mean do

20   we start with this martyrdom?             No!     No, I swear by

21   God."

22           Does the defendant frequently discuss

23   al-'Adnani in these transcripts?

24   A.      Yes, very frequently.

25   Q.      And does this -- is this also -- would you


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 1   describe -- does it relate to an importance of

 2   carrying on -- you had mentioned that ISIS was

 3   losing territory at some point.                Does this help

 4   support ISIS being relevant even without territory?

 5   A.     Yes, that is exactly the strategy behind ISIS

 6   in 2015, 2016, as they start to go on the decline.

 7   The idea is that anybody can pick up the banner and

 8   fight.     Take the fight to the enemy.             It doesn't

 9   need to be in a structured way, but anybody can do

10   it.    And again, if people die, first of all it's a

11   big honor to die in jihad.            But the message goes on,

12   the mindset goes on, and the ideology goes on.                   So

13   it's not dependent on a specific individual.

14   Q.     Now, I turn you to page 3, please, line 15.

15   Again, the defendant:

16          "This one, understand it:              This man is going to

17   his death, done, so how do you stop him.                 This one

18   you cannot stop him unless you kill him.                 But Glory

19   be to God.       God facilitates and respites to these

20   Inghimasi fighters so that they storm and leap over

21   those wicked hyenas and kill them.                I, one of the

22   brothers told me Abu-al-Faruq, of course,

23   Abu-al-Faruq, the channel's Admin, he sent me some

24   pictures and sent some to the channel."

25          What is an Inghimasi fighter?


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 1   A.      Inghimasi fighter is somebody who goes to a

 2   mission -- on a mission to kill as many enemies as

 3   possible, and it's a mission that is clearly going

 4   to lead to his death.          So it's not like a suicide

 5   bomber where death is immediate, but it's basically

 6   the next thing, somebody goes, let's say, with a

 7   weapon, kills as many people as possible, but it's

 8   clear that the outcome is going to be death.

 9   Q.      Can you now turn to Government's Exhibit 222,

10   with corresponding audio 221.

11           The date on 222, is May 31, 2016.              The

12   participants are Said Rahim and three unknown males.

13   Starting on line 9 with Unknown Male:

14           "Oh, Islam, we are all willing to sacrifice for

15   you."

16           Unknown Male 1 continues:

17           "Peace be upon you so with the mercy and

18   blessings of God.         Brothers:      What...what is the

19   legality of jihad in the land of the Caliphate

20   State?     May God reward you."

21           What is -- Dr. Vidino, what does it mean,

22   "legality of jihad"?

23   A.      The concept "legal" is very important.

24   Everything that ISIS does has to be approved by --

25   under Shari'a, under, of course, their own


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 1   interpretation of Shari'a, which is fringe.                  But

 2   they have their own jurisprudence on a lot of terms,

 3   on the concept of jihad.            When is it legal to fight

 4   jihad?     When can you attack the enemy?              When can you

 5   kill the enemy?        Who is the enemy, and all these

 6   things.

 7          So somebody is asking, what are the legal

 8   parameters of fighting jihad.             It's a very normal

 9   question.      But people who are sympathizers of a

10   group and not necessarily extremely knowledgeable

11   about it ask whether their behavior is compatible

12   with Islamic law.

13   Q.     And then on line 15, the defendant responds:

14          "You said in the land of the Caliphate.                 It is

15   a land where the Shari'a of glorified and exalted

16   God rules.       It is a land hounded by all nations of

17   disbelief and all the powers of polytheism,

18   atheists, seculars, Jews, and Christians to try to

19   break this religion.          Yes, this is what the Caliph

20   and the official spokesman said, he mobilized

21   people.      This is what the soldiers of the Caliphate

22   State say when we talk to them, that they mobilize

23   people, not for a small number, but to attain this

24   honor.     This honor is not attained except by those

25   whom God wills to honor and bless them with:                   To


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 1   become a jihadist with God."

 2          There's a lot there, but can you explain what

 3   this means, "the nations of disbelief and all the

 4   powers of polytheism, atheists, seculars, Jews, and

 5   Christians"?

 6   A.     It encapsulates ISIS worldview, which is only

 7   ISIS members and supporters are true Muslims, and

 8   they are building the real Islamic society, the real

 9   Islamic State ruled by Shari'a, by Islamic law.                    So

10   there is this sort of giant conspiracy against them,

11   and these are some of the enemies that they see.                    So

12   polytheism, which we discussed earlier; atheists,

13   which don't believe in God; seculars; Jews;

14   Christians; everybody that, according to their

15   worldview, tries to attack true Islam and attack the

16   Caliphate.

17   Q.     Continuing on the second page, line 1,

18   continuing with the defendant's statement:

19          "Jihad is an individual duty, it, jihad is now

20   an individual duty, a duty, a mandate to defend or

21   to raise the banner of 'There is no other God but

22   Allah, the One and Only.'            This is not just in the

23   Caliphate land, but in every place where an

24   unbelieving atheist exists, jihad is a duty.                   In any

25   area where Christians exist, they are legal targets,


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 1   or a Jew or atheist, or crusader, or where a

 2   Christian missionary preacher is, not a missionary,

 3   but someone who converts people to Christianity.

 4   All those are legal targets of the Islamic Caliphate

 5   State."

 6          What is the importance of specifying a legal

 7   target?

 8   A.     Again, everything that ISIS does, from the

 9   tiniest thing to biggest thing, which is killing

10   people, has to be justified under Islamic law.

11   That's how the group operates.                Because they claim

12   to hold Islam in its highest esteem, and everything

13   needs to be done according to the parameters of

14   Islamic law.

15          So what the defendant here is doing is de facto

16   issuing a religious degree, a fatwa, where he is

17   saying what is legal and what is not legal.                  You

18   have other people on the chat room, on the channel,

19   asking him for an opinion, and he's basically saying

20   these are the legal targets, this is what is legal,

21   this is what is not legal.

22   Q.     Continuing on line 13 with the Unknown Male 1:

23          "May God reward you with all goodness to your

24   brother.      Brother, I have another question:              What is

25   the legality of pledging allegiance to the Emir of


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 1   Believers in the land of the Caliphate, is it an

 2   individual or collective duty?"

 3          To which the defendant responds:

 4          "But there is an Emir of Believers, and the

 5   pledge to him is a must, and the pledge is

 6   obligatory to the Emir of the Believers.                 Pledge, I

 7   do not know where you are.            And if you can immigrate

 8   to that land, then go, immigrate and pledge.                   Er,

 9   the brothers beat you from Caucasia and crossed

10   thousands of miles, and now they are in the land of

11   the Caliphate.        So I mean, pledge, because the

12   pledge is obligatory."

13          What is the legality of this pledge they are

14   discussing?

15   A.     Again, exactly like he did for jihad earlier,

16   he's issuing a decree, saying what is legal, what

17   is -- and by "legal," we mean permissible under

18   Islam or, more specifically, what is obligatory

19   under Islam.       What he's saying is that giving the --

20   pledging allegiance to Baghdadi, to the head of

21   ISIS, to the Caliph, is something obligatory at the

22   individual level; that every Muslim should be

23   pledging allegiance to the head of ISIS.

24   Q.     And is that what Emir of the Believers

25   represents?


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 1   A.     Emir of the Believers means -- Emir means head,

 2   chief of the believers of the Muslims.                 And again,

 3   from an ISIS supporter's point of view, that means

 4   the head of ISIS who calls himself the Caliph;

 5   nobody else does.

 6   Q.     Does this type of legal advice further the ISIS

 7   mission?

 8   A.     Very much so, because it legitimizes what the

 9   group does.

10   Q.     Can I direct you now to Government's Exhibit

11   214, with corresponding audio 213.                The date on

12   Government's Exhibit 214 is October 7th, 2016.                   The

13   participants are Said Rahim, a user by the name of

14   Abdul zuuuuz and an unknown male.

15          Starting on line 8 with the user AZ:

16          "May God reward you with goodness, may God

17   reward with you goodness.            May God reward you, God

18   willing, glorified and sublime be He.                 But, sheikh,

19   you, it is true, I mean, for the sake of the woman

20   and two kids.        I hope to conquer this thing, and

21   I...willpower, I must have an excess of willpower.

22   By God, the times I watch the video and chants

23   thrills me and instigates me more to wage jihad.                    I

24   swear by God and by God's will, I beseech God, that

25   my destiny be in those lands there."


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 1          Is this -- what is he talking about?                What is

 2   the importance of videos and propaganda?                 And how do

 3   you see that reflected here?

 4   A.     Textbook example of the power of propaganda.

 5   This is somebody who -- well, first of all,

 6   referring to the defendant as "sheikh," the honorary

 7   title who you give to somebody whose wisdom you

 8   trust, clearly says that the ISIS propaganda, he's

 9   been watching the videos, the chants, they instigate

10   me, they push me, they motivate me.                And clearly

11   this is somebody who was a consumer of propaganda

12   and bad propaganda is pushing him to mobilize and

13   wage jihad and move him from talk to action.

14   Q.     I will ask you to turn on the same exhibit to

15   page 4.      So Government's Exhibit 214, page 4,

16   starting on line 9.          This is the defendant speaking:

17          "All right.       What is the text of the pledge?

18   The text is:       'We pledge allegiance to the Emir of

19   Believers, Abu-Bakr al-Baghdadi, to hear and obey,

20   in times of difficulty and comfort, in hardship and

21   ease, and to endure being discriminated against, and

22   not to dispute about rule with those in power,

23   except in the case of clear signs of disbelief,

24   which there is a proof about it from Allah.'"

25          What is this pledge here?              What does that mean


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 1   to you?

 2   A.     This is one of the ways in which one pledges

 3   allegiance to ISIS.

 4   Q.     Is it also known as Ba'yat?

 5   A.     Ba'yat, yeah, in Arabic.

 6   Q.     Can I ask you to turn to Government's Exhibit

 7   128.

 8          128 is dated April 23rd, 2016, and the

 9   participants are Ibn Dawla and an unknown male.                    In

10   this case, the unknown male is asking on line 7:

11          "Peace be upon you brothers.             I have a friend

12   who is present in European countries, and he wants

13   to pledge allegiance to the Islamic State.                  What is

14   the first thing that needs to be done?                 Peace be

15   unto you brothers; may I ask a question?                 Honorable

16   brother, by God, I have a friend present in Europe,

17   and he wants to pledge allegiance to the Islamic

18   State.     Can he pledge allegiance while he is in the

19   countries of Europe or when he comes or goes down to

20   Syria."

21          And then I would just skip ahead slightly to

22   page 2, if you could follow on line 11.                 And this is

23   the other unknown male -- or the unknown male,

24   rather:

25          "Dear brother, in about two or three months,


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 1   God willing, he will immigrate to Syria.                 But now

 2   the opportunity is not -- or the opportunity is not

 3   available now.        He wants to pledge allegiance.             So

 4   can he now, while in the European countries, to

 5   pledge allegiance or not?"

 6          Ibn Dawla responds:

 7          "Abu-Bakr, forgive me, by God, I did not meant

 8   to.    Take over, take over."

 9          The unknown male says:           "Don't worry, honorable

10   brother, don't worry.          No problem, God willing, no

11   problem."

12          Then Ibn Dawla continues:

13          "As I told you brother, he can pledge

14   allegiance, he can pledge allegiance brother.                   We

15   all pledged, even though some of us are not in

16   Muslim countries.         Pledge allegiance brother; tell

17   him to pledge allegiance and may God accept this

18   from him."

19          Why is this important to be discussing why

20   people are in Muslim countries to pledge allegiance?

21   A.     Well, again, the idea is that -- the

22   conversation here is, how do you pledge allegiance

23   to the Islamic State, and can you do so even if you

24   are living very far away, in European countries and

25   Western countries and so on.             And Ibn Dawla is sort


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 1   of giving explanation to the person who is asking

 2   those questions, saying that is not a problem, it

 3   can be done in any place.            You can pledge allegiance

 4   where you are.

 5   Q.      Next page, page 3, starting on line 4 --

 6   actually starting on line one with the unknown male:

 7           "Okay.    So what is the thing he must do after

 8   he pledges allegiance, or before he pledges

 9   allegiance now?"

10           To which Ibn Dawla replies:

11           "Brother Abu-Qatadah, seems you did not

12   understand the brother.           I mean, to begin with, he

13   has to know why he is pledging allegiance.                  If he

14   pledges allegiance, then it has to be to listen and

15   obey.     If they say strike, then he strikes.               If they

16   say come, he comes.          And if they say do that, he

17   does.     Because you pledge to listen and obey, you

18   pledge unto death, and fighting for the cause of God

19   wherever you are."

20           Now, what is the importance of what he is

21   saying here?

22   A.      It tells the -- his interlocutor what the

23   consequences of pledging allegiance is, the

24   importance of it, and that basically once you pledge

25   allegiance, you blindly obey to the group.


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 1   Q.      This is different from the statement that was

 2   given earlier -- or that we read last time with an

 3   actual pledge of certain words.

 4           In your experience, is there more than one way

 5   to pledge allegiance or to pledge Ba'yat?

 6   A.      Yes, very much so.

 7   Q.      And what do you find to be the most common

 8   theme in them?

 9   A.      There's almost an individualized way of

10   pledging allegiance.          We often see, for example,

11   when individuals carry out attacks, and then they

12   release a video that they have taken.                 They are a

13   very almost a personal individualized way of

14   pledging allegiance, because obviously you declare

15   your full faith and obedience in the Baghdadi, the

16   head of ISIS, but there are different wordings being

17   used.

18   Q.      Can there be formal or informal process to it?

19   A.      Yes.

20   Q.      And is it necessary to pledge allegiance in

21   order to be a member of ISIS?

22   A.      I would say there's this two-tier system, where

23   there's a formal way in which you pledge allegiance

24   and so on and so forth.           But as we said earlier,

25   actions matter more than words.               So if you do


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 1   something on behalf of ISIS and clearly state that

 2   that is to further ISIS agenda, the formalities of

 3   pledging become secondary.

 4   Q.     Is there any typical age that you see of people

 5   who would either pledge or who would consider

 6   themselves members of ISIS?

 7   A.     Generally people in -- I mean, there's all

 8   kinds of groups.         There's people in their early

 9   teens, if not actually preteen, and people in their

10   50s and 60s are sort of the outliers.                 I would say

11   the majority are in their early- to mid-20s.

12   Q.     Let me direct you now to Government's Exhibit

13   190, with corresponding audio, 189.

14          Government's Exhibit 190 is dated December 16,

15   2016, with a participant Rami Rhal and a participant

16   Said Rahim, the defendant.

17          Starting on line 7, the defendant is saying:

18          "Okay, greetings and may God bless you my

19   brother, may God bless you.             By God, I mean you can

20   my dear brother...God's greetings and we thank, I

21   mean for the kind words.            We do not look at your

22   age, may God bless you, whether you are eight years

23   old or four years or ten years; it does not matter,

24   rather what your creed down deep in your heart is,

25   the creed of al-Wala' wal-Bara'."


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 1           First, what does he appear to be talking about

 2   here?

 3   A.      He's talking to somebody that seems to be of a

 4   very young age.        And what he's saying -- and I think

 5   it's interesting that it says, "We do not look,"

 6   which he does often, which shows he clearly

 7   identifies with ISIS.          We do not look at your age,

 8   we do not look at your background, how young you

 9   are, which is pretty much how ISIS has acted.                   ISIS

10   has accepted very, very -- some ISIS propaganda

11   videos show children who must be nine, ten, who are

12   fighting for the group.

13   Q.      And do you know what the creed of al-Wala'

14   wal-Bara' means?

15   A.      That is the expression we have used before but

16   not translated, which is loyalty and disavowel.                    It

17   is a doctrine that states that all loyalty should be

18   to Muslims and to non-Muslims, one should have only

19   hatred and disavowel.          So we used it before, it's

20   used very often, just in most other transcripts it

21   was translated into English, but it was originally

22   in Arabic.

23   Q.      Continuing on line 15, again, the defendant:

24           "Meaning, may God bless you, you can now, I

25   mean according to the area, to attack, I mean, as


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 1   the Emirs of the Islamic State and the official

 2   spokesman of the Islamic State said, 'Be a lone

 3   wolf,' if you are able to do something in Turkey, so

 4   I mean attack the infidels and the apostates, the

 5   Turks, the Turkish police; if you are able to kill

 6   them, then do so.         If you can burn their businesses

 7   or burn their homes, I mean the government officials

 8   and police cars, to kill police individuals.                   If you

 9   can do that, then do it.            If you cannot, then

10   immigrate to the Islamic State, immigrate to the

11   Islamic State and train there.                And by the will of

12   God, the Lord of the Worlds, you will be, I mean,

13   you will be an active member that wages jihad

14   against the infidels.          I do not know if you have

15   anything available to you, I mean, police or such,

16   attack and kill them, good riddance, good riddance!"

17          Does it appear he's still talking to the same

18   individual?

19   A.     Yes.    The same conversation, yes.

20   Q.     Same conversation.

21          And what is he saying here?

22   A.     It's basically highlighting what is the

23   two-prong course of action that ISIS has constantly

24   consistently put out.          If you are an ISIS supporter,

25   whatever your degree of membership, whether you are


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 1   a formal member or not, you can do two things to

 2   further ISIS' agenda.          Either you migrate, you join

 3   the group physically, you travel to territory where

 4   ISIS operates and fight in jihad military, or you

 5   stay where you are, but you carry out attacks.                   And

 6   you pick your targets.           In this case he's talking

 7   about police, but you pick your targets, your

 8   methods of attack, the way you see fit.                 Both

 9   decisions, both choices further ISIS agenda.

10   Q.     Even to -- for young people, even to children.

11   A.     Yes.    And we have seen cases of minors involved

12   in attacks.       We have seen a case in Germany of a

13   12-year-old who built an explosive device that

14   almost went off in a Christmas market in Germany.

15   Q.     Does the defendant often call for attacks

16   against Turkey?

17   A.     Yeah, very commonly.

18   Q.     Tell us about Turkey.          Is it predominantly

19   Muslim?

20   A.     Yes, 99 percent Muslim.

21   Q.     What is it about Turkey that is important in

22   relation to ISIS?

23   A.     Turkey had sort of a big change in policy when

24   it comes to ISIS.         In the early days of the ISIS

25   mobilization of the Syrian conflicts of 2011, 2012,


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 1   2013, Turkey had, let's say, a lax migration policy.

 2   Maybe it allowed a lot of people to go from Turkish

 3   territory to Syria.          And then with time, it changed

 4   and reversed that policy and started cracking down

 5   on ISIS networks.         They were smuggling people from

 6   Turkey to Syria and ISIS support networks throughout

 7   Turkey.      So that caused, of course, a lot of anger

 8   within ISIS and a lot of retaliation.                 So we have

 9   seen many attacks, planned or successfully carried

10   out by ISIS in Turkey over the last few years.

11   Q.     Can I turn you now to page -- I'm sorry, to

12   Government's Exhibit 176, 176, with corresponding

13   audio 175.

14          And in this Government's Exhibit 176, the date

15   is December 16, 2016, and participant is Said Rahim.

16   Actually, turn to page 2, starting at line 10, the

17   defendant saying:

18          "So, I mean, I know there is a large number of

19   the brothers are present, I mean in the Syrian land.

20   In Turkey, I don't know, maybe there is a million, a

21   few million.       Let's say there is a 100,000, 100,000.

22   I mean, if about 20- or 30,000 of those were lone

23   wolves -- and by the way, I am being modest with

24   numbers -- if there were 30,000 lone wolves, oh,

25   man, that is it.         It will be raised.         The call to


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 1   prayer will be at the forbearing mosques, and over

 2   there the Caliphate banner will be raised.                  Attack

 3   them.     But we ask God for that, we ask God for

 4   that."

 5           And the next line he says:

 6           "Take this matter seriously, and I mean not

 7   jokingly."

 8           How do you interpret this?

 9   A.      He's basically saying that there is a large

10   presence of ISIS supporters in Turkey.                 When he

11   talks about brothers, that means ISIS supporters.

12   He guesstimates the numbers, but it's an imaginative

13   20- to 30,000 lone wolves, so individuals that carry

14   out attacks independently, were to do so, were to

15   carry out attacks.         So imagine what kind of upheaval

16   that would cause in Turkey, and the banner of the

17   Caliphate would be raised.            So basically Turkey

18   would be defeated, would be conquered and would

19   become part of the Caliphate.

20           The Caliphate has always been that of

21   expanding.       ISIS always saw the territory occupied

22   as Syria and Iraq as the starting point of the much

23   larger conquerors.         So imagine if we had 20-, 30,000

24   terrorist attacks in Turkey carried out by lone

25   wolves, that would lead to the conquest of Turkey to


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 1   the Caliphate.

 2   Q.      And do you interpret this to be a matter to be

 3   taken seriously?          What does that mean to you?

 4   A.      It openly calls for attacks in Turkey.

 5   Q.      Can I now ask you to turn to Government's

 6   Exhibit 182?       182.     The date on this is July 15th,

 7   2016.     The participant is Said Rahim.              And actually

 8   on 182, please turn to page 7, starting on line 5.

 9   The defendant saying:

10           "Okay.    What did al-'Adnani say?            His words has

11   a huge impact, by God's grace, and very, very, very

12   good effect.       Every monotheist Muslim who kills

13   those unbelievers is a good deed and a reward

14   according to our sheikh al-'Adnani.                And more, call

15   it what you want from God, may he be glorified and

16   exalted.      Because, I mean, we remember when he said:

17   'Kill and do not consult anyone and don't ask for

18   any fatwa, er, kill him by any means.                 Smash his

19   head on the wall, spit in his face, burn his plant,

20   I mean anything, anything; poison him, anything.

21   Praise be to God, the Lord of the Worlds.                  This

22   person who carried out this operation, I mean this

23   is a truck.       The truck is not a car.           The truck, our

24   brothers, is very huge.           I mean it weighs tons.           It

25   weighs hundreds of tons.            And if it was on a


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 1   specific speed, I mean a high speed, then glory be

 2   to God this one, glory be to God.               God blessed this

 3   operation."

 4          Do you know what he's referring to here?

 5   A.     He is referring to the terrorist attack that

 6   took place in Nice, France, the day before.

 7   Q.     What does he mean by 'Adnani -- what do you

 8   interpret it to mean by when he says 'Adnani's words

 9   had a huge impact?

10   A.     'Adnani, starting September of 2014, but

11   repeatedly issued calls, very public calls to all

12   ISIS supporters to carry out attacks, to take

13   matters in their own hands and carry out attacks

14   independently.        And some of the language here is

15   very much the language originally used by 'Adnani

16   which is, take any tool you have, a car, a truck, a

17   knife, a weapon, poison, punch them, carry it

18   wherever you find the enemy, which is in infidel

19   territory everywhere, kill them, no matter how, no

20   matter where you do it.           That's very much the

21   language and clearly here is talking about the

22   truck, the attack with the truck.               That's the day

23   after Nice.

24   Q.     Can you please turn to Government's Exhibit 208

25   with corresponding audio, 207.


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 1          The date on 208 is September 24th, 2016.                 The

 2   participants are Said Rahim and the user aaaa100.

 3          Please turn to page 2 of Government's Exhibit

 4   208, starting at line 2 with user aa:

 5          "May God reward you my brother.              I am listening

 6   to your wonderful talking.            God bless you."

 7          To which the defendant says:

 8          "May God bless you.          May God reward you with

 9   goodness.      We ask God that these words I mean enter

10   your hearts and be beneficial by the will of God

11   that these words will be beneficial.                May God bless

12   you.

13          "And as we said, we, by the favor of God,

14   glorified and exalted be He, are the supporters, and

15   by the will of God to be suicidal projects and

16   jihadists for the cause of God, er, when er, I mean

17   God facilitates the way for us.               I mean, be

18   acknowledged my dear brothers, do not take lightly

19   these channels, do not take lightly these channels

20   and the programs we support on Zello and Paltalk.

21   How many brothers mobilized?             How many brothers

22   mobilized with the grace of God?"

23          What is he talking about here?

24   A.     He's talking about the importance of platforms,

25   like Zello, Paltalk and Twitter in solidifying the


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 1   adherence to ISIS message by -- by people on those

 2   platforms; how everybody is sort of a suicidal

 3   project, aspiring jihadists for the cause of God,

 4   and that the conversations, the communications and

 5   the contacts on those platforms help creating actual

 6   soldiers of the Caliphate.

 7   Q.     Can you please turn to Government's Exhibit

 8   140.

 9          On page -- Government's Exhibit 140 is

10   September 19, 2016.          Participants Said Rahim.            On

11   page 2, line 9, the defendant stated:

12          "How many of the brothers in this channel are

13   martyrs?      We believe them to be so, and God is their

14   witness...Martyrs, they are martyrs; they were here

15   and they mobilized to the Caliphate country and

16   pledged allegiance to listen to and to obey the

17   Qurayshi, the Emir of the believers, Abu-Bakr

18   al-Baghdadi.       They pledged allegiance to him and

19   became the best soldiers to the best state."

20          Again how do you interpret this?

21   A.     This is probably a very open way of saying that

22   many of the brothers who are on this channel, on

23   Zello, on the specific channel on Zello, moved

24   from -- again, just speaking to actions.                 So we

25   became martyrs.        We joined the Caliphate, became


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 1   martyrs.      They died while fighting for ISIS.               And

 2   after pledging allegiance to Abu-Bakr al-Baghdadi,

 3   Qurayshi is the name of the tribe to which the

 4   prophet Mohammed belonged to and to which he claimed

 5   to be a member of.         So people on this channel, they

 6   mobilized, they died.

 7   Q.     Can you now turn to Government's Exhibit 160,

 8   please.      Government's Exhibit 160, with

 9   corresponding audio, 159, dated August 16th, 2016.

10   The participants are Said Rahim and an unknown male.

11          Starting on line 7 with the unknown male:

12          "Praise be to God.         Blessed be to God.         Praise

13   be to God.       Blessed be to God.           This is elating

14   news, Angousha, that there are brothers from the

15   room who have mobilized, and I mean arrived.

16   Paltalk.      I left Paltalk.        Paltalk has a lot of

17   problems you, er, I mean, you are aware of such.                     So

18   for this reason I left it.            Abu-'Abd-al-Raham

19   al-Jazrawi, I hope by the will of God that he

20   mobilized and arrived to --"

21          And the defendant interrupts, saying:                "No, no,

22   no, no, no.       No.    Not like that, and then I told you

23   on the private, I mean, I will tell you who.                   No,

24   no, Abu-Uways is a long time ago, too.                 He last

25   entered a few months ago."


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 1          What does this mean, "on the private"?

 2   A.     On the private means on the one-on-one

 3   conversations.        A lot of communications among

 4   jihadists, ISIS supporters, have been on two levels

 5   online.      One is more public settings like this.                But

 6   when the setting becomes more operational, they move

 7   to a private setting because they are aware that law

 8   enforcement might be monitoring those conversations.

 9   So they move it from where it's fairly easy for law

10   enforcement to detect the conversation, to a private

11   setting where they think they cannot be detected.

12   Q.     Is that common behavior that you see?

13   A.     Very common.       Most people in the space would

14   have a variety of accounts on different platforms.

15   And again, operate on the more public ones in a

16   fairly open way, because that's where you need to

17   operate to recruit new people, to interact with new

18   people.      But once you have established a trust-based

19   relationship with your interlocutor, you are going

20   to move to places like Snapchat or different other

21   platforms where there is a high level of encryption

22   and it's more difficult for law enforcement to

23   monitor the conversation; very common.

24   Q.     Can I now point you to page 2 of the same

25   exhibit, Government 160, line 6.               This is, again,


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 1   the defendant speaking, saying:

 2          "There are brothers that mobilized...there are

 3   brothers that were on our side in the West Bank that

 4   mobilized, one of them mobilized, praise be to God.

 5   There is one from the land of the two Holy sites

 6   mobilized a while ago, too.             By God, those are good

 7   brothers and mobilized, I mean mobilized, and the

 8   reason behind it was the channel, I mean praise be

 9   to God.      Some...by the grace of Almighty God of

10   course, the channel, those who mobilized did so

11   because of the channel, that is what I mean."

12          First, can you tell us what he means by West

13   Bank and the two Holy sites?

14   A.     The West Bank is Palestinian territories west

15   of the River Jordan, so Jenin, Guatemala, part of

16   the Palestinian territories, the West Bank.

17          And the land -- I'm sorry, and the land of the

18   two holy sites are in Saudi Arabia.                The two holy

19   sites in Islam are Mecca and Medina.                Both cities

20   are in Saudi Arabia.          So it's a way of saying Saudi

21   Arabia.      So basically here, it means it was two

22   individuals, one from Palestinian territories and

23   one from Saudi.

24   Q.     Would those also be considered foreign

25   fighters, what you were talking about earlier?


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 1   A.      Yes.     They are not from Syria and Iraq, so they

 2   are foreign fighters, yes.

 3   Q.      Do foreign fighters -- do you ever see, in your

 4   experience, foreign fighters go the battlefields and

 5   then return to their homeland later?

 6   A.      Yes, that happens.

 7   Q.      What is -- what is the result of that -- or

 8   rather, why -- why would a person travel to -- to

 9   commit jihad or to fight on the battlefield and then

10   return to their homeland?

11   A.      Different reasons.        Every case is different.           I

12   mean, people go and fight to help the cause, of

13   course.        And then whether it's personal reasons,

14   that conflict is over or, you know, the person no

15   longer wants to participate in that conflict or he

16   thinks that he can carry out a mission somewhere

17   else.     So there are different reasons people go

18   back.

19   Q.      Will they typically become more radicalized

20   while in the Caliphate lands?

21   A.      Again, every case is different.             But generally

22   speaking, yes, of course, big and better

23   environment; fighting surrounded by like-minded

24   individuals; generally that mindset.                You have cases

25   of people who actually abandon the mindset after


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 1   that experience, they become very disenchanted with

 2   it.     But in most cases, yes, it enforces the

 3   allegiance to the group.

 4   Q.      Please turn to Government's Exhibit 152; 152 of

 5   corresponding audio 151.            Government's Exhibit 152.

 6   The date is August 17th, 2016, and the participant

 7   is Said Rahim.

 8           Please turn to page 2, starting on line 15:

 9           "This is the pathway.         So brothers, where are

10   the men!      Where are the men!         Where are those who

11   gave Almighty God the pledge of death!                 Where are

12   those who will respond to the one calling for jihad!

13   Come to jihad.        Where are you men?          Where are you?

14   Days and years keep passing and time is running out

15   quicker than lightning.           Jihad has been there for

16   many, many years.         Some mobilized and some stayed

17   behind.      Er, brothers are trying, and we perceive

18   you to be from those who try to mobilize to jihad

19   for the cause of God."

20           Would you consider this to be recruitment for

21   ISIS?

22   A.      Yeah, very much so.         I think he's striking a

23   cord.     Basically what he's appealing to is sort

24   of -- almost making fun of people, egging on people

25   who haven't mobilized.           Where are the men?         Where


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 1   are the men?       It's appealing to that sense of

 2   manhood, if you will.          You have to stop just

 3   talking, and you have to mobilize.

 4          It's -- again, there's different tactics to

 5   radicalize and recruit and push the mobilization of

 6   individuals.       There's at times a softer approach, at

 7   times the more explaining things, and at times

 8   there's almost the egging on, almost making fun of,

 9   where are the men?

10   Q.     So can you please turn to page 3 of the same

11   exhibit, line 6.

12          The defendant continues:

13          "Where are those who rolled or will roll their

14   sleeves or those who will throw themselves!                  Where

15   are those who tied or will tie the red headband on

16   their foreheads, the death headband!                Where are you?

17   Where you are?        'Verily those who plight their

18   fealty to thee do no less than plight their fealty

19   to Allah:      The hand of Allah is over their hands...'

20   Give pledge of allegiance to God so you could

21   witness the blessing -- so you could witness the

22   blessing of jihad for the cause of God, glorified

23   and exalted be He.         Where are you men?          We heard the

24   screams of our sisters, in the West and the East.

25   We heard the calls for help of the children.                   Yes,


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 1   we saw the houses...we saw bodies as they burn and

 2   houses being destroyed.           We saw Quran being burned.

 3   So where you are men of Quran!                'Go ye forth,

 4   whether equipped lightly or heavily, and strive and

 5   struggle...in the cause of Allah,' before that day

 6   comes where you may deeply regret it brothers.                   Our

 7   brothers, and we specify those brothers that are

 8   close, the close ones that are only centimeters away

 9   from the Caliphate Islamic land.                Brothers!     What

10   are you waiting for?          What are you waiting for?"

11          Does this fit within the techniques used by

12   ISIS to motivate new recruits?

13   A.     Yeah, very much so, like the above.               It's

14   pushing people to go trying -- first of all, using

15   certain imagery of the suffering of Muslim

16   population in Syria and Iraq, the children, the

17   house being burned, the Quran being desecrated.

18   Those are very common motivational tactics used by

19   recruiters, you know, trying to motivate people in

20   that way.      And then again it reverts to the sort of

21   the approach, where are the men, the men of the

22   Quran, sort of egging on.            And as you are referring

23   specifically to people who are close to the land of

24   the Caliphate, so those in the region.

25   Q.     Would that also include the region of the


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 1   Levant that we saw a map of earlier?

 2   A.      Yes.

 3   Q.      Please turn to Government's Exhibit 194; 194,

 4   with corresponding audio 193.             The date on this is

 5   December 19th, 2016.          The participant is Said Rahim

 6   and another participant with the shorthand AE.

 7           Please turn to the bottom of the page of 1 on

 8   line 28, where the defendant is saying:

 9           "So when will you rise up?            When will you rise

10   up?     I mean, attack the policemen with shoes,

11   slippers and stones.          Do anything, but do not stand

12   idle doing nothing.          I mean, you are being consumed,

13   for here come the Magi.           I mean they expropriated

14   your homes and lands.          So rise up, rise up!          I mean

15   there are many millions in Turkey, so rise up.                   I

16   mean, what are you waiting for?               Here we appeal to

17   the brothers in al-Sham land that are present

18   currently in Turkey; we appeal to them to attack the

19   false leaders, members, government establishments,

20   airline companies, police stations, government

21   centers, movie theaters and tourism places, attack

22   them.     Set fire to Turkey.         Damn Erdogan, damn the

23   infidel."

24           Can you tell us who Erdogan is?

25   A.      President of Turkey.


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 1   Q.     It continues:

 2          "I mean, they sold you.           'Allush sold you out

 3   and this...Erdogan sold you out, he sold you out.

 4   So when will you stab him with a dagger as he

 5   stabbed you?       God is the one sought for help.              I

 6   mean, God willing, I would find listening ears.                     I

 7   mean, we addressed the appeal days ago in the Arabic

 8   language, so I mean in the Arabic language so the

 9   Arabs who would understand the Quran language would

10   respond, but only one of the Turkish brothers

11   responded; there is no power and no might except by

12   God.     What are you waiting for?"

13          "I would find listening ears," what does that

14   mean to you?

15   A.     He is making repeated appeals to mostly Arabs,

16   ISIS supporters living in Turkey, to carry out

17   attacks to rise up against Turkey, particularly

18   trying to mobilize the Syrian refugee community,

19   which is very large, that exists in neighboring

20   Turkey, to rise up against the government and carry

21   out attacks and so on.

22   Q.     And on the next page, the user AE responds on

23   line 5, page 3:

24          "Peace be upon you with the mercies and

25   blessings of God.         May God grant you long life


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 1   Angousha.      May God bless you; what you say is

 2   correct."

 3          What's the importance of a response like that?

 4   A.     It creates a sense of community.               This is not

 5   a -- the channel here is not a place for dissent.

 6   People agree, creates a cohesive community there,

 7   and it reinforces the belief of everybody.                  So the

 8   defendant is often the one making the longest

 9   speeches and the one sort of pushing the envelope,

10   and everybody else in the community agrees, praises

11   him and looks up to him.            That's sort of the normal

12   dynamic here.

13   Q.     And do you see that several times throughout

14   the transcripts that you have reviewed?

15   A.     Consistently.

16   Q.     Can you please turn to Government Exhibit 122,

17   the date on the corresponding audio 121.                 The date

18   is September 19th, 2016.            The participants are Said

19   Rahim, a user Hammudi44, and a participant

20   Ibn Dawla.

21          Starting on line 8 with the defendant:

22          "Okay, peace be upon you, greetings from God.

23   I mean it seems like this person is a neighbor of

24   mine, but I don't know...are you from the 48 region"

25          What does that mean, 48 region?


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 1   A.     It refers here to the war of 1948, when the

 2   state of Israel was created.             And the -- so the 48

 3   region would be the region of Palestine that has

 4   become Israel.

 5   Q.     So he continues:

 6          "You, the user who wrote that you speak Hebrew

 7   and Arabic, are you from the regions of Hamas, Gaza

 8   or from the West Bank regions of 'Abbas?                 You don't

 9   have to be specific exactly, but from which region?

10   Arabs of 48, the West Bank, Hamas or Gaza."

11          Can you explain this to us?

12   A.     It's the three main jurisdictions in which

13   Palestinians live in the region.               So Arabs of 48

14   would be the Arabs that live in what is today

15   Israel.       West Bank is the part where Palestine

16   authority rules.         And then Gaza is the part where

17   Hamas rules, and it's the part between Egypt and

18   Israel.       So the Palestinians basically live in these

19   three adjacent areas, but from a legal point of view

20   separated.       He's trying to localize where this

21   individual is from; he's Palestinian, but from what

22   territory in which the Palestinians live.

23   Q.     Is that part of the Levant that we saw earlier,

24   the map of the Levant?

25   A.     Yes.


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 1   Q.     Ibn Dawla responds:

 2          "He's all yours Angousha, please forgive me, by

 3   God brother.       He's all yours, he's all yours, bring

 4   us good news about him my brother.                I mean he's from

 5   the region and you know its people better."

 6          Then the individual replies:

 7          "The best Mike, no, by God, I'm from the West

 8   Bank and forgive me."

 9          Then if you can turn to you page 2, please,

10   starting on line 1, the defendant says:

11          "Then you are from the West Bank.               He's a

12   neighbor, a neighbor of mine; a neighbor of mine.

13   Greetings from God; welcome.             I am from the West

14   Bank regions but a supporter for the Islamic State;

15   a supporter of the State of the Islamic Caliphate.

16   Er, greetings from God.           Okay, you, now, may God

17   bless you."

18          Again, so the West Bank, what does that

19   represent?

20   A.     It's the region between where the Palestinians

21   live, where the Palestinian authority rules, and

22   it's between Israel and Jordan.

23                 THE COURT:      Ms. Meeks, I think it's time

24   to take our lunch break, so I would like to break

25   until 1:30.


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 1                 Before you go -- step down, please.               Go

 2   ahead and step down.

 3                 THE WITNESS:       Yes.

 4                 THE COURT:      Thank you.       I just want to

 5   remind you again, don't talk to anyone about the

 6   case or let anyone talk to you about the case.

 7   Don't receive or send electronic messages about the

 8   case, and avoid outside information or any other

 9   sources of information about the case.                 All right?

10   Have a great break.          We will see you at 1:30.

11                 (Jury exits courtroom.)

12                 THE COURT:      Does the government have

13   anything?

14                 MS. MARTIN:      Your Honor, there was one

15   exhibit, the audio, 113, and I wasn't sure if, when

16   I read off the list, I think I included it, but I

17   wanted to make sure that one was admitted.                  It was

18   in the list that was --

19                 THE COURT:      No, because you did 114 to

20   312.     I don't have 113 here anywhere.              So do you

21   want to offer 113?

22                 MS. MARTIN:      Yes, Your Honor, I would

23   offer 113.

24                 THE COURT:      Any objection?

25                 MR. WHALEN:      No, Your Honor.


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 1                 THE COURT:      113 is admitted.

 2                 MS. MARTIN:      Thank you, Your Honor.

 3                 THE COURT:      Mr. Whalen?

 4                 MR. WHALEN:      Just real briefly.          Do you

 5   have an estimate when you will take the afternoon

 6   break?

 7                 THE COURT:      I don't know yet.

 8                 MR. WHALEN:      We will have one?

 9                 THE COURT:      Yes, 15 minutes.         And we --

10   there's a little newspaper article that came out

11   last night.       I don't think it's too important.                 I do

12   want to make you aware of it, and maybe I will talk

13   to the jury about it.          It's just minor, but I just

14   wanted to let you know.           Okay?

15                 MR. WHALEN:      And I was aware of it, and I

16   did have the thought of -- and now that you mention

17   it -- whether you wanted to inquire whether or not

18   anybody reviewed it or looked at it.

19                 THE COURT:      I think I will just tell them

20   not to read anything before I get into that.                   We

21   will talk to them about it.

22                 MR. WHALEN:      Okay.      Thank you, Your Honor.

23                 THE COURT:      Anything else?

24                 MS. MARTIN:      No, Your Honor.

25                 THE COURT:      See you at 1:25.


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 1                 (Recess taken.)

 2                 THE COURT:      Both sides ready for the jury?

 3                 MR. WHALEN:      Yes, Your Honor.

 4                 MS. MARTIN:      Yes.

 5                 THE COURT:      Okay, let's bring them in.

 6                 (Jury enters the courtroom.)

 7                 THE COURT:      Ms. Meeks, if you will

 8   continue with your direct examination of this

 9   witness.

10                 MS. MEEKS:      Thank you, Your Honor.

11   Q.     (By Ms. Meeks)        Dr. Vidino, will you please

12   turn to Government's Exhibit 124 in your transcript

13   binder, with the corresponding audio of 123.                   And

14   the date on Exhibit 124 is October 8th, 2016, with

15   participants Said Rahim, the defendant, and a

16   participant by the initials of KK.

17          Starting from line 7, with the user KK saying:

18          "Our brother, Angousha, greeting from God.                    I

19   mean, I am trying I mean...we met with...I met with

20   the Media Committee and we met with the Coordination

21   Committee and what is left is the Discussion

22   Committee.       I sent to the Discussion Committee, but

23   not all of them got on; Ibn Dawla got on and

24   Abu-'Uday also got on, and you were the third one.

25   So I need to meet with them, but they did not get


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 1   on.    To get over with the matter of the meeting and

 2   determine the thing."

 3          To which the defendant replied:

 4          "There are two right now, Peace be upon you and

 5   greetings from God.          I swear I am here and present.

 6   You just sent me the invitation and you just told

 7   me, because I was driving the car, I mean I did not

 8   pay attention.        But I looked ten minutes ago and

 9   there was no invitation.            Though I mean I got the

10   one that you have sent me er, the password, that you

11   had mentioned.        Greetings from God.          All right, is

12   any of them available on the channel?                 Those

13   individuals.       Those are...who are they?            Ibn Dawla,

14   Abu-'Uday and who else?           Er, al-Hadrami?        Who are

15   they, can you name them for me, if you please."

16          So in this section here, they are discussing

17   the committees on the channels.               What does that mean

18   to you?

19   A.     It shows a level of sophistication and

20   structure within the channel, meaning that there are

21   multiple individuals that organize in committee to

22   organize certain parts of the channel's inner

23   workings, and clearly the defendant is part of that

24   organizing team.

25   Q.     And let me now, if you don't mind, direct you


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 1   to Government's Exhibit 142.             142, with the

 2   corresponding audio exhibit of 141.                The date is

 3   October 9th, 2016.         The participants are an unknown

 4   mail, Said Rahim, the defendant, and Ibn Dawla.

 5   Starting with Ibn Dawla:

 6           "Peace upon you with the mercy blessings of

 7   God."

 8           And the unknown male:

 9           "Peace upon you so with the mercy and blessings

10   of God.      Praise be to God, it's emerging.              The

11   Dialogue Committee emerged, and they all came out.

12   May God help us!         All right, our brothers in the

13   Dialogue Committee, we talked in the matter of a

14   dialogue committee whose official Emir is Angousha,

15   who designates, who er, carries the dialogue based

16   on jurisprudence and reality er, the Levant people

17   to the Levantines, er, the Yemenis people to the

18   Yemenis people, the Pen- --"

19                 THE COURT:      Hold on a second.         Did you get

20   that?

21                 Start again.

22                 MS. MEEKS:      Come up to line 10:

23                 "Peace upon you so with the mercy and

24   blessings of God.         Praise be to God, it's emerging.

25   The Dialogue Committee emerged, and they all came


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 1   out.     May God help us!        All right, our brothers in

 2   the Dialogue Committee, we talked in the matter of a

 3   dialogue committee whose official Emir is Angousha."

 4          Let me actually stop there for now.

 5          What does it -- again, what does it mean by,

 6   "whose official Emir is Angousha"?

 7   A.     Means the official leader, chief.

 8                 THE COURT:      And that is spelled how?

 9                 MS. MEEKS:      E-M-I-R, Your Honor.

10                 THE COURT:      Okay.     All right.

11   Q.     (By Ms. Meeks)        And who do you know Angousha to

12   be?

13   A.     The defendant.

14                 THE COURT:      And that's spelled -- trying

15   to get it for her.

16                 MS. MEEKS:      A-N-G-O-U-S-H-A.

17                 THE COURT:      Okay.

18   Q.     (By Ms. Meeks)        And then it continues:

19          "The official Emir is Angousha, who designates

20   who carries the dialogue based on jurisprudence."

21          Dr. Vidino, what does that mean?

22   A.     That's an important part.              As we said this

23   morning.      Everything ISIS does and ISIS supporters

24   do is based on law, or at least what they believe to

25   be the correct interpretation of law.                 Everything


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 1   needs to be sanctioned under Shari'a, under Islamic

 2   law.     So here it basically says that Angousha

 3   carries the dialogue based on jurisprudence, which

 4   means that he has that knowledge, or at least the

 5   other people believe him to have the knowledge on

 6   Islamic law, which would make him the Emir, would

 7   make him somebody definitely above the others.

 8   Q.     Then it continues on line 18:

 9          "The Levant people to the Levantines, the

10   Yemenis people to the Yemenis people, the Peninsula

11   people to the Peninsula people, and Iraqi people to

12   the Iraqi people, and so on.             So, he assigns them."

13          Can you explain to us what the Levant people

14   and the Levantines, what those mean?

15   A.     Basically they are dividing different people

16   according to sort of the dialects, the region within

17   the Arabic world and the dialects they speak.                   So

18   the Levant people to the Levantines, so the people

19   from Levant, Syria, Jordan, Palestine and Lebanon

20   would speak, because they speak a similar dialect,

21   they would be speaking to one another.                 The Yemenis,

22   that's another region of the dialect.                 The Peninsula

23   people means the people from the Arabian peninsula,

24   so Saudi Arabia, Kuwait, the United Arab Emirates,

25   so different parts of the Arabic world.


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 1                  THE COURT:     Will you spell Levant?

 2                  MS. MEEKS:     Yes, Your Honor.         It's

 3   L-E-V-A-N-T.

 4                  THE COURT:     Thank you.        Just like it

 5   sounds.

 6   Q.     (By Ms. Meeks)        Dr. Vidino, you were saying?

 7   A.     It's a geographical division.              So it seems that

 8   the committee, the leadership of the group to which

 9   the defendant definitely belongs, is dividing the

10   different people who frequent the channel based on

11   the region where they come from in the Arabic world

12   and based on the dialect they speak.

13   Q.     Okay.     And then continuing on line 23:

14          "The quick things will be discussed by those

15   who know the Shari'a matters, this means that do not

16   interfere in other committees.                The Coordination

17   Committee is for coordination, so the Dialogue

18   Committee will not interfere with the Coordination

19   Committee, whether in muting, blocking, confirmation

20   or otherwise, unless there is no one present, then

21   all committees can interfere with each other.                   That

22   is in case nobody is available.                These are just the

23   points and to be patient as we told our brother

24   al-Raqam al-Sa'b to be patient with the speaker and

25   also our brother Ibn Dawla.             We have to be patient


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 1   and not to utter bad words and such, since this will

 2   weaken our cause, although we have a strong cause,

 3   praise be to God."

 4          On line 13, the defendant Said Rahim says:

 5          "And peace be upon you.           God willing, I will

 6   speak in a little while because I am a little busy

 7   right now.       I mean just a little while, because, God

 8   willing, I have a word to say.                I mean, I was

 9   supposed to be speak after Abu-Hamzah, but God

10   willing, the other person is listening."

11          With regard to the structure of the channel, is

12   this a sophisticated structure in terms of what you

13   have seen?

14   A.     Yeah, in comparative terms I would say so.                  The

15   majority of channels one would see on other

16   platforms would not have this division, the

17   committees would be very horizontal.                Of course you

18   might have some personalities who will emerge,

19   people who will post more frequently or be more

20   charismatic will emerge, but it will be more

21   democratic, more horizontal.             Here there's really a

22   formalized structure.          It's somewhat different and

23   more elaborate.

24   Q.     And does that demonstrate to you that the

25   channel is organized in such a way to have a


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 1   purpose?

 2   A.     Yes, I would say so.

 3   Q.     Is that consistent with what you have seen

 4   elsewhere?

 5   A.     Yes.    Generally the more sophisticated ones

 6   tend to be the more operational.

 7   Q.     Please turn to Government's Exhibit 174 with

 8   the corresponding audio exhibit of 173.                 The date on

 9   this is December 30th, 2015, and the participant is

10   Said Rahim.       I will direct you to line 23 on the

11   first page:

12          "We see who from those are I mean following the

13   right path, and I mean violations...I can give you

14   the Shari'a language regarding the religious

15   fallacies that Hamas fell into and that the brothers

16   fell into.       I mean this is Shari'a talk and not an

17   opinion.      I asked the question, meaning Hamas has

18   this thorn in Gaza, then why doesn't Hamas implement

19   the God's Shari'a, what's preventing it?"

20          Let's back up to the first part where it talks

21   about the Shari'a language and the religious

22   fallacies of Hamas.          Can you interpret that for us?

23   A.     Yes.    Basically Hamas is another group that I

24   would say is Islamist, meaning that it adopts a very

25   politicized and extreme version of Islam for


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 1   political purposes, sort of like ISIS and al-Qaeda.

 2   But Hamas is criticized by groups like ISIS as being

 3   too soft, too compromising.             I mean, it's all

 4   relative.      It's still a group that is a designated

 5   terrorist organization.           But it is criticized by

 6   al-Qaeda and by ISIS as being too engaged in

 7   politics, too compromising and not just devoted to

 8   outright violence as ISIS is.

 9          And the language here seems to say that the

10   defendant can give the Shari'a language -- so,

11   again, everything needs to be interpreted through

12   Shari'a, through Islamic law.             The defendant has the

13   ruling, Islamic-based ruling as to why Hamas is not

14   a legitimate group, why Hamas has swayed from the

15   right path.

16   Q.     And the same exhibit, Government 174, please

17   turn to page 3, starting on line 13.                Again, this is

18   the defendant stating:

19          "Then why doesn't Hamas take advantage of the

20   state of humiliation and misery that God has

21   disgraced them with eternally?                Why doesn't Hamas

22   take advantage of it?          Why don't they take advantage

23   of it?     But Hamas takes everybody into account.                 And

24   I used to be from Hamas, I used to be Hamas, but I

25   had enough of it and denounced it.                'Denounce the


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 1   Tyrannical rulers as your Gods and kill all the

 2   countrymen and direct your heart to the only

 3   worshiped God.'        That's it.       I was done with Hamas.

 4   I was Hamas, I used to defend it, but praise be to

 5   God, the Lord of the Worlds, I became aware of the

 6   Islamic nullifications, I got to know the rules of

 7   there is no god but Allah, the One and Only."

 8          We will stop there.          Can you explain to us, the

 9   first part of that paragraph we discussed, what does

10   it mean, "Why doesn't Hamas take advantage of the

11   state of humiliation and misery"?               What is he

12   getting at there, or what do you interpret that to

13   be?

14   A.     It's fairly common criticism that is leveraged

15   by members of ISIS and other groups against Hamas as

16   to Hamas being, A, too soft and compromising against

17   Israel; and B, not implementing Shari'a law fully in

18   the territory controls, which is the Gaza Strip.                    So

19   basically Hamas, according to this interpretation

20   has gone astray; it's not hard enough, it doesn't

21   follow the right path.           It's Islamically -- what

22   it's doing is not Islamically justified; it

23   compromises too much.

24   Q.     What does it mean to, "I used to be from Hamas,

25   I used to be Hamas.          I had enough of it and


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 1   denounced it"?

 2   A.      I either used to be from Hamas or at least I

 3   used to be a supporter of Hamas, but I am

 4   disenchanted of what I've seen of the way Hamas

 5   operates, and so I denounced it.               And there's,

 6   again, a religiously-based justification as to why

 7   Hamas is not legitimate and the Islamic State is.

 8   Q.      So what does this tell you about the defendant

 9   by stating this?

10   A.      That he has moved from Hamas, to being a

11   supporter of the Islamic State of ISIS.

12   Q.      Please turn to Government's Exhibit 182 now;

13   182, with the corresponding audio Government

14   Exhibit 181.       182 it is dated July 15, 2016, and the

15   only participant is Said Rahim.               Please turn to page

16   12 of Government Exhibit 182.

17           Starting on line 2 on page 12, the defendant

18   says:

19           "I advise you to think and pull your army, pull

20   your army from the region of the Muslims and that is

21   it, and you pay the jizyah."

22           Am I saying that right?

23                 THE COURT:      Spell that, please.

24                 MS. MEEKS:      It's J-I-Z-Y-A-H, Your Honor.

25   Q.      (By Ms. Meeks)       What does that mean?


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 1   A.     Jizyah is the tax that non-Muslims are --

 2   special tax that non-Muslims are supposed to pay to

 3   the Islamic State, to the Islamic ruler; it applies

 4   only to non-Muslims.

 5   Q.     How does that fit within the frame of ISIS in

 6   terms of ruling on a non-Muslim state?

 7   A.     That's the way ISIS would apply it.               So people

 8   who are non-Muslims are given three choices,

 9   basically.       ISIS has made the case repeatedly, has

10   published countless literature about it, gives you

11   three choices:        You either convert to Islam; you pay

12   the jizyah, special tax; or you get killed.                  That's

13   one of the three.

14   Q.     It continues on line 5:

15          "I mean as I said, which is the best solution,

16   for is there no other choice, there is no other

17   choice, there is no other choice.               Nobody is going

18   to negotiate with you.           Nobody is going to negotiate

19   with you.      The State of the Caliphate is not going

20   to send anyone to negotiate with you.                 No, no, no,

21   there won't be.        This will happen with the Muslim

22   brotherhood and Hamas, but not with the State of the

23   Caliphate.       We negotiate with you with the sword,

24   the booby trap and the truck."

25          What does this mean to you?


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 1   A.     It's, again, the criticism -- the debate that

 2   exists within the Islamist movement; again, within

 3   groups that use Islam for political purposes.                   But

 4   you have two currents.           One is what I would call the

 5   jihadist current, groups like ISIS and al-Qaeda,

 6   that don't believe in any kind of negotiation, any

 7   kind of politics, it's just violence and what they

 8   would call jihad.

 9          And then you have groups like Hamas, like the

10   Muslim brotherhood, that are still very extreme in

11   their world view, but do adopt a mix of violence, of

12   terrorism, but at the same time of politics.                   So

13   they run for elections.           They will still use

14   terrorism as they run for elections, the Hamas do.

15          Here it seems very clear that the defendant

16   finds that hybrid approach used by Hamas is not

17   acceptable, not Islamic and that the only one

18   acceptable is the no negotiations.                There's a very

19   famous way of putting it, which is bullets over

20   ballots, meaning only fighting is the right way to

21   achieve the goal, no negotiations, no dialogue.

22   Q.     Okay.

23                  MS. MEEKS:     Your Honor, at this time I

24   would request to publish a demonstrative exhibit.

25   It's a map that defense has seen.


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 1                  THE COURT:     Do you have an exhibit number?

 2                  MS. MEEKS:     It's a demonstrative aid.            I'm

 3   sorry, Your Honor.

 4                  THE COURT:     All right.       Any objection?

 5                  MR. WHALEN:     No, Your Honor.

 6                  THE COURT:     All right.

 7   Q.     (By Ms. Meeks)        We're going to be talking --

 8   and we have talked a lot about terrorist attacks in

 9   Nice, France and Orlando, Florida and Istanbul,

10   Turkey.      I thought it would be helpful for the jury

11   to get a geographic view of this.

12          Can you sort of point out for the jury,

13   starting at the top, where these locations are?

14   A.     Start with the U.S.?

15   Q.     Yes, sure.

16   A.     So we have Dallas -- I don't think I need to

17   point it.       We have Dallas, Texas.          And then we have

18   Orlando, Florida.         That's where the June 2016 attack

19   against the Pulse Nightclub took place.                 Then we

20   move to Europe, Nice, France, that's where the

21   July 14th, 2015 -- '16, I'm sorry, attack took

22   place.     And then moving further east, Istanbul,

23   Turkey, January 1st, 2017, New Year's Eve attack

24   against the Reina Nightclub in Istanbul.

25   Q.     Okay.     Let's start, if we can pull up the map


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 1   of Nice, France.

 2          Are you familiar with the attack that occurred

 3   in Nice, France, as I think you said you are?

 4   A.     I am.

 5   Q.     And where did that occur?

 6   A.     So what's the Promenade Des Anglais, sort of

 7   the big boulevard right on the sea, very famous

 8   boulevard, very trendy, where all the restaurants

 9   are in Nice.

10          So on the evening of July 14th, which is the

11   Bastille Day, it's a French national day, big

12   celebration in France, there were fireworks taking

13   place.     And a truck driven by an ISIS supporter

14   drove through what was supposed to be a pedestrian

15   only area and mowed down everybody on the boulevard.

16   Q.     How many deaths did that result in?

17   A.     Eighty-seven.

18   Q.     Do you know how many people were injured?

19   A.     In the hundreds.        I forget the exact number.

20   Q.     Did ISIS claim responsibility for that attack?

21   A.     ISIS did claim responsibility for that.

22   Q.     Can you please turn to Government's Exhibit

23   170.

24          I'm specifically starting on page 2.                170 is

25   dated July 15th, 2016.           And the participants are


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 1   Said Rahim, the defendant, and an unknown male.

 2           Just as a reminder, Dr. Vidino, when did the

 3   Nice attack occur?

 4   A.      July 14th.

 5   Q.      Fourteenth.      So the day before?

 6   A.      Yes.

 7   Q.      Start on page 2, on line 11, where the unknown

 8   male says:

 9           "This is not going to be the last operation.

10   All this is on the shoulders of the wicked French

11   president.       If they refrain from hurting the

12   Muslims, the Muslims will refrain from hurting them.

13   And there is no jizyah between them and us now, but

14   blood is between us, between them and us is

15   vengeance, between them and us is blood, more like

16   valleys of blood."

17           Again, how does this fit within the concept of

18   ISIS desired control over a non-Muslim area?

19   A.      That is exactly reflecting the mindset that

20   ISIS has been expressing and formulating for a long

21   time.     Basically he's saying that there is no jizyah

22   agreement between the Islamic State and France, so

23   the French are not paying this special tax that the

24   non-Muslims are supposed to pay to the Islamic

25   State; therefore, the alternative is blood.                  They


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 1   are non-Muslims, they haven't converted to Islam,

 2   they are not paying the tax.             The alternative is

 3   blood, so valleys of blood, as he put it -- as he

 4   puts it.

 5   Q.     Can you turn to the next page, page 3?                And

 6   this is, as you can see, the defendant talking in

 7   this section here, starting on line 18:

 8          "This is what al-'Adnani said, if you recall.

 9   Al-'Adnani when he said something to the effect that

10   the nonbeliever will turn, he will turn towards the

11   right, to the right and the left in fear, and this

12   is what is happening.          Oh man, now the French and

13   all the Europeans are in extreme state of terror.

14   Everybody is living in fear.             Are they going to

15   prevent everyone from driving trucks?                 Then go ahead

16   and stop, stop them from driving trucks.                 Praise be

17   to God, the Lord of the worlds.               I was really happy

18   for this act, I was happy for this act, those dogs."

19          Is he talking about the attack that occurred

20   the day before?

21   A.     Yes.    And he's referencing France, the fact

22   that the French people and the Europeans in general

23   are living in fear.          That is very much the rhetoric

24   of al-'Adnani whose message said, fear their

25   neighbor, that was really the main theme.


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 1           And then the idea of driving trucks, that's how

 2   the attack took place in Nice.                He's also

 3   referencing the concept that by using weapons, which

 4   are not really weapons, are tools that everybody has

 5   access to on a daily basis, a car, a truck in this

 6   specific case, makes it almost impossible for law

 7   enforcement to stop those acts.                And it's what

 8   'Adnani, the number two in ISIS, had called for, use

 9   any kind of weapon -- any kind of tool as a weapon.

10   Q.      And how is that fear helpful to ISIS?

11   A.      It helps, as we said this morning, in different

12   ways.     It helps because it makes potentially

13   Governments change their policy and withdraw from

14   attack from the coalition and withdraw from

15   attacking ISIS; it's a fear that brings polarization

16   in society.       What ISIS wants is really a divide of

17   an us versus them mentality in the West between

18   Muslims and non-Muslims in which non-Muslims will

19   see Muslims as all terrorists and all dangerous.

20   And Muslims, in reaction, will see all non-Muslims

21   as against them.         This generalized fear that these

22   kinds of attacks bring about is exactly what ISIS

23   aims to achieve.

24   Q.      Okay.    Next page, on page four, starting on

25   line 5, which is again often the defendant:


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 1          "Praise be to God, the Lord of the worlds,

 2   al-'Adnani's words, may God preserve him, were

 3   fruitful.       I mean from the early days when he said,

 4   'Do not ask anyone for fatwa and do not consult with

 5   anyone, kill them in any way possible, kill them in

 6   any way possible.'         So Praise be to God, the Lord of

 7   the Worlds, this Muslim monotheist did not consult

 8   anyone.       He did not call al-Qardawi --" is that how

 9   you say that "--

10   A.     Yes.

11   Q.     "-- and tell him, well, al-Qardawi, I want to

12   do such and such.         No, no, no, he did not do that,

13   and that's it.        He took the fatwa from the trusted

14   ones, the scholars, the trusted scholars, the

15   frontier scholars, like the jihadist scholar

16   al-'Adnani."

17          Is he talking again about the attack on France?

18   A.     Yes.     And he's explaining how that fits into

19   what 'Adnani, ISIS leader 'Adnani had called for,

20   which is do it yourself, jihad.               You don't need to

21   be part of the group.          You don't need to get some

22   special decree or authorization from some scholar,

23   just do it.       You have the general blessing from ISIS

24   that's sort of a polemical attack against some of

25   the more mainstream clerics in Islam, the scholars


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 1   of jihad, people like 'Adnani.                So scholars that

 2   belong to ISIS are the ones that give authorization

 3   to carry out attacks indiscriminately everywhere,

 4   and those are the only people you should listen to.

 5   There's no point in asking for opinions, so on and

 6   so forth, just carry out the attacks.

 7   Q.     Can we turn to Government's Exhibit 226, with

 8   corresponding audio 225.            Turning to page 3 of 226

 9   dated July 19th, 2016 and the participant is Said

10   Rahim, the defendant, starting on line 12, saying:

11          "Now there are people, lone wolves, that think

12   about operations that will affect the biggest or the

13   largest number possible of those.                How much did this

14   one, the one who used the truck earlier... Oh man,

15   he killed a lot.         I swear that he killed many, I

16   mean, er, I mean the success of this operation was

17   better than a nuclear bomb...that act that he

18   carried.      We will wait and see."

19          What is he talking about, "the biggest or

20   largest number possible"?

21   A.     He's praising the effectiveness of the action

22   of the attacker in Nice, just one person, no

23   organization, no operational backing.                 One person

24   rents a truck, cheap operation, yet he kills 87

25   people; very powerful operation.


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 1                 MS. MEEKS:      Your Honor, permission to post

 2   a demonstrative aid?

 3                 THE COURT:      Fine.     Mr. Whalen, do you know

 4   what it is?

 5                 MR. WHALEN:      Yes, I do, Your Honor.           I

 6   have no objection.

 7   Q.     (By Ms. Meeks)        This is a map here, Dr. Vidino.

 8   Can you describe what we're looking at here?

 9   A.     That's Europe and parts of the Middle East, and

10   the focus is on Istanbul, the largest city in

11   Turkey.

12   Q.     Are you familiar with a terrorist attack that

13   occurred in Istanbul on January 1st, 2017?

14   A.     Yes, I am.

15   Q.     Can you tell us about that?

16   A.     One known member of ISIS entered a nightclub

17   where people were celebrating New Year's Eve.                   He

18   killed the security guard at the front door.                   And

19   armed with automatic weapons, went and -- dressed as

20   Santa Claus, went inside and killed almost 40

21   people.

22                 THE COURT:      40 or 14?

23                 THE WITNESS:       40; four, zero.

24                 THE COURT:      Okay.

25   A.     And then he left the site; was not killed in


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 1   the operation and left the site and was later

 2   arrested.

 3   Q.     (By Ms. Meeks)        How many people were injured,

 4   do you know?

 5   A.     Less than a hundred if I am correct.

 6   Q.     And did ISIS claim responsibility for that

 7   attack?

 8   A.     It did.

 9   Q.     Can you please turn to Government's Exhibit

10   176?     Government's Exhibit 176, the corresponding

11   audio 175.       The date on this is December 16th, 2016,

12   and the participant is Said Rahim, the defendant.

13   Starting on line 6:

14          "May God prolong your lives.             Yes, now, now the

15   brothers in Syria, I mean those that are now present

16   in Turkey, God willing --"

17                 THE COURT:      Who did you say the speaker

18   was?

19                 MS. MEEKS:      It's the defendant, Your

20   Honor.

21                 THE COURT:      Okay.

22   Q.     (By Ms. Meeks)        "Those that are now present in

23   Turkey, God willing now, they must...that's it,

24   pledge allegiance to the Islamic State and be lone

25   wolves and attack the Turkish government, its


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 1   individuals, its constituents, its police, its

 2   quarters, its banks, its tourist sites, its vessels,

 3   its nightclubs, and everything.               Let everything that

 4   pertains to Turkey become a target for you.

 5   Meaning, fend off on behalf of your jihadist

 6   brothers.      They want to make your brothers in Syria

 7   victorious, and some have fled to Turkey.                  Fine,

 8   make penance for your misdeeds by fleeing to Turkey,

 9   make penance, maybe God then will forgive your

10   misdeed and I mean cleanse your sin.                Attack the

11   army of unbelief in Turkey, attack it.                 Don't be

12   among those that stand in queue waiting for a bread

13   handout, the queue of disgrace, but be in the

14   martyrs' queue, the ones who I mean...be in the

15   martyrs' queue of those who are standing at the

16   doors of paradise, awaiting the opening of the doors

17   so they can go in from any door they like."

18          We will stop at this section.

19          Dr. Vidino, what is he calling for here?

20   A.     He's openly calling for attacks against Turkey.

21   He's calling for the kind of attacks that 'Adnani

22   has outlined, so against any possible target, sort

23   of anything works from, you know, soft targets, like

24   nightclubs, tourist sites to police and so on and so

25   forth, so basically any kind of target.


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 1          He's particularly trying to reach out to people

 2   who might live in Turkey as refugees.                 The part

 3   where it talks about people are fleeing to Turkey,

 4   there's a queue waiting for a bread handout, it's

 5   probably a reference to refugees, Syrian refugees

 6   who live in Turkey.          And what he is saying is, is

 7   don't be there like a beggar, but strike Turkey as

 8   revenge for what Turkey did against the Islamic

 9   State, but also to turn Turkey into a part of the

10   Caliphate.

11   Q.     And does the date have any significance to you?

12   A.     It's two weeks before the attacks in Istanbul.

13   Q.     Can I ask you to turn to Government's Exhibit

14   166.

15          Can you please, instead, turn to Government's

16   Exhibit 192; 192 first.           192, with the corresponding

17   audio of 191.        The date for Government's Exhibit 192

18   is January 3rd, 2017.          The participants are Said

19   Rahim, the defendant, and an unknown male.

20          Starting on line 7, the defendant says:

21          "May God bless you.          Praise be to God, the Lord

22   of the Worlds.        No, we will see now what the news

23   is.    There is a statement; I do not know if you saw

24   the statement, I mean there is an official statement

25   that I read yesterday where the Islamic State claims


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 1   responsibility for the club, this nightclub in

 2   Istanbul.      Praise be to God, the Lord of the Worlds.

 3   I mean, this is the beginning."

 4          What's he talking about here?

 5   A.     About the communique ISIS issued two days after

 6   the attack in Istanbul.

 7   Q.     And that's the attack we were just talking

 8   about?

 9   A.     I'm sorry?

10   Q.     That's the attack you were just talking about?

11   A.     Yes.    ISIS, as it normally does, it issues a

12   communique a day, a couple of days after the attack,

13   claiming responsibility.

14   Q.     Can you then turn to page 2 of the same

15   exhibit, Government's Exhibit 192, starting at line

16   11.    This is the defendant:

17          "Also, if you recall, before from...I mean less

18   than a month -- less than a month, I called upon the

19   brothers, I mean, to target Turkey.                But I...who am

20   I to be heard, but I mean, praise be to God, the

21   Lord of the Worlds.          I ask God to grant me reward

22   for it, for inciting brothers to perform jihad for

23   the cause of God, for inciting brothers to perform

24   jihad for the cause of God and to fight the enemies

25   of Almighty God."


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 1          What does this mean to you?

 2   A.     There's some degree -- in the first part he

 3   takes some responsibility for having called for the

 4   attack.      The fact that, "less than a month, I called

 5   upon the brothers to target Turkey," then he sort of

 6   had this moment of humility, if you will, like, "Who

 7   am I to be heard?"         And at the same time, one line

 8   after that, it says, "I ask God to grant me a

 9   reward."      So I did something right.            I called for

10   attacks in Turkey, the attacks took place, and I

11   asked God to reward me for that.

12   Q.     And can you turn now to Government's Exhibit

13   166.     It's got the corresponding audio of 165, Your

14   Honor, and the date on this January 2nd, 2017.                   The

15   participant is Said Rahim, the defendant.

16          And, Dr. Vidino, is this date significant to

17   you?

18   A.     What part?

19   Q.     The date?

20   A.     The date, the day -- it's the day after the

21   attack.

22   Q.     I'm starting at line 27 on page 1.               The

23   defendant saying:

24          "in continuation of the blessed operations

25   waged by the Islamic State against the protector of


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 1   the cross, Turkey, one of the Caliphate hero

 2   soldiers demolished one of the most famous

 3   nightclubs where Christians hold their polytheistic

 4   celebrations.        He attacked them with hand grenades

 5   and his machine gun, exchanging their joys for

 6   sorrows, reaping a hundred fifty people dead and

 7   wounded, in revenge for Almighty God's religion, and

 8   at the behest of the true believers' Emir, to target

 9   the protector and servant of the cross:                 Turkey."

10          What does he mean, "servant of the cross:

11   Turkey"?

12   A.     It's the accusation that ISIS may have cut

13   Turkey off being in cahoots with Christian

14   countries.       Turkey is a member of NATO.            It has

15   political alliance and military alliances with the

16   United States and Western countries; therefore, it's

17   seen by ISIS and ISIS supporters as a traitor, as a

18   Muslim country, because it is a Muslim majority

19   country, that sides with Christians against Muslims.

20   Q.     And what does this mean, "the polytheistic

21   celebrations"?

22   A.     The attack took place on New Year's Eve.                  That

23   obviously, from a strictly Islamic point of view, is

24   not an Islamic holiday.           And so what people were

25   doing there is celebrating something non-Muslim in a


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 1   Muslim land.       The majority of people actually killed

 2   in the nightclub were mostly Muslims.

 3   Q.      Please turn to page 7 of the same exhibit.

 4           This is the defendant speaking, starting on

 5   line 10 on page 7:

 6           "That is it.      As al-'Adnani said:          'Kill them

 7   and do not ask for anyone's fatwa.                Kill them and do

 8   not seek a fatwa from anyone.'                This one killed

 9   them.     He killed them, spilled their filthy blood

10   and offered his soul.          I do not know, I mean we ask

11   God to accept him if he was martyred."

12           And then a few lines down, on line 23:

13           "Yes, honorable brothers, those...this is the

14   nature of these jihadists who Almighty God enabled

15   and they attacked those; they attacked and devoured

16   them, and viciously devoured them.                This is our

17   terrorism, it extends -- our terrorism extends and

18   the State is strong, by the grace of God, glorified

19   and exalted be He.         'This is terror:         Terrorism

20   reaches Turkey.'         Yes, our terrorism as decreed by

21   God, glorified and exalted be He, it is to terrorize

22   you, to kill you and to spill your blood, seeking

23   closeness to God, glorified and exalted be He.

24   Servant of the cross, Erdogan, take note that the

25   Caliphate will not leave you alone, you started, and


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 1   we will finish the war with you, God willing."

 2           Remind us who Erdogan is?

 3   A.      The president of Turkey.

 4   Q.      What is he saying here?

 5   A.      It's pretty open, as open as it gets; basically

 6   saying that Turkey needs to be punished, but this

 7   is -- what's striking is that he clearly identifies

 8   with ISIS as our terrorism, our -- that basically

 9   Turkey, by virtue of its foreign policy, its

10   positions, is a target, and he keeps praising the

11   attack as, "our terrorism."

12                   MS. MEEKS:     Your Honor, permission to

13   publish a demonstrative aid?             The defense has seen

14   this.

15                   THE COURT:     Any objection?

16                   MR. WHALEN:     No, Your Honor.

17                   THE COURT:     All right.

18   Q.      (By Ms. Meeks)        Dr. Vidino, can you just tell

19   us what we are looking at here?

20   A.      A map of Orlando, Florida.            And that is the

21   Pulse Nightclub, where the attack of June 2016 took

22   place.

23   Q.      Okay.     Can you pull the microphone a little

24   closer to you?

25   A.      Yes.


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 1   Q.     Are you familiar with the terrorist attack that

 2   occurred on June 12th, 2016 --

 3   A.     Yes.

 4   Q.     -- in Orlando, Florida?

 5          Can you describe that attack, please?

 6   A.     Yeah.     What happened is that an individual

 7   named Omar Mateen entered the nightclub when it was

 8   full with people.         And with automatic weapons, he

 9   started shooting pretty much the same model that we

10   saw in Istanbul and killed people for basically

11   three hours; made a phone call after having killed a

12   few people to the local police department, the local

13   dispatch, saying that he was doing that on behalf of

14   the Islamic State.

15   Q.     Do you know how many people ended up dying?

16   A.     Around 40.

17   Q.     How many were injured?

18   A.     Less than a hundred, if I'm not mistaken.

19   Q.     Can you please next turn to Government Exhibit

20   178; 178, with the corresponding audio exhibit of

21   177.     The date on Government's Exhibit 178 is

22   June 13th, 2016, and the participant is Said Rahim,

23   the defendant, and another participant with the

24   letters Asd1999135.

25          Dr. Vidino, is this date of June 13th


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 1   significant to you?

 2   A.      The day after the attack in Orlando.

 3   Q.      Okay.    Please look at, starting at line 18, the

 4   defendant speaking:

 5           "There are news state that an attack in the

 6   state of...in Orlando, Florida State.                 The city of

 7   Orlando is a touristic city.             The news state that an

 8   attack led to killing 50 Americans.                This is the

 9   initial news.        I mean, God willing, we will follow

10   up with the news and pass it on to you as it comes.

11   I mean, you remember what al-'Adnani said, may God

12   protect him."

13           And then if you will turn to the second page,

14   line 18; again, the defendant:

15           "Glory be to God, this is the lion and these

16   are the lions.        Glory be to God.         This city, I mean,

17   it brings America, I mean, a bunch of money, and it

18   is a tourist city, and it is all tourism.                  It has

19   the city of Orlando, an entertainment city, this

20   city.     I mean it is a strong vein, this city, so

21   glory be to God.         We have to follow up on the

22   consequences of this subject."

23           Why would he mention it being a tourism city?

24   A.      He's trying to contextualize the attack in

25   explaining to maybe people who are less knowledgable


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 1   about America that Orlando is a very famous tourist

 2   destination and that carrying out an attack is a

 3   consequence of the economy.

 4           It's one of the reasons why groups like ISIS

 5   carry out terrorist attacks in certain locations is

 6   also to damage the economy.             The attacks of 911

 7   caused a major damage to the tourism industry in New

 8   York.     Doing something in Orlando, a tourist

 9   destination, might cause the same sort of damage

10   from an economical point of view.

11   Q.      Please turn to page 3 of the same exhibit,

12   starting on line 19.          Again, this is the defendant:

13           "I swear by God, this attack shook them

14   violently.       Pictures of the attacker here.             There is

15   a picture of the guy who did it.               Glory be to

16   Almighty God.        Blessed be to Almighty God.            Now

17   starts the outreach activity at all the mosques,

18   especially in America, to publicize, to publicize

19   this operation, hey, oh boy, yet praise be to God."

20           Why is publicity important?

21   A.      ISIS recruits.       They need recruits.         It's all

22   about propaganda.         It's all about attracting new

23   members and new sympathizers.             So here what the

24   defendant is saying is the next step is to do

25   outreach to all mosques and explain what happened,


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 1   explain that ISIS carried out the attack in order to

 2   attract sympathy and to attract recruits.

 3   Q.     Can you turn to page 4?           Starting on line 7;

 4   again, the defendant:

 5          "I mean, this is a message we send to the

 6   agents of the Intelligence at the FBI and CIA, I

 7   mean, to tell their bosses.             Enough America, stop

 8   and remove your tarnished hands from Muslims.

 9   Enough, pull back and do not interfere."

10          What does he mean there?

11   A.     It's another common theme in ISIS propaganda.

12   The idea that ISIS carries out the attacks and sends

13   a message to America, American leaders, to stay away

14   from the Middle East.          In this specific case, of

15   course, ISIS is under attack by the United

16   States-led coalition.          And the idea is, we bring

17   terrorism to your homeland because you are attacking

18   us is Syria and Iraq.

19   Q.     Can we please turn to page 5, and I will point

20   you to line 24, same exhibit, and it's the

21   defendant:

22          "I mean, what makes it easy er living in

23   America and the United States to execute these

24   operations...is, of course, first and foremost, and

25   always and ever, God's facilitation and


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 1   conciliation.        I mean, this goes without saying or

 2   discussion.       But the nature of America and the

 3   nature of the United States, it is easy for someone

 4   to get weapons.        To acquire a weapon is very, very,

 5   very easy.       Just about any person can have a weapon.

 6   I mean, most everyone is armed, everyone is armed.

 7   I mean they would have weapons.               I mean it is not

 8   hard to get a weapon.          You can be...go anywhere

 9   carrying a weapon.         You can go the airport carrying

10   weapons because, for example, no one inspects or

11   anything."

12          And it continues:

13          "There is no inspection, and the clubs,

14   restaurants, anywhere, no weapons are there, weapons

15   are not present.         These are I mean the elements,

16   which I mean help these things.               Even if they become

17   strict it will not work, because it is a big

18   country."

19          How does this align with the ISIS message?

20   A.     The ISIS message is, carry out attacks wherever

21   you are according to the modalities that you see

22   fit.     And in countries, like some European countries

23   where guns are not easy to obtain, getting a truck

24   or using a knife might be the best way to do so.                    In

25   the United States where guns are fairly easy to


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 1   obtain, then, you know, guns are probably the best

 2   way to carry out an attack, and he's explaining that

 3   situation.

 4   Q.     Can you turn to page 7?           It's the same exhibit.

 5   It's the defendant speaking, and starting on line

 6   11 -- or 10:

 7          "Does Trump need something like this to reach

 8   the White House?         And is there an American reply,

 9   how and where?        I mean look at this.          To begin with,

10   this operation is in response to what America is

11   doing.     It means that we are not waiting for America

12   to respond to this operation.             What the Islamic

13   Caliphate State did is in response.                I mean it is

14   well known to what America is doing in the land of

15   the Muslims.       Now the battle has moved, the battle

16   has moved."

17          What does that mean?

18   A.     It's, again, taking a page from ISIS book and

19   completely identifying what ISIS says.                 Not only the

20   fact that the defendant says "we," but the argument

21   is that all the attacks would take place here in

22   America in response to the presence of American

23   troops or the interference that America carries out

24   in the Middle East.          So we, ISIS, are responding to

25   what America is doing in the Middle East by carrying


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 1   out acts of terror here in America.

 2   Q.      And by saying -- using the word "we," is that

 3   significant?

 4   A.      It shows that it identifies with ISIS.               It's

 5   not a neutral position, Islamic State is doing bad,

 6   America is doing bad, it's that "we" are doing this

 7   against America.

 8   Q.      Okay.    Can you please turn to Government's

 9   Exhibit 290; 290, with the corresponding audio of

10   289.     The date on this is June 12th, 2016.

11   Participants are Said Rahim, the defendant, unknown

12   males 1, 2, 3 and 4.

13           Please turn to page 3, starting on line 24.

14   This is the defendant speaking:

15           "Today or yesterday, the Islamic Caliphate

16   State executed an operation in the state of Orlando,

17   Florida, in the United States, and killed 50 or

18   more.     Okay, and this is the thumbprint of the

19   Islamic State on them, all right then, this is proof

20   that it is, I mean is taking revenge on America and

21   that America is its enemy."

22           How do you interpret that?

23   A.      Exactly like I said earlier, that the Islamic

24   State is taking revenge for what America is doing in

25   the Middle East and that the Islamic State is --


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 1   America is the enemy of Islamic State and

 2   vice versa.

 3   Q.      So if someone belongs to the Islamic State or

 4   purports to belong to the Islamic State, would their

 5   enemy be the same as the Islamic State's enemy?

 6   A.      Yes, absolutely.

 7   Q.      So America would be the enemy.

 8   A.      Absolutely, yes.

 9   Q.      Can you please now turn to Government's Exhibit

10   184; Government's Exhibit 184, the corresponding

11   audio is 183.        Date of this is July 15th, 2016, and

12   the participant is Said Rahim, the defendant.

13           Can you please turn to page 3?             And starting on

14   line 7:      And here he's referencing -- and I'm

15   summarizing because it's very long -- but the Nice

16   attack that we were talking about earlier.                  Here it

17   says:

18           "We hear some people say terrorism has no

19   religion.      No, terrorism's religion is Islam.

20   Terrorism's religion is Islam.                And the Quran

21   confirmed it when it said '...to strike terror into

22   (the hearts of) the enemies, of Allah and your

23   enemies...'       Yes, Terrorism is Muslim, terrorism is

24   Muslim.      It does have a religion; I mean it does

25   have a religion.         Praise be to God and thank you to


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 1   the terrorists, thank you O terrorists."

 2          Now this is -- would this be a correct

 3   interpretation of Islam broadly?

 4   A.     I'm not in a position to say correct, I'm not a

 5   theologian.       I would say it's very fringe, of

 6   course, vast majority of Muslims would not believe

 7   that is the right way to interpret it.                 There is the

 8   person, the Quran, that talks about terrorizing the

 9   unbelievers.       The vast, vast majority of Muslims

10   would contextualize that verse; there's a historical

11   reason it's written.          You can take a verse from any

12   kind of text, and read out of context would make it

13   mean something.        This is what ISIS does, takes a

14   verse that has a historical meaning, the Quran, and

15   refers to a certain, specific battle that took place

16   14 centuries ago.         But it applies it to today's

17   Florida, to today's Germany, to today's Syria, which

18   is taking things out of context.               But it is a very

19   common interpretation among the jihadists.                  This is

20   how ISIS justifies its actions.               Everything that

21   ISIS does is justified through verses of the Quran,

22   of course interpreted in a certain way, which is

23   very fringe.

24   Q.     And would this demonstrate the extremist level

25   of that interpretation?


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 1   A.      Very much so, yes.

 2   Q.      Can you please turn to Government's

 3   Exhibit 302; Government's Exhibit 302, with the

 4   corresponding audio of 301, dated July 9th, 2016.

 5   The participant is Said Rahim, the defendant, and

 6   unknown male.        And starting on line 7, the defendant

 7   says:

 8           "All right.      Peace be upon you.         May God grant

 9   you long live al-Zarqawi."

10           Can you remind us again, Dr. Vidino, who

11   al-Zarqawi is?

12   A.      Zarqawi was the founder of the organization

13   that then became ISIS.

14   Q.      It continues:

15           "May God bless you.         Greetings to all.

16   Hundreds of black Africans were killed by the

17   American police.         A few days ago they killed, I

18   mean, they killed someone black in front of his

19   family.      I mean, they stopped his car -- his car,

20   and they got him out of his car, placed him on the

21   floor, and they shot them.            This hatred between the

22   white and black, that is old, I mean old."

23           And then turning to page 2, starting on line 6,

24   again, the defendant:

25           "But, God willing, this incident that took


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 1   place the day before yesterday in Dallas, I mean

 2   that they were not expecting it, they were not

 3   expecting it to happen in such a way, in such a

 4   tactic and such a...I mean the person who did it was

 5   a sniper, a sniper.          He killed five.        Man, this had

 6   never happened before, to kill five or six

 7   policemen.       So, God willing, it will happen, I mean,

 8   and will increase; matters will increase and will

 9   get complicated more and more."

10          How does -- how does this fit inside the ISIS

11   mission of creating discord?

12   A.     Yeah, I mean the incident to which the

13   defendant is referring has nothing to do with ISIS

14   per se.      I mean, it has to do with dynamics that are

15   better known to everyone in Dallas.

16          But of course the ISIS narrative exploits any

17   kind of division and seeks to increase any kind of

18   polarization within enemy societies, America being

19   one of the main enemies of ISIS.               So the idea of

20   sowing that discontent, increasing that

21   polarization, showing that American Society is

22   inherently flawed, it's a tactic that ISIS uses to

23   its own advantage.

24   Q.     And you have had the opportunity to review the

25   transcripts in this case?


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 1   A.     Yes, I have.

 2   Q.     And is there much more than we discussed here

 3   in court contained in these documents?

 4   A.     Yes; very much so, yes.

 5   Q.     Is it similar in nature?

 6   A.     Very much so, yes.

 7   Q.     In your expert opinion, would the defendant's

 8   actions as an administrator or a moderator in this

 9   channel, would that supporter be of use to ISIS?

10                 THE COURT:      Hold on a second.         Do you have

11   any objection?

12                 MR. WHALEN:      No.

13                 THE COURT:      Go ahead.

14   Q.     (By Ms. Meeks)        Would that supporter be of use

15   to ISIS?

16   A.     Very much so, yes.

17   Q.     And why is that?

18   A.     Because it would -- having such a structured

19   large and sophisticated channel allows for many

20   people to increase their belief in ISIS mindset and

21   create that community, which allows them to solidify

22   their commitment to the cause.

23          And then the second part is it allows some of

24   these individuals to establish contact with people

25   that would allow them to make the leap from talk to


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 1   action, to mobilize as the term that we have used

 2   today.

 3          A chat room like this, again because of the

 4   level of the conversation and the access that some

 5   of these people have, it's something that definitely

 6   allows people to mobilize and become part of ISIS,

 7   which is clearly an ISIS interest.

 8                  MS. MEEKS:     Okay.     I have no further

 9   questions, Your Honor.

10                  THE COURT:     All right.

11                  Mr. Whalen.

12                           CROSS-EXAMINATION

13   BY MR. WHALEN:

14   Q.     Dr. Vidino, how are you?

15   A.     Good.

16   Q.     The center that you started at George

17   Washington, when did that program or that center

18   begin.

19   A.     2015.

20   Q.     2015?

21   A.     Spring of '15, yes.

22   Q.     And the center -- how is the center funded?

23   A.     We have basically foundations and private

24   donors that support us.           Some are alumni of the

25   university, private foundations.               We don't take


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 1   government money, we don't take foreign funding.

 2   Q.     Okay.     Now, would you agree with me that a lot

 3   of the things that we hear in those chats online are

 4   things that have been said before by other people?

 5   A.     Yes, of course.

 6   Q.     Okay.

 7   A.     Very much so.

 8   Q.     And so would you agree with me that a lot of

 9   what is being said is really mimicking what other

10   people have already said?

11   A.     Yes.

12   Q.     And would you agree with me that a lot of what

13   is said, too, is based in the Quran?

14   A.     Some of it.       I mean a very fringe

15   interpretation of the Quran.

16   Q.     But some of the language is in the Quran.                 So

17   the point I'm getting at is that nothing that is

18   being said is really original; is that fair to say?

19   A.     No; it's replicating ISIS propaganda, which

20   uses mainstream Islamic terms in a fringe way.

21   Q.     Now, you've been studying social media,

22   different platforms of social media; is that

23   correct?

24   A.     Correct.

25   Q.     And when was the first time that you heard


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 1   about Zello?

 2   A.     Year and a half ago.

 3   Q.     Okay.     And is it related to this case?

 4   A.     Correct.

 5   Q.     Okay.     Prior to that, you had not heard of

 6   Zello as a communication or social media platform

 7   for ISIS, correct?

 8   A.     Correct.

 9   Q.     And you would agree with me that this group on

10   Zello, it's not an official group of -- it's not

11   sanctioned by ISIS.          Would you agree with that?

12   A.     As far as I know, it's not.

13   Q.     Okay.     So there's no direct connection between

14   the group ISIS and this group on Zello, correct?

15   A.     As far as I know, no.

16   Q.     Okay.     And when we talk about -- you've said

17   this before, and I just want to clarify.                 These

18   people in this particular chat room were supporters,

19   you would call them supporters of ISIS, correct?

20   A.     Yes.

21   Q.     Okay.     So the people coming into it had already

22   formed an opinion or a belief that they supported

23   ISIS, correct?

24   A.     I can't attest to all of them.              I think there

25   are different degrees to which they supported ISIS.


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 1   Some of them had doubts and, in fact, you see that

 2   in some cases the administrators say this is not a

 3   place for doubts.         It's clearly people that are

 4   sympathetic, all of them, I think that's the bar.

 5   Q.      Right.     And so what you said is some people

 6   who, if they had doubts, the administrators would

 7   say, "This is not the place for you," correct?

 8   A.      Correct.

 9   Q.      So once again, it's people that were

10   sympathetic who had already formed that belief

11   independent of the chat room.             Would you agree with

12   that?

13   A.      Yes, probably.

14   Q.      Okay.    And you talked about -- you tried to

15   indicate that this was more sophisticated because

16   there was a hierarchy to it.             Do you remember saying

17   that?

18   A.      It's one of the reasons why I would say it's

19   more sophisticated.

20   Q.      Okay.    But would you agree with me that

21   different groups can come together and set up their

22   group however they want to, correct?

23   A.      Yeah, of course.

24   Q.      Okay.    And so just because they decided we're

25   going to have administrators and moderators and put


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 1   some structure to it, in and of itself doesn't mean

 2   it's sophisticated.          Would you agree with that?

 3   A.      It shows there are some -- some rules inside

 4   and a structured hierarchy, and certain people call

 5   the shots and others don't.             I think, generally

 6   speaking, when you see most channels, chat rooms on

 7   other platforms, it's more horizontal, more

 8   democratic.        So this is a bit different.           How

 9   functional that was, it's difficult to say, I agree

10   with you.

11   Q.      Just because it's different doesn't necessarily

12   mean it's necessarily sophisticated.

13   A.      It shows a level of structure, which I think is

14   indicative, together with a couple of elements, with

15   a level of sophistication.

16   Q.      I guess I'm not going to change your mind on

17   that.

18   A.      Sorry.

19   Q.      Would you agree with me also, looking at some

20   of these chats that you discussed, that sometimes

21   when you look at the transcript, it's just Mr. Rahim

22   speaking.        Do you see those?

23   A.      Yes.

24   Q.      And as far as you know, you have no idea

25   whether anybody else was listening; is that fair?


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 1   A.     I don't know.       Yeah, that's fair.          I don't

 2   know, so yeah.

 3   Q.     It could be simply just him pontificating,

 4   correct?

 5   A.     Yes.

 6   Q.     And also would you agree with me in social

 7   media, that sometimes people use social media to

 8   come across or appear as something they are not.

 9   A.     Yes, of course.

10   Q.     Okay.     And it's kind of the phrase I've heard

11   is, you know, the keyboard warrior.                Have you heard

12   that phrase before?

13   A.     I use it often, yes.

14   Q.     And the keyboard warrior is somebody who can

15   sit behind a keyboard and use a device of social

16   media and say things they normally wouldn't say or

17   mean in public; is that fair?

18   A.     Very normal.

19   Q.     Okay.     And would you also agree with me that

20   some people come to groups to then, for lack of a

21   better word, feel better about themselves.                  Would

22   you agree with that?

23   A.     Yes.

24   Q.     Because with the value of the group, they can

25   build their own self-esteem, correct?


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 1   A.     Sure.

 2   Q.     They can come across somebody that's

 3   knowledgeable in order to seek praise because they

 4   are not as confident about themselves as they should

 5   be.

 6   A.     Yes.

 7   Q.     Okay.     Would you agree with me that the

 8   organization of this channel was kind of an outlier

 9   compared to what else you have seen?

10   A.     What do you mean exactly?

11   Q.     Well, you said before that certain things --

12   there's kind of some outliers in that, you know, as

13   far as age goes, if somebody who was older joining

14   this group would be somewhat of an outlier.                  Do you

15   remember testifying to that?

16   A.     Yes.

17   Q.     Do you agree with me that this channel was

18   unique and somewhat outside the norm.                 Would you

19   agree with me on that?

20   A.     From a couple of points of view, yes.

21   Q.     And would you agree with me that, as far as you

22   know, there is no direct connection between anything

23   that was said in this channel to any specific

24   terrorist attack?         Would you agree with that?

25   A.     From an operational point of view, I'm not


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 1   aware of a connection.

 2   Q.     So there's no direct connection that anybody

 3   who participated in a terrorist attack was a member

 4   of this channel, correct?

 5   A.     As far as I know, yes.

 6   Q.     And also, as far as you know, there's no direct

 7   connection between anybody who actually traveled to

 8   Syria to join ISIS; is that correct?

 9   A.     Correct.      There are several claims to that in

10   the conversations, but I have no evidence of that.

11   Q.     Okay.     And so as you sit here today, you cannot

12   say, even though there's discussion about

13   mobilization, whether or not that, in fact, is true;

14   isn't that correct?

15   A.     I don't have evidence, yeah, correct.

16   Q.     And you did talk about, as far as age goes

17   again, about people that may join ISIS.                 What was

18   like the median age through your studies that you

19   determined?

20   A.     24, 25.

21   Q.     24, 25, okay.       And are you aware that Mr. Rahim

22   is 42 years old?

23   A.     I am.

24   Q.     Okay.     Now, the other thing I wanted to talk to

25   you about is, in some of these, if we talk about --


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 1   let me ask it this way:           Has there been occasions

 2   where ISIS has taken responsibility for a terrorist

 3   attack that they weren't really involved in?

 4   A.     Yes.

 5   Q.     Okay.     And is Nice one of those?

 6   A.     It depends on what you mean by "involved."

 7   Q.     Okay.     Well, let me ask it this way:             If

 8   somebody who is a supporter of -- say they are a

 9   supporter of ISIS and then commits a terrorist

10   attack or an attack of some kind, they are not

11   acting at the direction or control of ISIS, correct?

12   A.     Correct.

13   Q.     Okay.     And so they are not -- ISIS didn't --

14   the leadership of ISIS didn't plan it, formalize it,

15   and send this person to commit it, correct?

16   A.     Correct.

17   Q.     Okay.     And so in that situation, ISIS will take

18   credit for it, but they didn't actually plan it or

19   commit it, correct?

20   A.     Correct.      ISIS-inspired we generally call it.

21   The majority of plots we have seen in the West

22   follow exactly that module.             The individual who

23   carried out the attack was not operationally

24   connected to ISIS, it was simply ISIS-inspired.

25   Some cases might have had contact through social


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 1   media, but he's a consumer of ISIS.                Propaganda buys

 2   into the message and activates himself

 3   spontaneously.        That's statistically the majority of

 4   attacks in the west.

 5   Q.     Okay.

 6   A.     ISIS sees them as members, though.               That's the

 7   revolution that ISIS brought to terrorism.                  Somebody

 8   that carries out an action on ISIS behalf,

 9   irrespective of any kind of physical contact with

10   the organization is a member of ISIS.

11   Q.     Okay.     But ISIS, the leadership, is not

12   directing or controlling or providing the tools to

13   commit it, correct?

14   A.     Correct.

15   Q.     And does Nice fall into that category?

16   A.     Purely inspired, yes; as far as what's publicly

17   known, yes, purely inspired.

18   Q.     Does Orlando fall into that?

19   A.     Yes.

20   Q.     Does Istanbul fall into that?

21   A.     Istanbul is slightly different, because if the

22   perpetrators in Nice and Orlando, as far as I know,

23   had no connection whatsoever to ISIS other than had

24   bought into the ideology.            The perpetrator of the

25   Istanbul attack had a long pedigree, long experience


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 1   with ISIS and other affiliated groups.                 It's unclear

 2   whether it was directed by ISIS, but it definitely

 3   had connections to the attack; slightly different.

 4   Q.     And you've talked about -- maybe you haven't

 5   yet -- is the majority of people who actually went

 6   to fight for ISIS in Syria came through the Turkish

 7   border, correct?

 8   A.     Vast majority, yes.

 9   Q.     And if you were to join up with them through

10   Jordan, that would be an outlier or different,

11   correct?

12   A.     It would be an outlier, yes.

13   Q.     Okay.

14   A.     It has happened, but . . .

15   Q.     But that's not the norm, correct?

16   A.     The norm is through Turkey.

17   Q.     And in the transcripts that you read, do you

18   recall reading -- there was a section where one of

19   the people asked, "how do I get to Turkey?                  How do I

20   immigrate to Turkey?"

21   A.     Yes.

22   Q.     And do you remember Mr. Rahim's response was he

23   did not know?

24   A.     Yes.

25   Q.     Okay.     You mentioned something else I just


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 1   wanted to ask more questions about.                You talked

 2   about how sometimes on social media they were being

 3   monitored or the government was listening, something

 4   to that effect.        Do you remember that?

 5   A.     Yes, sir.

 6   Q.     And it related to if they had a password it

 7   would be a private channel?

 8   A.     (No audible answer.)

 9   Q.     Then if they then went to a private channel,

10   they thought it wasn't going to be --

11   A.     Encryption, not a password, it's about

12   encrypted.       Certain platforms have a higher level of

13   encryption.       They're more secure than others.              So

14   generally when the conversation becomes more

15   operational and sensitive, there's a tendency to

16   move to platforms where the level of encryption is

17   higher, where there's the belief it's more difficult

18   for law enforcement to monitor the conversation.

19   Q.     I'm just trying to, the way you said it is,

20   there's a belief that it's more secure, but is that

21   really true?

22   A.     Sometimes yes, sometimes no.

23   Q.     Okay.     Just so I'm clear, what all did you look

24   at to prepare for your testimony today?                 What were

25   you provided to review?


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 1   A.     I was provided a large amount of the

 2   conversations, I do believe all of them, the

 3   conversations from the platform, from the channel.

 4   Q.     And were you aware that those -- that the

 5   origin of those conversations came from a website

 6   where there were just maybe potentially snippets of

 7   a larger conversation?

 8   A.     Yes.

 9   Q.     Okay.     Would you agree with me that, in order

10   to determine what's being said or the meaning of

11   things, context does matter?

12   A.     Of course.

13   Q.     And listening to an entire conversation gives

14   you more context than just a portion of it.

15   A.     Of course.

16                  MR. WHALEN:     I will pass the witness.

17                  THE COURT:     Redirect.

18                  MS. MEEKS:     Thank you, Your Honor.

19                         REDIRECT EXAMINATION

20   BY MS. MEEKS:

21   Q.     Dr. Vidino, the defense asked about other users

22   being on the channel.          Can you tell from the context

23   of the defendant's statements whether he was talking

24   to someone?

25   A.     He was, most of the time, yes, absolutely.                  And


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 1   of course even the long sermons was obviously

 2   intended for an audience.

 3   Q.     And the people that there were certain -- that

 4   we had read, and certainly there are other questions

 5   from other users in those transcripts, what does

 6   that show you with the questions that were asked of

 7   the defendant?

 8   A.     The interaction was very frequent.               There was

 9   an expectation that the Q and A would go on, and the

10   relationship was that people looked up to the

11   defendant.       As I said, it wasn't a two-way street,

12   it was always people asking him questions.                  I don't

13   think I've seen a single occasion where it is the

14   defendant who asks questions to somebody else.

15   Q.     And he was often called sheikh?

16   A.     Yes.

17   Q.     What would that mean to you?             How would you get

18   that title, "sheikh"?

19   A.     It is a title who is given to somebody who is

20   particularly knowledgeable and wise.                It's -- again,

21   it entails a relationship of subordination.                  You

22   refer to sheikh as somebody who is above you and

23   whose wisdom you rely upon.

24   Q.     So someone you would presumably have listened

25   to.


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 1   A.     Absolutely.

 2   Q.     And you had talked a little bit about the

 3   encrypted applications.           Do you typically see that

 4   when conversations go operational -- and please

 5   describe what you mean by operational -- that they

 6   go to those other platforms?

 7   A.     Yes, that it is what normally happens when --

 8   these platforms, these channels, serve a variety of

 9   purposes.      There are always initial conversations

10   where people share propaganda, share thoughts, share

11   views.     And then, of course, at times the

12   conversation, particularly when two or more

13   individuals trust one another, they want to talk

14   about something more operational.               By operational I

15   mean mobilizing; I mean finding ways to travel to

16   join ISIS; finding ways to carry out the attacks;

17   things that are more sensitive and the people who

18   are active on these platforms know will be

19   incriminating and attract even further attention

20   from law enforcement.          So what happens is, these

21   individuals move the conversations to other

22   platforms that they believe to be more difficult for

23   law enforcement to monitor.

24          Now, of course, there are some individuals who

25   are extremely savvy in how they move from one


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 1   platform to the other, and others are not as clever,

 2   as slick, but that's generally the modus operandi.

 3   Q.     So when there is a reference to moving to the

 4   private, is that what you believe that to indicate?

 5   A.     Yes, that's exactly what it means.

 6   Q.     The people that are in the room, the defense

 7   had mentioned that they were like-minded, and you

 8   had talked about spectrum of folks who would be

 9   listening.

10          Do you see any of them as susceptible to

11   influence or seeking information based on what you

12   had seen?

13   A.     There are quite a few that are asking

14   questions.       Again, very, very clearly already ISIS

15   sympathizer, they are not really in doubt.                  But, of

16   course, like anything, one can be a supporter of

17   something to some degree, or one can be a diehard

18   supporter of something.

19          Clearly, these individuals who are less

20   enthusiastic are asking questions.                They are more in

21   the beginning of a radicalization trajectory and

22   they ask questions, and the defendant is the one --

23   him and a few others providing the answers.

24   Q.     So when you've seen recruitment efforts in your

25   studies and your experience, does recruitment


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 1   involve motivating?

 2   A.     Yeah, absolutely.         That's a big component.

 3   It's coaching, it's handholding, it's motivating in

 4   different ways, because, of course, no two people

 5   are alike.       So somebody would be more triggered by

 6   something, by a more softer approach.                 Somebody else

 7   might be more motivated by almost egging him on.

 8   Psychology is a big part of it, but that's how

 9   recruitment works.         It's to some degree -- I mean a

10   lot of studies find the similarities with grooming

11   online with pedophiles or other dynamics.                  You try

12   to create the bond.          You try to find what is the key

13   to motivate the person, and you try to push that

14   person in a certain direction.                That's basically how

15   these platforms work.

16   Q.     So would you consider a recruiter different

17   than a keyboard warrior?

18   A.     In the sense that what he is trying to achieve

19   is then move the target of his recruitment effort

20   into doing something in the physical world, moving

21   him to mobilize, moving him to travel, to carry out

22   attacks.       The online space is always linked to the

23   offline space.        One goes -- what happens online is

24   basically done to achieve something in the offline.

25   Q.     Okay.     One of the things that was mentioned is


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 1   this channel is unique, outside the norm.                  In what

 2   ways?

 3   A.      I would say in the size of the individuals

 4   involved in it.

 5   Q.      Do you mean the membership size?

 6   A.      Yeah.    If I compare it to other channels,

 7   generally it's in the few-hundred individuals that

 8   are part of it; here, the size seems to be much

 9   bigger.      And then in -- yeah, the level of

10   sophistication, and I mean by that, both have sort

11   of a formalized structure in it.               It's not the only

12   case I have seen, but, generally speaking, you don't

13   see it.

14           And in the level of knowledge that the

15   defendant and a few other people have, they know

16   what they are talking about.             Sometimes, in

17   particular in a U.S. setting, a lot of ISIS

18   sympathizers really have very limited knowledge of

19   ISIS, even of Islam in many cases.                And I think in

20   this case it's quite different, there's a fairly

21   deep knowledge of all these dynamics.

22   Q.      And one of the things you were asked from the

23   defense also is that traveling from Turkey into

24   Syria was most common, but people do travel from

25   other locations; is that right?


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 1   A.     Yes.    There's been people that have traveled

 2   from Lebanon, from Jordan, and a smaller number from

 3   the Kurdish areas of Iraq.

 4   Q.     Why would a person choose to travel from Jordan

 5   or Lebanon or those other areas?

 6   A.     Most of those that travel from Jordan or

 7   Lebanon are Jordanian or Lebanese.                So if you are in

 8   Jordan, which is a country that borders with Syria,

 9   it makes more sense.          You know the smuggling routes.

10   Even the Jordanian government has patrolled the

11   border between Jordan and Syria in a much better way

12   to know than the Turks have done for their on

13   border, any border can be crossed at the end of the

14   day.     So particular individuals who are local, from

15   Jordan, have found ways to cross the border.                   In

16   fact, Jordanian government estimates about 3,000

17   Jordanians have crossed the border and joined ISIS

18   from Jordan.

19   Q.     So if a person was more familiar with Jordan

20   than Turkey, that might be a more logical choice.

21   A.     It might be, yeah.

22   Q.     And in your expert opinion, was the defendant,

23   in his statements and his actions, attempting to

24   recruit and radicalize for ISIS?

25                 MR. WHALEN:      Objection, Your Honor.


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 1                  THE COURT:     Okay.     Why?

 2                  MR. WHALEN:     I think it goes to the

 3   ultimate issue, Your Honor.

 4                  THE COURT:     And your response?

 5                  MS. MEEKS:     The response would be, it's

 6   not the defendant's intent that is being elicited

 7   here, it's one of the actions that were consistent

 8   with that of recruitment.

 9                  THE COURT:     Okay.     Overruled.

10   Q.     (By Ms. Meeks)        In your expert opinion, were

11   the actions and statements made by the defendant

12   consistent with recruitment efforts for recruitment

13   and radicalization for ISIS?

14   A.     Yes, very much so.

15                  MS. MEEKS:     Okay.     Thank you.

16                  THE COURT:     Mr. Whalen.

17                          RECROSS-EXAMINATION

18   BY MR. WHALEN:

19   Q.     We talked about, you know, they all come in,

20   they are all already -- they already have some

21   sympathy, correct?

22   A.     Okay.

23   Q.     And you mentioned it's kind of like the avid

24   fan versus the casual fan?

25   A.     Sort of, yes.


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 1   Q.     Is that kind of how you described it?

 2   A.     Yeah.

 3   Q.     Here's the way I understand that:               I love Penn

 4   State football because I went to Penn State, so I

 5   love Penn State football.            But there's also Penn

 6   State football fans that can tell you the depth

 7   chart, where we're weak, what plays are run, right?

 8   Because they study it.           But it doesn't change the

 9   fact that we are both equally fans.                Would you agree

10   with that?

11   A.     Yeah, sort of.

12   Q.     And the information that you talk about that he

13   says he has a lot of knowledge about, that

14   information is all readily available on the

15   Internet, in the Quran, and in multiple sources.

16   Would you agree with that?

17   A.     Not in the Quran, specifically; in ISIS

18   propaganda, yes.

19   Q.     You can find it.

20   A.     You can find it in other places, yes, of

21   course; yes.

22   Q.     And obviously, your organization puts papers

23   out that people can read and study those and

24   understand the dynamics of what goes on in the

25   world, correct?


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 1   A.     Sure, yes.

 2   Q.     And if you have the interest, you can find it.

 3   Would you agree with that?

 4   A.     Yes, of course.

 5   Q.     Now, getting to this other question about a

 6   keyboard warrior could say -- could type the same

 7   thing, just like somebody who may have the intent to

 8   say the same -- to recruit people, the words on the

 9   paper are going to be the same, correct?

10   A.     Correct.

11   Q.     Okay.     But you can't determine what's in a

12   person's head, can you?

13   A.     No, of course not.

14                  MR. WHALEN:     All right.       I will pass the

15   witness.

16                  THE COURT:     Anything else?

17                  MS. MEEKS:     No further questions, Your

18   Honor.

19                  THE COURT:     You may step down.

20                  May this witness be excused?

21                  MS. MEEKS:     Yes, Your Honor.

22                  MR. WHALEN:     Yes, Your Honor.

23                  THE COURT:     Dr. Vidino, please remember

24   not to talk about the case until it's over.                  Okay?

25                  Thank you very much.


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 1                 Call your next witness.

 2                 MS. MARTIN:      Yes.     The government calls

 3   Marshal Major Cristiano Napoletano.

 4                 THE COURT:      Okay.

 5                 Who is the witness?

 6                 MS. MEEKS:      Your Honor, this is the

 7   interpreter.

 8                 (Witness sworn.)

 9                 THE WITNESS:       I so swear.

10                 THE COURT:      Okay.     Okay.

11                 COURT SECURITY OFFICER:           Have him state

12   and spell his first and last name.

13                 THE INTERPRETER:        Cristiano Napoletano.

14   C-H-R-I-S-T-I-A-N-O, N-A-P-O-L-I-T-A-N-O.

15                 Your Honor, would you like me to put my

16   information on the record?

17                 THE COURT:      Would you like for her to put

18   her information on the record?

19                 MS. MARTIN:      Yes, Your Honor.         And would

20   you prefer to give her the interpreter's oath on the

21   record, as well?

22                 THE COURT:      Yes, yes.       I'm not used to

23   this, because I didn't know you were going to have

24   an interpreter.

25                 Raise your right hand.


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 1                 (Interpreter sworn to interpret from

 2   English to Italian and Italian to English.)

 3                 THE INTERPRETER:        I do.

 4                 THE COURT:      Go ahead and state your name

 5   and all about your background.

 6                 THE INTERPRETER:        Martitia,

 7   M-A-R-T-I-T-I-A, Palmer, registered with the

 8   Judicial Council of California, Number 700127.

 9                 THE COURT:      Okay.     And you're going to

10   need to have the microphone.

11                 THE INTERPRETER:        For French and Italian.

12                 THE COURT:      I'm going to need the

13   microphone close to you, because you will be the one

14   doing the talking.

15                 THE INTERPRETER:        That's fine.

16                 THE COURT:      All right.       As best we can.

17   All right.       Go ahead.

18                        CRISTIANO NAPOLETANO,

19   having been first duly sworn, testified as follows:

20                          DIRECT EXAMINATION

21   BY MS. MARTIN:

22   Q.     Can you tell us where you work?

23   A.     I work at the Special Organizational Group of

24   the Carabinieri, C-A-R-A-B-I-N-I-E-R-I.                 This is

25   Special Group of the Carabinieri was founded in


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 1   1974.     And the reason it was created was to prevent

 2   and go after the terrorist groups that at the time

 3   were called the Red Brigades.             And there was a lot

 4   of violence in these groups in Italy.                 So this

 5   special law enforcement organization was formed to

 6   combat this terrorism.

 7                 THE COURT:      Ask another question.

 8                 MS. MARTIN:      Yes, Your Honor.

 9   Q.      (By Ms. Martin)       Now, what is the Carabinieri?

10   What is the Italian Carabinieri?

11   A.      So there are the police and the Carabinieri,

12   these two different law enforcement agencies that

13   have been created to prevent and to enforce the laws

14   and to go after any kind of crime.

15           So the Carabinieri have a more military focus,

16   whereas the police is more -- is considered to be

17   more civil matters.

18   Q.      Now, what group within the Carabinieri are you

19   assigned to?

20   A.      So I'm in the Antiterrorism Group of the

21   Carabinieri, and I deal specifically with

22   antiterrorist activities with particular focus on

23   all the investigations on the internet.

24   Q.      Let me ask another question.

25           Are you a member of the ROS?


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 1   A.     Yes.

 2   Q.     What does that stand for?

 3   A.     The Raggruppamento Operativo Speciale , so it's

 4   a special operational group.

 5   Q.     You said you focus on internet and technology.

 6   A.     Yes.

 7   Q.     And how long have you been doing that?

 8   A.     Fifteen years.

 9   Q.     In your position with the Carabinieri and the

10   ROS, did you become involved in an investigation in

11   2016 of an individual named Monour el Aoual?

12   A.     Yes.

13                 THE COURT:      Could you spell that name?

14                 MS. MARTIN:      Yes, ma'am.        M-O-N-O-U-R,

15   E-L, A-O-U-A-L.

16                 THE COURT:      Okay.     Thank you.

17   Q.     (By Ms. Martin)        How did you first learn about

18   this individual?

19   A.     The FBI had sent some news about him, some

20   information to our special antiterrorist group.

21   Q.     And based on that, did you open an

22   investigation of your own?

23   A.     Yes.

24   Q.     When you first learned about this, did you know

25   his actual name?


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 1   A.     No.

 2   Q.     What name did you know him as?

 3   A.     Ibn Dawla.

 4                  THE COURT:     Can you spell that?

 5                  MS. MARTIN:     Yes.     I-B-N, D-A-W-L-A;

 6   sometimes H.

 7   Q.     (By Ms. Martin)        So you knew this individual as

 8   Ibn Dawla.

 9   A.     I knew from the information the FBI had

10   provided us with that this individual named

11   Ibn Dawla was planning some kind of terroristic

12   attacks.       At that point we thought it was with

13   knives.

14   Q.     And did you begin to try to identify the

15   individual?

16   A.     Yes.

17   Q.     How did you begin to identify him?

18                  THE COURT:     Can we find out when?

19   Q.     (By Ms. Martin)        When?

20   A.     In February of 2016.

21   Q.     And what did you do to try to identify him?

22   A.     FBI had already told us, apart from the name

23   Ibn Dawla, that he was on a chat room named Zello.

24   Zello is a communication app where the various users

25   of Zello are able to speak among themselves.


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 1   Q.     Did you, as part of your investigation, start

 2   looking into IP addresses?

 3   A.     Yes, because we found the email that was used

 4   by Ibn Dawla, and we also were able to discover some

 5   of the IP addresses.          And so these particular emails

 6   corresponded to the IP address, so we knew it

 7   belonged to Ibn Dawla.           And that particular address

 8   was Salah, S-A-L-A-H, 1998 D, like D, at Gmail.com.

 9   Q.     Now, Marshal Major Napoletano, you have

10   testified in courts before; is that correct?

11   A.     No.

12   Q.     Have you testified in Italy?

13   A.     Not on this case and not on this case in court.

14   Q.     What about other cases?

15   A.     Oh, yes.

16   Q.     And when you testify in Italy, is it more of a

17   running narrative?

18   A.     It's more like an interrogatory.

19   Q.     Okay.     And so I'm just going to ask that you

20   let me ask a question before you continue with the

21   narrative.

22   A.     Okay.

23   Q.     Once you identified the IP addresses, what did

24   you do next?

25   A.     Well, the IP address led back to a particular


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 1   residence in Turan.

 2   Q.     Who lived at that residence in Turan?

 3   A.     A 50-year-old lady lived at that address in,

 4   Turan.     Margherita, M-A-R-G-H-E-R-I-T-A, Scarano,

 5   S-C-A-R-A-N-O.        And her son, Franceschini --

 6   Giuliano Franceschini, G-I-U-L-I-A-N-O,

 7   F-R-A-N-C-E-S-C-H-I-N-I.

 8   Q.     And when you learned who lived there, what did

 9   you do next?

10   A.     We continued to do research on his profile and

11   who this man was, Ibn Dawla, on FaceBook as well.

12   And that profile also corresponded to the name

13   Saladin, S-A-L-A-D-I-N.

14   Q.     And where did you find the name Saladin?

15   A.     Saladin was also connected with Saladino, with

16   an "O" ending, who was a Kurtish fighter, who was a

17   fervent crusader, who fought during the crusades.

18   Q.     Now, did you link that name to any specific

19   FaceBook profiles?

20   A.     I'm not sure I understood the question.

21   Q.     You said you had an email and you linked it

22   with FaceBook profiles.

23   A.     Certainly, yes.

24   Q.     Was that name, Saladin, was that common between

25   the FaceBook profile and the email?


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 1   A.     Yes, because the first part of the email was

 2   Salah, S-A-L-A-H, and then 1998, which is the date,

 3   and then the "D" could have been an initial for Din,

 4   D-I-N.

 5   Q.     Was the date in 1988 significant?

 6   A.     It's 1988.

 7   Q.     I'm sorry.      Was that date significant?

 8   A.     We were able to connect it up with the date of

 9   birth of el Aoual Monour.

10                 THE COURT:      Could you spell that?

11                 THE INTERPRETER:        Do you mind?

12                 MS. MARTIN:      Not at all.

13                 THE COURT:      Does she know how to spell it?

14                 MS. MARTIN:      Yes.     He's just saying the

15   last name and first name.

16                 THE COURT:      Would you spell it, please?

17                 MS. MARTIN:      Yes.     The last name is E-L,

18   A-O-U-A-L.       And the first name is M-O-N-O-U-R.

19   Q.     (By Ms. Martin)        Were you able to -- how were

20   you able to link Mr. el Aoual with that address?

21   A.     As I said before in the profile, in his

22   profile.      So in the Saladin profile, they had posted

23   a picture of el Aoual Monour together with Giuliano

24   Franceschini.        And we had checked on Giuliano

25   Franceschini in February of 2016 to get -- who was


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 1   together with a Moroccan citizen who had been

 2   identified as el Aoual Monour.

 3   Q.     Okay.     And once you had connected that

 4   together, were you able to determine where el Aoual

 5   was living?

 6   A.     Certainly.      Together with my colleagues in

 7   Turan, we were able to put it under surveillance

 8   outside the house where he lived where we were able

 9   to see el Aoual Monour come out of the Scarano home

10   at least on two occasions.

11   Q.     Did you at any point put up a pole surveillance

12   on the home?

13   A.     Yes, we were -- we also put a video camera on a

14   pole also while we were doing the undercover

15   surveillance and the wiretapping for which we had

16   official orders.         Because there was an antidrug

17   center right in the area, we weren't able to put any

18   more cameras than that.

19   Q.     But you did have one camera on the residence.

20   A.     Yes, yes.

21   Q.     And you had mentioned some wiretaps.                Were you

22   able to wiretap the residence where they lived?

23   A.     Yes.    Yes, we did wiretap the residence.

24   Q.     And what kind of phone or phone line were they

25   using at the residence?


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 1   A.      Yes, they were -- yes, it was a fixed DSL line

 2   that was wiretapped.

 3   Q.      And so were you able to collect information

 4   from the internet traffic as well?

 5   A.      Yes, and we also wiretapped the internet.

 6   Q.      How do you start -- or how do you go about

 7   getting an official order for a wiretap in Italy?

 8   A.      In order to have a wiretap order in Italy, you

 9   have to have very strong proof that there's a crime

10   about to be committed or a crime underway.                  Because

11   the free -- the freedom of information across

12   communicative lines is guaranteed in the Italian

13   Constitution, which we consider the mother of all

14   laws.

15   Q.      Who determines whether or not you have the

16   evidence you need?

17   A.      We present a request to the Prosecutor of the

18   Republic, and he evaluates if it is worthy of

19   receiving an order to wiretap and whether -- and

20   once he or she establishes that the conditions are

21   correct, they send -- he sends it on or she sends it

22   on to the preliminary judge of -- the preliminary

23   investigation judge, which is another important

24   figure within the judicial establishment.                  And that

25   judge also evaluates if any citizens' rights have


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 1   been violated.        And if it is -- it's on a premise

 2   that is completely legal.

 3   Q.     Okay.     Now, once that has been evaluated -- or

 4   in this case, was that information evaluated?

 5   A.     Yes.

 6   Q.     And was an order issued?

 7   A.     Oh, yes, yes.

 8   Q.     And how many days initially were you approved

 9   for the wiretap?

10   A.     From February of 2016 until April of 2017.

11   Q.     Did you have to go back and get more permission

12   from the judge?

13   A.     Yes.     The first request can last up to 40 days,

14   and then you can continue requesting a 20-day

15   extension over and over.            And you have to respect

16   the same conditions and terms of the initial

17   request.

18   Q.     Now, once that request was granted, where is

19   the information collected?

20   A.     In Italy, all the content of any wiretapping

21   are reserved only in the prosecutors's office, the

22   Prosecutor of the Republic, on their private

23   servers.       And they are not accessible to anybody

24   unless you have a judicial order.

25   Q.     Now, you say that they are not accessible, but


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 1   are you able to listen to them?

 2   A.     Yes, we are able to listen to them, and then to

 3   take down any conversations that are pertinent.                    But

 4   you can't modify the content in any way whatsoever.

 5   Q.     Where are you physically located?

 6   A.     In Rome.

 7   Q.     Do you have ROS officers or agents in Turan?

 8   A.     Yes.    Yes, we have a branch in Turan; in fact,

 9   in most major cities in Italy.

10   Q.     Were you both able to listen to the wiretap as

11   it came in?

12   A.     We could listen to them both at the same time.

13   And since we were the ones to ask for the extensions

14   to the prosecutor in Rome, we would double-check all

15   of the wiretaps, and -- which were then sent to the

16   prosecutor, who would give us a 20-day and another

17   20-day extension.

18   Q.     Now, what about the video footage?               Were you

19   also able to review of the video footage where you

20   were in Rome?

21   A.     Yes.

22   Q.     And I'm talking specifically about the DSL

23   wiretap.

24   A.     Yes.

25   Q.     Were you able to capture any audio or


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 1   conversations involving Monour el Aoual?

 2   A.     Yes.

 3   Q.     How were you are able to capture those?

 4   A.     Because they were all conversations that took

 5   place on that wiretapped line, and the only person

 6   that was speaking in Arabic was el Aoual Monour.

 7   Q.     Was he on the phone in the apartment?

 8   A.     He had nothing that was in his own name, and so

 9   he would use the phone in the home that belonged to

10   Margherita Scarano to receive communication and to

11   talk to people.

12   Q.     Would he also use a cell phone?

13   A.     He would -- he would connect -- use the cell

14   phone to connect to the DSL for the wireless.

15   Q.     So he would use WiFi to talk on the phone?

16   A.     Yes, which was in -- the WiFi was connected to

17   the DSL at the home.

18   Q.     I believe you testified that the FBI gave you

19   information about Ibn Dawla initially.

20   A.     Yes.

21   Q.     And so were they able to provide you with the

22   social media application Ibn Dawla or el Aoual was

23   using?

24   A.     Yes, they informed me that he was in contact

25   with other people on Zello.


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 1   Q.     Once you obtained your wiretap, were you able

 2   to intercept his conversations on Zello?

 3   A.     Yes.

 4   Q.     Now, when the FBI proceeded with their case

 5   here in the United States, were you able to share

 6   information between your two agencies?

 7   A.     We did share some things.

 8   Q.     And at some point, did the FBI, through a

 9   mutual legal assistance treaty, request your

10   evidence from your wiretap?

11   A.     Yes.

12   Q.     And is that up to you whether or not that

13   request is granted?

14   A.     No, it's the prosecutor that always gives

15   permission to exchange information according to the

16   treaty.

17   Q.     And how do you know whether that happens?

18   A.     Yes, I know, because a request was made, and it

19   was sent to the prosecutor in Turan.

20   Q.     Does the Court have to order that request be

21   granted?

22   A.     Yes.

23   Q.     Was that done in this case?

24   A.     Certainly.

25                 MS. MARTIN:      Your Honor, may I approach


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 1   the witness?

 2                 THE COURT:      You may.

 3   Q.     (By Ms. Martin)        Marshal Major Napoletano, I

 4   have handed you what's been marked as Government's

 5   Exhibit 70.

 6   A.     Yes.

 7   Q.     Do you recognize that?

 8   A.     Yes.    Yes, and you can see on the back it also

 9   has -- it states that it's the Prosecutor of the

10   Republic and the Court of Turan and the name of the

11   prosecutor in Turan.          And those are the wiretaps of

12   el Aoual Monour during the whole proceeding.

13   Q.     And is that all contained on that hard drive?

14   A.     Yes.

15                 MS. MARTIN:      Your Honor, I believe that

16   this exhibit is already admitted for record

17   purposes.

18                 THE COURT:      It's admitted for record

19   purposes.      Is it admitted for all purposes now?

20                 MS. MARTIN:      I would move to admit it for

21   all purposes now.

22                 THE COURT:      Mr. Whalen?

23                 MR. WHALEN:      Your Honor, we would just

24   object in that it be admitted for just record

25   purposes.


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 1                 THE COURT:      Do you need it for more than

 2   record purposes?

 3                 MS. MARTIN:      Your Honor, subsequent

 4   exhibits were taken from that hard drive that we

 5   would move to admit for all purposes.                 If that

 6   occurs, record purposes is okay with the entire hard

 7   drive.

 8                 THE COURT:      Why do you need it for all

 9   purposes?      I mean, you want it for record purposes,

10   and I agree with that, but you want it for all

11   purposes or record purposes?

12                 MS. MARTIN:      Your Honor, could we revisit

13   it after I have attempted to admit the other

14   exhibits?

15                 THE COURT:      Yes.    So we're going to admit

16   it for record purposes.           It's in for record purposes

17   right now.

18                 MS. MARTIN:      Thank you, Your Honor.

19   Q.     (By Ms. Martin)        Does that contain all the

20   evidence from your investigation?

21   A.     Yes.

22   Q.     Were you able to help narrow down specific

23   sessions that we were interested in here in the

24   United States?

25   A.     Yes, with the following order, successive


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 1   order, those were extracted.

 2   Q.     From that evidence.

 3   A.     Yes, from the server that belonged to the

 4   prosecutor and then from here.                Because this is the

 5   same as what's in the prosecutor's office.

 6   Q.     Have you -- is all the audio in Arabic?

 7   A.     Yes, but -- most of it, yes, the majority.

 8   Q.     Does el Aoual also speak Italian?

 9   A.     Very badly.       And he would speak it mostly with

10   Franceschini and maybe a few other friends of

11   Franceschini's.        That was about it.

12   Q.     Were you able to come to recognize the voice of

13   Ibn Dawla on the wiretaps?

14   A.     It's not that I could really hear it, because

15   it's in Arabic.        But Arabic linguists listened to

16   it, and then they translated and it is recorded,

17   they transcribe it.

18   Q.     And they translated it.           Did you read the

19   summaries of those translations?

20   A.     Yes.    Yes.    They were also rechecked and

21   double-checked, and then sent to the prosecutor's

22   office in Rome.

23   Q.     Well, if you don't speak Arabic, how did you

24   know that Monour el Aoual was the Ibn Dawla on the

25   recordings?


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 1   A.     Because during the wiretapping, el Aoual Monour

 2   in February of 2016, during a conversation he was

 3   having on Zello, which was more of a prayer rather

 4   than a chant, where he was greeting all of his

 5   friends, it was a kind of a poetry-type chant,

 6   saying that they would meet all again in paradise.

 7          He says he's outside on the balcony of the home

 8   where he's living.         He was very afraid, he said, of

 9   being called -- that the police would be called,

10   because if he was heard by his neighbors they might

11   call the police.

12          But he was also celebrating the danger that he

13   found himself in.         And at that particular moment,

14   the video camera that was placed right in front of

15   the residence has pictures of el Aoual Monour who is

16   on the phone.        It was about 10:00 in the evening,

17   and you can see that the telephone is on.

18   Q.     Was -- did anyone else in that apartment speak

19   Arabic?

20   A.     Nobody else.

21   Q.     So the Arabic coming on that line had to be

22   from Monour el Aoual.

23   A.     Undoubtedly.

24   Q.     I believe that you mentioned that there was

25   some pole camera footage.            In front of you I have


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 1   handed you what has been marked as Government's

 2   Exhibit 72.

 3   A.      Yes.     That's -- that's the residence I

 4   described.

 5   Q.      Is that an accurate depiction of the pole

 6   camera footage as you have reviewed it?

 7   A.      Yes, yes.

 8   Q.      Have any changes or alterations been made to

 9   it?

10   A.      No.

11                   MS. MARTIN:    Your Honor, at this time the

12   government would move to admit Government's Exhibit

13   72.

14                   THE COURT:    Mr. Whalen.

15                   MR. WHALEN:    No objection.

16                   THE COURT:    72 is in.

17                   MS. MARTIN:    Your Honor, may we publish

18   that?

19                   THE COURT:    Yes.

20   Q.      (By Ms. Martin)       Marshal Major, is this the

21   pole camera footage you were referring to earlier?

22   A.      Yes.

23   Q.      And in the top center of that photograph, what

24   are we looking at?

25   A.      We see the residence where el Aoual Monour was


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 1   living.       And we also see that the phone is on and

 2   that he is chanting or singing in some way while on

 3   the phone.

 4   Q.     And is this the photograph that you were

 5   talking about that matched up with the wiretap?

 6   A.     Yes.     Yes, everything corresponds, the dates

 7   and the times.

 8   Q.     Now, if you will take a look -- that's good.

 9   Thank you.

10          If you will take a look at Exhibit 71 that's

11   also in front of you.          What are those?

12   A.     These are profiles of -- photographs of Zello

13   users and specifically of the Caliphate, the -- the

14   Islamic State.

15   Q.     And when you say that, are you talking about

16   the State of the Islamic Caliphate channel?

17   A.     Yes.

18   Q.     And did you obtain those as part of your

19   investigation?

20   A.     Yes.

21   Q.     And were those included in the evidence you

22   produced or that the Italian government produced?

23   A.     Yes.

24                  MS. MARTIN:     Your Honor, at this time the

25   government moves to admit Government's Exhibit 71.


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 1                 THE COURT:      Any objection?

 2                 MR. WHALEN:      Objection as to predicate,

 3   Your Honor.

 4                 THE COURT:      Overruled.       71 is in.

 5                 MS. MARTIN:      Your Honor, may we publish?

 6                 THE COURT:      Yes, you may.

 7   Q.     (By Ms. Martin)        What do we see here in the

 8   first page of Exhibit 71?

 9   A.     Yes.

10   Q.     If we can see page 2.

11          Is this also a profile picture?

12   A.     Yes.

13   Q.     What is this a picture of?

14   A.     This is al-Adnani, A-D-N-A-N-I.

15   Q.     And who is al-Adnani?

16   A.     He was the official spokesman for the Islamic

17   State.

18   Q.     If we can see page 3, please.

19   A.     That's Osama bin Laden.

20   Q.     Was that also a profile picture on Zello?

21   A.     Yes.

22   Q.     Who is Osama bin Laden?

23   A.     He was the founder, as well as the -- as the

24   head of Al Qaeda.

25   Q.     Proceed to the next one.


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 1          Is that another profile picture?

 2   A.     Yes.

 3   Q.     And what do you see in the top right corner of

 4   that picture?

 5                 THE COURT:      Just so I'm clear, where are

 6   these profile pictures from?

 7   Q.     (By Ms. Martin)        Where are these profile

 8   pictures from?

 9   A.     These are the -- are the photos of the users of

10   Zello.     They were taken from Zello.

11                 THE COURT:      Okay.     And in 2016?

12                 THE WITNESS:       Yes.

13   Q.     (By Ms. Martin)        In the top right corner, what

14   do you see there?

15   A.     This is the flag of the Islamic State.

16   Q.     If we could see the next one, please.

17          Do you know who that is?

18   A.     No, but it's obviously an Islamic State

19   militant or fighter.

20                 THE COURT:      On that note, Ms. Martin, I'm

21   going to go ahead and let the jury have their

22   afternoon break.         We've been going for two hours

23   now.     So we will break for 15 minutes.              Be back here

24   at ten till four.

25                 And remember, please don't talk about the


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 1   case.     Don't look at anything about the case.                Don't

 2   breathe anything about the case.               Just talk about

 3   anything else.        All right.

 4                  (Jury exits courtroom.)

 5                  THE COURT:     Do you need me for any reason?

 6                  MS. MARTIN:     No, Your Honor.

 7                  THE COURT:     All right.

 8                  (Recess taken.)

 9                  THE COURT:     Let's continue with the direct

10   examination of this witness.

11                  MS. MARTIN:     Thank you, Your Honor.

12                  If we could see the next page.

13   Q.      (By Ms. Martin)       Marshal Major, what is this?

14   A.      This is another Zello user.            It's his profile.

15   Q.      And what is the top center, what is that

16   circle?

17   A.      It's the symbol of the Islamic State.

18   Q.      What about in the bottom portion of the page,

19   what is that?

20   A.      It's a kind of an armament of some kind, and

21   you can see a bullet coming out of that rifle.

22   Q.      Does the bullet have red on the end of it?

23   A.      Yes.

24   Q.      What does that represent?

25   A.      It could be blood.


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 1   Q.     Next one.

 2          What is this?

 3   A.     That's the image of the Caliphate room.

 4   Q.     And so you see the Zello logo in the top right

 5   corner?

 6   A.     Yes.

 7   Q.     And then, again, on the left half, what do we

 8   see?

 9   A.     It's the same.        It's a symbol of the Islamic

10   State.

11   Q.     And on the bottom do we see 4861?

12   A.     Yes.

13                 THE COURT:      Is it 4861?       Yes, it is.

14   Q.     (By Ms. Martin)        What does that indicate to

15   you?

16   A.     Probably it's the number of participants in

17   that particular chat room.

18   Q.     If we could see the last page, please.

19          And what is this?

20   A.     It's another profile of a Zello user.

21   Q.     And does he have some kind of mask on?

22   A.     Yes.

23                 MS. MARTIN:      Thank you.

24   Q.     (By Ms. Martin)        Marshal Major, also in front

25   of you is Exhibit         -- Government's Exhibit 73.


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 1          Can you tell the jury what that is?

 2   A.     So this is the administrator, the creator of

 3   the chat room for the Islamic State on Zello.

 4   Q.     And that's his page?

 5   A.     Basically it's the photo of his profile.

 6   Q.     And did you view that in evidence, in what you

 7   collected as evidence?

 8   A.     Yes.    Yes.

 9   Q.     And is that in the same or substantially the

10   same form it was when you collected it?

11   A.     Yes; yes, exactly.

12                 MS. MARTIN:      Your Honor, at this time I

13   would move to admit Government's Exhibit 73.

14                 THE COURT:      I'd like to know how he knows

15   that, how he knows that that's the symbol of the

16   Caliphate or whatever.

17                 THE WITNESS:       Yes, because I recognize

18   that as the symbols of the declaration of faith and

19   the stamp of Mohammed, and those symbols have been

20   usurped and taken over by the Islamic State.

21                 THE COURT:      Okay.     But what individual has

22   it, or is it assigned to an individual?

23                 THE WITNESS:       In this particular case, the

24   administrator, the user who created this profile,

25   used it as his symbol for his profile.


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 1                  THE COURT:     Okay.     Mr. Whalen, any

 2   objections?

 3                  MR. WHALEN:     Yes, as to predicate, Your

 4   Honor.

 5                  THE COURT:     I overrule.       I'm going to

 6   allow 73 into evidence.

 7                  MS. MARTIN:     Publish, Your Honor?

 8                  THE COURT:     Yes.

 9   Q.      (By Ms. Martin)       And is this what it looks like

10   coming in on a device, some type of phone?

11                  THE INTERPRETER:       Coming in on a phone?

12   Q.      (By Ms. Martin)       Is this image the image of

13   what a phone looks like on a Zello application?

14   A.      Yes.

15   Q.      And I believe you said this was the creator's

16   page?

17   A.      Yes.

18   Q.      And what do we see right here near the bottom?

19   It says "Sito web."          What is that?

20   A.      This is an address that was created by the

21   administrator of that site, of that website.

22   Q.      And in your investigation, did you access this

23   link?

24   A.      Certainly.

25   Q.      What was on it?


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 1   A.     We were able to retrieve 73 documents, and many

 2   of them came from this media organization for the

 3   Islamic State.        And the name of that was El Wafa,

 4   and the document spoke of armed jihad.

 5   Q.     Now, was this link accessible to anyone?

 6   A.     Certainly.

 7   Q.     And it looks like you took this image on

 8   November 9th, 2016?

 9   A.     So that date represents the moment that that

10   user became a member.

11                 THE COURT:      What date?

12                 THE INTERPRETER:        November 9th, 2016.

13                 THE COURT:      Okay.

14                 THE INTERPRETER:        It's reversed in

15   Italian.

16                 THE COURT:      Okay.

17   Q.     (By Ms. Martin)        And was there more than one

18   version of the State of the Islamic Caliphate

19   channel?

20   A.     I'm not sure I understood.

21   Q.     I'll move on.

22          Let's talk about the other evidence you

23   provided to the FBI.

24          In addition to these images, did you also

25   provide audio recordings to the FBI?


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 1   A.     Yeah.     They're all contained there on the hard

 2   drive.

 3   Q.     And that was produced pursuant to a court

 4   order?

 5   A.     Yes.

 6   Q.     And you had summaries, transcription summaries

 7   prepared for you in your investigation?

 8   A.     Yes, and those were for the judicial

 9   authorities.

10   Q.     And in this case, were you provided in the U.S.

11   Attorney's Office transcripts related to those

12   audios?

13   A.     Yes.

14   Q.     And those were prepared by the FBI linguist?

15   A.     Yes.

16   Q.     But were those interpreted for you?

17   A.     Yes.

18   Q.     And were they consistent with your

19   investigation?

20   A.     Yes.

21                  MS. MARTIN:     Your Honor, at this time, the

22   government would move to admit the following

23   exhibits:       74, 75, 76, 77.

24                  THE COURT:     Okay.     74 -- 74, 75, 76.

25                  MS. MARTIN:     77, 78, 79, 80, 81, 82, 83,


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 1   84, 85, 86, 87, 88, 89, 90, 91, 92, 93, 94, 95, 96,

 2   97, 98, 99, 100, 101, 102, 103, 104, 105, 106 and

 3   107.

 4                   THE COURT:    Mr. Whalen?

 5                   MR. WHALEN:    Your Honor, can I take the

 6   witness on a brief voir dire?

 7                   THE COURT:    Yes, because I still don't

 8   know if these are tied in with either Mr.                  -- with

 9   our defendant or with the Italian guy.                 I just don't

10   know.     Go ahead -- Mr. Rahim.

11                        VOIR DIRE EXAMINATION

12   BY MR. WHALEN:

13   Q.      Good afternoon.

14   A.      And to you.

15   Q.      Okay.     Let me understand that the wiretaps that

16   you collected were in Arabic, correct?

17   A.      Yes.

18   Q.      Did you get them translated from Arabic to

19   Italian?

20   A.      Yes.

21   Q.      Okay.     So when you listened to the translations

22   in English, the English translation was then

23   translated back to Italian?

24   A.      Certainly.

25   Q.      And did you -- so then are you able to


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 1   identify -- verify that the English translation is

 2   correct to the translation that you heard?

 3   A.     Certainly.

 4   Q.     As it relates to these translations, do they

 5   connect to anybody by the last name of Rahim?

 6                 THE INTERPRETER:         I'm sorry, could you

 7   repeat that?

 8                 MR. WHALEN:      To the last name Rahim.

 9                 THE INTERPRETER:         Rahim.     Thank you.

10   A.     Yes.    There are conversations with respect to

11   him among the wiretapping.

12                 MR. WHALEN:      Okay.     That's all I have,

13   Your Honor.

14                 THE COURT:      All right.        What about the

15   Italian guy?       Let's ask about that.

16                    DIRECT EXAMINATION (CONT'D)

17   BY MS. MARTIN:

18   Q.     Marshal Major, these recordings were obtained

19   in your investigation of a user on Zello; is that

20   correct?

21   A.     Yes.

22   Q.     And what was his user name on Zello?

23   A.     Ibn Dawla.

24   Q.     The Ibn Dawla we've been talking about?

25   A.     Certainly.


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 1                 THE COURT:      Is that the Italian guy?

 2                 MS. MARTIN:      Yes, Your Honor.

 3                 THE COURT:      Okay.     Do you want to offer

 4   these?

 5                 MS. MARTIN:      Yes, Your Honor.

 6                 THE COURT:      All right.       Any objection?

 7                 MR. WHALEN:      No, Your Honor.

 8                 THE COURT:      All right.       74 through 107 are

 9   admitted.

10                 MS. MARTIN:      Thank you, Your Honor.

11   Q.      (By Ms. Martin)       If we could turn to

12   Exhibit 75, and the corresponding audio would be

13   Government's Exhibit 74.

14           The date on this transcript is November 28,

15   2016.     Participant, Ibn Dawla and an AIM.

16                 THE COURT:      And Ibn Dawla is the Italian.

17                 MS. MARTIN:      Yes, Your Honor.

18   Q.      (By Ms. Martin)       Line 7, Ibn Dawla says:           "I am

19   on the dialogue, my brother, but the committees have

20   gotten messed up, got messed up when our brother

21   Abu-Hamzah I mean was absent for a while."

22           And he continues in line 11:            "Therefore, the

23   brothers decided to renew, er, the committees and,

24   er, we suggested to them I mean to have a few Emirs

25   of committees.        Each committee had its own Emir and,


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 1   er, whoever wanted to talk had to look for this Emir

 2   or that Emir, so things got messed up and nobody did

 3   his work."

 4          Do you remember -- do you remember the

 5   committee as part of your investigation?

 6   A.     Yes.

 7   Q.     What types of committees did they have on

 8   Zello?

 9   A.     This is the Caliphate chat room.               It was

10   divided into three large divisions.                That would be

11   the dialogue sector and where there would be

12   information and media information and then the

13   administrative control sector.                And then in each of

14   these different sectors or divisions there would be

15   one or more administrators.

16   Q.     And when he uses the word "Emir," what is he

17   referring to?

18   A.     It's a title of respect.           So a sign of respect

19   towards somebody who is worthy of respect.                  So in

20   this case it could be the administrator.

21   Q.     Ibn Dawla continues on line 19:              "All is well

22   since the brothers spoke the day before yesterday or

23   three days ago.        I mean, we held a meeting and spoke

24   about the matter."

25                 THE COURT:      What's the date of this?


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 1                 MS. MARTIN:      Yes, Your Honor.         It's

 2   November 28th, 2016.

 3                 THE COURT:      Okay.

 4   Q.     (By Ms. Martin)        Does that indicate to you that

 5   more than one person is planning these meetings?

 6   A.     Yes.    Or at least that more than one person

 7   participated in that meeting.

 8   Q.     Would you turn to page 2?              This is AIM speaking

 9   on line 3:       "And I asked our brother Abu-Malik, and

10   he told me our brother Ibn Dawla will be in the

11   dialogue, of course he is the Emir of that

12   committee."

13          Is this the Ibn Dawla who is the subject of

14   your investigation?

15   A.     Yes.

16   Q.     And then Ibn Dawla responds in line 10:                 "Do

17   not forget that we need the media a lot; the media

18   more than coordination, because most of the channel

19   sessions should be informative, either speeches by

20   the sheikhs or by the news."

21          And then he continues:           "The media brothers

22   will be more...will be the highest because most of

23   us do not speak, so they can post news, photos or

24   links or anything."

25          Were you aware of any of the heads of the media


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 1   committee?

 2   A.     In one of the wiretaps, one of the heads of the

 3   media, one of the names that was mentioned was

 4   Angousha.

 5                 THE INTERPRETER:        A-N-G-O-U-S-H-A.

 6   Q.     (By Ms. Martin)        And if we continue on in line

 7   21:    "The dialogue committee, the media committee,

 8   these are very, very important committees.                  And also

 9   we do not forget the Shari'a brothers.                 These are

10   three committees, I mean, the channel cannot - would

11   not be able to move forward without them."

12          And then if you will turn to page 3, beginning

13   on line 16:       "And Angousha is supposed to be in the

14   dialogue."

15          Is this the Angousha that you were referring to

16   earlier that was also affiliated with the media

17   committee?

18   A.     Yes.

19   Q.     Now, if we could turn to Government's Exhibit

20   83.

21          And the date on this transcript is

22   February 4th, 2017, and it is Ibn Dawla.                 It begins

23   on line 6:       "Abu-Bakr al-Baghdadi, may God protect

24   him.     And I pledge allegiance to hear and obey him

25   in times of difficult and ease."


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 1          And then he continues on line 14:               "He is most

 2   deserving of being my Caliph, he earned the merit to

 3   be my Imam, and I pledged allegiance to him

 4   willingly, no one forced me."

 5          Who is Abu-Bakr al-Baghdadi?

 6   A.     Al-Baghdadi is the self-proclaimed head of the

 7   Islamic State, the one that practices terror.

 8   Q.     In your investigations in terrorism, are

 9   pledges of allegiance to him common?

10   A.     They are very common among terrorists.

11   Q.     If we could see Government's Exhibit 85.

12   Beginning on page 2, line 14.             I apologize.       The

13   date on this transcript is November 25th, 2016, and

14   the participant is Ibn Dawla.

15          And on line 14:        "Listen, listen good brother,

16   listen, it is not a matter of land," and there's

17   talking in the background, "or a matter of death, or

18   a matter of Sunna territory or Shiite territory.

19   You are talking about Syria when we want (laugh) we

20   want Medina, Mecca, and we want Jerusalem, and we

21   want, er, the house -- the White House and Rome, God

22   willing.      We don't want just Syria."

23          Do you believe him to be talking about Rome,

24   Italy?

25   A.     Certainly.


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 1   Q.     And what is he talking about?

 2   A.     That during the Syrian conflict, in this

 3   particular context, the Islamic State didn't only

 4   want to conquer Syria, they wanted to conquer -- and

 5   they still want to conquer -- all of the world, the

 6   whole world, and especially countries that they

 7   label as the unbelievers.

 8   Q.     What do you think the White House means?

 9   A.     The White House in Washington, the United

10   States White House.

11   Q.     If we could see Government's Exhibit 89,

12   please.

13          And the date on that transcript is

14   February 1st, 2017.          And the participant is

15   Ibn Dawla.       And on page 2, line 8, he says:

16   "Brothers, pardon me, I am worried about those

17   PalTalks...so the neighbors do not hear me.                  I swear

18   by God, if they hear me talking like this, the

19   police will be here in no time, I swear by God."

20          Is this the conversation that matches with your

21   surveillance?

22   A.     Yes.

23   Q.     And if we could see Government's Exhibit 99

24   please?

25          And the date on this transcript is December 14,


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 1   2016.     The participants are AA, Ibn Dawla, and then

 2   asir555666 referred to as AS.             And in 1, 11, AA

 3   says:     "I see, er, the excerpts of videos that have

 4   been released of the State's publications.                  Because

 5   the issue of electricity here is a little difficult.

 6   So how can I see -- follow the links that [UI] the

 7   State, the publications of the State?"

 8           Ibn Dawla responds in line 25:             "Let's hope

 9   that our brother, er, our brother Marsod comes and

10   God willing.       He will transfer you a link that is,

11   er -- that is, er, the one that is on YouTube

12   directly."

13           Do you often, in your investigation of

14   Ibn Dawla, the Italian subject, see them

15   transferring things by links or by photos?

16   A.      Yes.    And on a number of occasions he made

17   reference to videos that he had posted on YouTube.

18   Q.      And if we will continue on page 2.              That's

19   still Ibn Dawla.         And beginning at the end of line 2

20   he says:       "I hope to send you a link that downloads

21   so you can download it, God willing."

22           And then later on in this conversation,

23   Ibn Dawla says in line 12:            "It's not possible, it's

24   not possible, it's not possible.               They delete them

25   on YouTube.       The brothers post them for five minutes


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 1   or for two minutes before the video is discovered,

 2   and then it gets deleted."

 3          Do you know why the videos were being deleted?

 4   A.     Yes.    Because YouTube has internal policies,

 5   and when any kind of image represents some kind of

 6   crime, they are immediately taken down and canceled

 7   from the platform.

 8   Q.     Were you able to retrieve those videos that

 9   they are talking about here?

10   A.     No, because they were canceled, they were taken

11   down so quickly -- right afterwards.

12   Q.     Thank you.      Ibn Dawla continues on line 16:

13   "Do you have Telegram, man?             Do you have Telegram?

14   Download the Telegram app or stay with us here on

15   the channel, and I will give you instructions how to

16   receive all the links that -- that -- that come to

17   the channel."

18          Do your terrorism investigations often involve

19   Telegram?

20   A.     Yes, because it's an application that is used

21   almost exclusively by terrorists.

22   Q.     Why is that?

23   A.     Because the owners of Telegram or the

24   administrators have no policies in place to -- to

25   sensor in any way.


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 1   Q.     It continues in line 25:           "You have choices.

 2   The first choice should be 'yes,' and the second

 3   should be 'always.'          So whenever any of the media

 4   brothers send links, you will get a notification."

 5          Do you know what he's trying to show him how to

 6   do?

 7   A.     Yes.    He's explaining to him how to get the

 8   links as soon as they have been posted.

 9   Q.     And if you continue on page 3, line 3,

10   Ibn Dawla says:        "Now get on, go to the link that is

11   available on YouTube.          You don't need to download it

12   or do anything else.          Hurry.     Hurry before they

13   delete it, hurry brothers."

14          Is this the same link he was talking about

15   earlier?

16   A.     Yes.    Yes, it's a race against time to be able

17   to download it.

18   Q.     And then in the end, he continues at line 10:

19   "Go into the, er, on the link, it sends you to

20   YouTube so you will at least get the video on your

21   screen before it is deleted."

22          He's again trying to help this user of the

23   Zello platform get a video?

24   A.     Yes.

25   Q.     Is he talking about a video that YouTube is


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 1   going to delete quickly?

 2   A.      Yes.

 3   Q.      And in your experience, what does that tell you

 4   the video contains?

 5                   MR. WHALEN:    Objection, calls for

 6   speculation.

 7                   THE COURT:    Sustained.       Ask him again;

 8   maybe a better question.

 9   Q.      (By Ms. Martin)       Would there be any reason to

10   take just a video down from YouTube that didn't have

11   any problematic content?

12                   MR. WHALEN:    Objection, calls for

13   speculation, Your Honor.

14                   THE COURT:    Overruled.

15   A.      No.

16   Q.      (By Ms. Martin)       If we could see Government's

17   Exhibit 101 -- yes, 101, please.

18           The date on this transcript is November 29th,

19   2016.     And the speaker is Ibn Dawla.             And in line 18

20   Ibn Dawla says:        "Brothers! do you have Rawafid

21   around you?        If so, go get them.         Do you have Jews

22   around you?        If so, go get them.         Do you need money

23   to travel?        Take this money and make a bomb to

24   pulverize the Jews, pulverize the Nusayris, and

25   pulverize the Rawafid and the Secular, and the


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 1   worshipers of democracy.            Strike them."

 2          Do you recall this conversation from your

 3   investigation?

 4   A.     Yes.

 5   Q.     And in your experience, 15 years of

 6   investigating these types of crimes, what did you

 7   believe he was doing here?

 8                 MR. WHALEN:      Objection, calls for

 9   speculation.

10                 THE COURT:      Overruled.

11   A.     First of all, to kill all Jews, all of the

12   members of Jabata el Lucera (phonetic), all of the

13   apostates or unbelievers, all of the Shiites.

14   Q.     If we could look at page 2, beginning on line

15   6:    "Brothers, if they close the doors of

16   immigration on you, then open the doors of jihad on

17   them and may God reward you well."

18          And then he continues on line 14:               "Belgium,

19   France and America, with all their intelligence and

20   whatnot, were unable to do anything.                The Jihadist

21   were able to strike them in their own houses and

22   they were unaware of it.            And they did not even hear

23   the strike.       Imagine all this international

24   intelligence are the last ones to hear about the

25   news from the television.            I mean, the television


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 1   was faster than them.          May God reward.         Don't let

 2   them fool you or bully you.             May God reward you

 3   well.     Their strong men are gay, their men are gay,

 4   they fight for false leaders while you fight for

 5   God."

 6           When he's talking about the intelligence, who

 7   was he talking about?

 8   A.      Undoubtedly he's referring to the intelligence

 9   services or agencies.

10   Q.      And would you consider yourself to be a member

11   of one of those?

12   A.      Yes, also.

13   Q.      And if we look on page 3, line 1:              "Whoever

14   finds immigration door closed --"

15                 THE COURT:      Again, who are we talking

16   about?

17                 MS. MARTIN:      I'm sorry, Your Honor.           This

18   is Ibn Dawla continuing on page 3, line 1.

19                 THE COURT:      Okay.

20   Q.      (By Ms. Martin)       "Whoever finds immigration

21   door closed, all one has to do is take the money

22   that God gave him and purchase tools and supplies,

23   buy a knife, go out at night to slaughter them.                    Oh

24   people, slaughter them.           Burn them, displace them,

25   and ruin their lives.          Support your brothers.           May


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 1   God reward you well."

 2          When he's talking about the doors of

 3   immigration being closed, what is he referring to?

 4   A.     He's talking about going to fight with the

 5   Islamic State.        He's copied an old speech of

 6   al-Baghdadi.

 7   Q.     And then he continues:           "For the one who is

 8   able to perform immigration, the Islamic State is

 9   awaiting him.        And the one who is unable to --"

10                 THE INTERPRETER:        What line?

11                 MS. MARTIN:      I'm sorry, continuing line 9.

12   Q.     (By Ms. Martin)        "And the one who is unable to,

13   and lives in a place where he can strike, a country

14   from those Crusader-Arab-Jew coalition countries,

15   then you are to get them.            Brothers, may God reward

16   you well.      Go get them."

17          What is a Crusader-Arab-Jew coalition country?

18   A.     Well, Christians and Jews.             And then they also,

19   when they say "Arab," they are referring to Saudi

20   Arabia, because Saudi Arabia is also fighting

21   terrorism.

22   Q.     Is Italy a Crusader country?

23   A.     Yes, the Crusaders -- I mean St. Peters.                 You

24   have to think of the crusades in St. Peters --

25   St. Peter.


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 1   Q.      Now, if we could go to Government's Exhibit

 2   105, please.

 3           And the date of this audio is February 8th,

 4   2017.     The participants are aboabdalla143,

 5   referenced as A3, Ibn Dawla and Abo Aomar, which is

 6   AA.

 7           Beginning on line 12, A3 says:             "I mean, I'm a

 8   brother with the State.           I used to be with the Free

 9   Army."

10           And he goes on in line 15, "I've been in the

11   channel for a long time."

12           And then he continues in line 24:              "There's a

13   way, but I can't talk to you on the channel, you

14   have to contact me on the private."

15           Is the channel private?

16   A.      No.     The channel, itself, was public, it was

17   open to anyone.

18   Q.      So if you wanted to speak about something else,

19   you had to make a private call?

20   A.      Yes.     In this case he wanted to be called

21   privately because he didn't want to let all of the

22   members know about it.

23   Q.      And then if we could have Government's Exhibit

24   91.

25           The date on this transcript is December 5th,


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 1   2016.     And the participants are Ibn Dawla, and a

 2   user that is @asasas a/k/a Marsad.

 3           Beginning on line 8, AS says:             "Our brother,

 4   Ibn al Dawlah, and the supervisory brothers, er, I

 5   mean, er, there's a program that came to my mind.

 6   It is I mean a program called 'Preparation of a Lone

 7   Wolf,' or with a different title, 'Preparation of a

 8   Mujahid' to carry operations, er, in the lands -- in

 9   the lands of the unbelief."

10           It continues in line 15:          "I mean, this

11   operation requires four, almost four, four people,

12   all right, er, meaning it is material, audio

13   materials or audio materials and images, meaning

14   stuff within the program, all right, are to be taken

15   from either through Telegram or programs on the

16   internet.      We will take it for these programs and

17   play it."

18           It continues, line 22:          "I mean, all of us

19   since most of us are present in the lands of the

20   unbelief."

21           What does "lone wolf" mean to you?

22   A.      Mostly a lone wolf is someone who is

23   self-radicalized by himself on the internet.

24   Q.      And they're talking about a program entitled

25   "Preparation of a Lone Wolf."


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 1   A.     Yes.

 2   Q.     What does "a Mujahid" mean to you?

 3   A.     He's the fighter, a fighter.

 4   Q.     What are the lands of the unbelief?

 5   A.     All those who are not Muslim or Sunnis.

 6   Q.     And AS continues in line 26:             "This, this, this

 7   program is going to be how I, er, would be able to

 8   make a bomb, and you, praise be to God, brother,

 9   Ibn Dawla, from what I know, have experience in this

10   area."

11          Did your investigation reveal that Ibn Dawla

12   discussed bombs a great deal?

13   A.     Within the channel, on the channel, he was --

14   by everybody there, he was considered to be an

15   expert in bomb-making.

16   Q.     And if you -- we can continue on page 2, the

17   same speaker, AS, the end of line 1:                "A second

18   brother would collect audio materials, and a third

19   brother collects the photographed material."

20                 THE COURT:      Is this the Italian?

21                 MS. MARTIN:      Your Honor, this is someone

22   speaking to --

23                 THE COURT:      Okay.     Okay.

24   Q.     (By Ms. Martin)        "And we will have a Shari'a

25   expert to control matters.            What do you think about


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 1   this brothers?        The program is for an hour, meaning

 2   to, er...it is for one hour.             It starts at 11:00

 3   every day, for one hour, this inciting program.

 4   What do you think, brothers?"

 5           Is he discussing making this manual or this

 6   program on how to be a lone wolf, something that

 7   happens over and over?

 8   A.      Yes.   He's discussing how to set up this

 9   program to be a lone wolf and also how to set it up

10   so that other people can participate in it.

11   Q.      Page 2, line 20, this is Ibn Dawla, the Italian

12   subject talking.         He says:     "You can count on me,

13   God willing in this matter."

14           Then it continues on line 25:             "But the first

15   time I come on, er, God willing, you can count on me

16   to explain to the brothers, er, in a boring simple

17   explanation, I mean not with complicated words or

18   otherwise."

19           And Ibn Dawla continues on page 3, line 1:

20   "Meaning simple words and things that can be easily

21   found."

22           As part of your investigation, were you able to

23   intercept other things that came across that DSL

24   line?

25   A.      Yes.   He also prepared videos where you could


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 1   build bombs in your own home.

 2   Q.      So that's the type of thing that Ibn Dawla was

 3   researching?

 4   A.      Yes, he -- he created it.             He had it in mind.

 5   This is what he wanted to do.

 6                   THE COURT:     Again, Ibn Dawla is the

 7   Italian.

 8                   MS. MARTIN:     Yes, Your Honor.

 9   Q.      (By Ms. Martin)        He had the bomb-making in

10   mind?

11   A.      It's very clear when you listen to the

12   wiretaps, he wanted to give support to others to do

13   this as well.        And he wanted to coordinate the

14   programs on how to build them.                And that had to be

15   done and stated in a very clear way.                And it had to

16   be clearly understood by people who are not

17   specialists.

18   Q.      Okay.     And then Ibn Dawla, on page 3, in fact,

19   continues, line 17:           "So that I mean when I'm

20   talking, the brother will send photos so the lesson

21   would be clear."

22           Is that what you were referring to, he wants it

23   to be an easy lesson?

24   A.      Certainly.

25   Q.      And then, we'll continue on page 4.              This is


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 1   AS, another channel user speaking.

 2                 THE INTERPRETER:        What line?

 3                 MS. MARTIN:      Line 1.

 4   Q.     (By Ms. Martin)        He says:        "I got excited about

 5   this thing, er, after the speech that was issued

 6   today, the speech from the official spokesperson."

 7          And then he continues in line 5:               "The brother

 8   who is present in the lands of unbelief, I mean, er,

 9   how to act, I mean, er, might not know how to act.

10   All right.       We are trying to make a practical

11   program."

12          He continues in line 11:           "Around me enemies of

13   the, er, Caliphate, but I do not know how to act

14   with them, how to act and torture them.                 I don't

15   know about this matter, but I -- we will try to make

16   a practical program."

17          Is this one of the users still speaking to

18   Ibn Dawla about this program?

19   A.     Yes.

20   Q.     And then that same user, AS, continues on line

21   18, page 4:       "We will also publicize it on the

22   channel, too, so that they will try, with the

23   available brothers, that it is in the scale of the

24   good deeds of everyone."

25          And what channel is he talking about there?


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 1   A.     He could be either talking about the Islamic

 2   State channel or he could be talking about a channel

 3   on Telegram.

 4   Q.     And then if we will go to page 5, and this is

 5   Ibn Dawla talking, line 5:            "We will start getting

 6   them ready, even as of today, in about a half hour

 7   or, er, 20 minutes or 15 minutes, we will start

 8   getting the brothers ready from now.                We will

 9   present the matter when they gather.                We will leave

10   them a word that from -- from such and such a day,

11   we will start, er, to present sessions in, er,

12   'Prepare.'       I mean, we will give it -- we give it a

13   beautiful name, 'Prepare' or 'Destroy them in their

14   own homes,' or something like that, for example, and

15   we make it a series and we work it.                I mean,

16   these -- these things you need to work on first on

17   igniting one's enthusiasm."

18          Is he saying that a beautiful name would be

19   "Destroy them in their own homes"?

20   A.     Yes.

21   Q.     And do you know who he means when he says,

22   "Them"?

23   A.     Yes.    He's referring to anybody that he

24   considers to be the infidel.

25   Q.     And then Ibn Dawla continues in line 24:                 "I


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 1   mean, the results are; how you would feel when you

 2   achieve a result and how to feel, and the points of

 3   strength and such, and things, praise be to God.                      He

 4   would understand that it is difficult to find him

 5   this way because it is not like a pistol or a knife,

 6   because you are in a place, you are present at the

 7   scene of the incident, but this way you are far from

 8   the place.       I mean you are not present there, so

 9   praise be to God."

10          What is he distinguishing from the gun and the

11   knife?

12                 THE INTERPRETER:        Between the gun and the

13   knife?

14                 MS. MARTIN:      No, from the gun and the

15   knife.

16   A.     Well, an attempt with a bomb would produce much

17   more damage and would kill a lot more people.                   And

18   as they are stating here, if you place a bomb in,

19   let's say, a place, anywhere, and then they leave,

20   that person leaves that place, it's very likely that

21   the person attempting that act of violence or

22   performing it would never be found.

23   Q.     Now, all of Government's Exhibit 91 that we

24   went over, that was audio from the Zello channel; is

25   that correct?


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 1   A.     Yes.

 2   Q.     And that was the State of the Islamic Caliphate

 3   channel?

 4   A.     Yes.

 5   Q.     Now, did your investigation of Ibn Dawla also

 6   run into the FBI's investigation of Said Rahim?

 7   A.     Yes.

 8   Q.     And what did you know him -- or what was his

 9   moniker on the State of the Islamic Caliphate

10   channel?

11   A.     Angousha.

12   Q.     Did you consider Ibn Dawla a threat to your

13   country?

14   A.     Yes, a threat; and he was also very dangerous.

15   Q.     Where is he from originally?

16   A.     From Morocco.

17   Q.     And ultimately will he be forced to leave

18   Italy?

19   A.     Undoubtedly.

20                 MS. MARTIN:      Your Honor, may I have a

21   moment?

22                 THE COURT:      Yes.

23                 MS. MARTIN:      Your Honor, I will pass the

24   witness.

25                 THE COURT:      Cross-examination, Mr. Whalen.


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 1                           CROSS-EXAMINATION

 2   BY MR. WHALEN:

 3   Q.     Sir, just so I'm clear, you started your

 4   investigation in February of 2016; is that correct?

 5   A.     Yes.

 6   Q.     Okay.     And that was based on a tip or a message

 7   from the FBI in the United States, correct?

 8   A.     Yes.

 9   Q.     Okay.     And when did you get the wiretap for the

10   phone and the internet line?

11                  THE INTERPRETER:       I'm sorry, when did you

12   get the wire type and line?

13   Q.     (By Mr. Whalen)        Yes.    What date did you get

14   the wiretap for the phone and the internet line?

15   A.     I believe it was in September of 2016.                I might

16   have to check my notes, but that's approximate.

17   Q.     Okay.     Do you have your notes with you?

18   A.     Yes.

19   Q.     If you want to take a moment and check your

20   notes, that would be fine.

21   A.     Certainly.

22          (Pause in the proceedings.)

23   A.     September 2016.

24   Q.     When you originally got the tip from the FBI,

25   did they indicate to you how long their


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 1   investigation has been ongoing?

 2   A.      No, they were just ongoing.

 3   Q.      Okay.     And so from September of 2016 until you

 4   were able to obtain this wiretap, what did your

 5   investigation consist of?

 6                   THE INTERPRETER:      I didn't hear the last

 7   part.

 8   Q.      (By Mr. Whalen)       From February of 2016 until

 9   the time you got the wiretap order, what did you do

10   as far as an investigation of Mr. Ibn Dawla or who

11   you knew to be Mr. Ibn Dawla?

12   A.      We -- we looked in all of his email

13   connections.

14   Q.      Okay.

15   A.      We looked up all of his IP addresses linked to

16   his profile on FaceBook.            And we also checked that

17   he lived actually on the Corso Vercello --

18   C-O-R-S-O, V-E-R-C-E-L-L-O -- and then which

19   apartment number.         And then his connections, what

20   connections he had with the lady of the apartment

21   and her son.

22   Q.      Okay.     And when you got the wiretap in

23   September of 2016, when did the wiretap end?

24   A.      The 24th of April of 2017, when he was

25   arrested.


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 1   Q.     Okay.     Between September of 2016 and April of

 2   2017, how many hours of Zello chats did you listen

 3   to or collect as a result of that wiretap?

 4   A.     It's -- I can't give you an exact estimate, but

 5   all of the hours that he was on Zello.

 6   Q.     Okay.     Are we talking five hours, a hundred

 7   hours, 200 hours, how many hours?

 8   A.     Well, what I can tell you is -- what I can tell

 9   you is this:       He was on Zello usually about 7 to 8

10   hours a day.       So if you add that up, that might give

11   you some approximate number.

12   Q.     So if we did 7 to 8 hours a day, approximately

13   30 days in a month, with 8 months, give or take, I

14   come up with about 1600 hours' worth of audio.

15   A.     That's probable; that's likely.

16   Q.     Okay.     You made a comment concerning lone wolf

17   is a person who is self-radicalized.                Do you

18   remember making that statement?

19   A.     Yes.

20   Q.     And a person who is self-radicalized would be a

21   person who is acting on their own, correct?

22   A.     Yes, but on behalf of the Islamic State.

23   Q.     But they are not being directed or controlled

24   by the Islamic State, correct?

25   A.     No, but they espouse the beliefs of the Islamic


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 1   State.

 2   Q.     I understand that, but nobody is controlling

 3   their beliefs of the Islamic State and telling them

 4   what to do?

 5   A.     No, but they predicated and they were working

 6   to establish these lone wolves.

 7   Q.     You mentioned earlier in one of the transcripts

 8   that they basically copied the speech of Baghdadi?

 9   A.     Yes.

10   Q.     So basically they were just mimicking what he

11   had already said, correct?

12   A.     Well, they espoused his theories, his thesis;

13   they were followers of his, so yes.

14   Q.     But they didn't state anything new or original,

15   correct?

16   A.     Well, yes and no, because they would also give

17   their own interpretation of it.

18   Q.     Now, when you arrested Mr. el Aoual, you did

19   not find any bomb-making materials, correct?

20   A.     No.

21                  MR. WHALEN:     I'll pass the witness.

22                  THE COURT:     Anything else?

23                  MS. MARTIN:     No.

24                  THE COURT:     Please no.

25                  MS. MARTIN:     No more questions, Your


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 1   Honor.

 2                 THE COURT:      Can we let the witness go

 3   home?

 4                 MS. MARTIN:      Yes, Your Honor.

 5                 MR. WHALEN:      Yes, Your Honor.

 6                 THE COURT:      All right.        You are free to

 7   go.     You can go back to Italy.             I thank you for

 8   being here.       Please remember not to talk about the

 9   case.

10                 THE WITNESS:       Yes.

11                 THE COURT:      You are excused.

12                 THE WITNESS:       Thank you for your

13   hospitality.

14                 THE COURT:      Go ahead and step down.

15                 We're making good progress.             I can't tell

16   you that it's going to be done any sooner than I

17   told you, but it's not going to be done any longer

18   than I thought.

19                 You know, there was an article in the

20   paper last night about the case, and I think there

21   will be again tomorrow.           Just don't read those.

22   It's best if you don't read the paper at all.                   But

23   if you like the paper, just ignore, pretend like you

24   don't see any articles about this case.                 You know,

25   you're not supposed to get information about the


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 1   case from anyone.         I don't think this is a high

 2   publicity case, but I guess there will be some

 3   people following it.

 4                 So just remember, keep your eyes narrowed

 5   until the case is over.           Just anything you --

 6   anything that comes to you, anything that you hear,

 7   just -- you know, you just need to stay away from

 8   anything about this case.             Okay, Ladies and

 9   Gentlemen?       I hate to be so nervous about this, but

10   I am only because we want to get through this case

11   and we don't want anything to happen.                 So if that's

12   all right, we will see you tomorrow morning.                   Please

13   be here by 8:45, and we will start at 9:00 sharp.

14   All rise.

15                 I remind everybody in the courtroom to

16   stay away from the jury.

17                 (Jury exits courtroom.)

18                 THE COURT:      Ms. Martin, I have a group of

19   exhibits, 7 through 29.           Did you not offer those?

20                 MS. MARTIN:      Your Honor, I believe they

21   were offered yesterday by Ms. Meeks with the Zello

22   witness.

23                 THE COURT:      Okay.     Are they in?

24                 MS. MARTIN:      I believe it was 7 through

25   30; and yes, they were admitted.


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 1                 MR. WHALEN:      That is correct, Your Honor.

 2                 THE COURT:      I just, for some reason,

 3   didn't have those admitted, and I wanted to make

 4   sure.     Okay.

 5                 Anything else before we adjourn?

 6                 MS. MARTIN:      No, Your Honor.

 7                 THE COURT:      How are your witnesses going?

 8                 MS. MARTIN:      Moving quicker than we

 9   thought.

10                 THE COURT:      Good.     Good.     Okay.      Be sure

11   you have witnesses here, and be sure to give him

12   your lineup for tomorrow.             Okay?

13                 MS. MARTIN:      Yes, sir.

14                 THE COURT:      Anything else?

15                 MR. WHALEN:      8:30.

16                 THE COURT:      Be here by 8:30.         And

17   Mr. Rahim be here by 8:30, too.               All right.       See you

18   later.

19                  (Court in recess at 4:59 p.m.)

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 1                        C E R T I F I C A T E

 2                 I, Shawnie Archuleta, CCR/CRR, certify

 3   that the foregoing is a transcript from the record

 4   of the proceedings in the foregoing entitled matter.

 5                 I further certify that the transcript fees

 6   format comply with those prescribed by the Court and

 7   the Judicial Conference of the United States.

 8                 This 21st day of March 2020.

 9

10

11                              s/Shawnie Archuleta
                                Shawnie Archuleta CCR No. 7533
12                              Official Court Reporter
                                The Northern District of Texas
13                              Dallas Division

14

15

16   My CSR license expires:           December 31, 2020

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